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                   EXHIBIT B
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                                                IN THE CRIMINAL COURT OF THE SIXTH JUDICIAL
                                                CIRCUIT IN AND FOR PASCO COUNTY, FLORIDA


                                                           AFFIDAVIT FOR SEARCH WARRANT




                               BEFORE ME,     ')}u.4"' /   ~ I H I Judge of the Circuit/Geunty Court, in and for Pasco
                               County, Florida, personally came Pasco Sheriff's Office Detective Daniel Stewart, who
                               being duly sworn, deposes and says that Affiant has probable cause to believe that
                               certain laws have been and are being violated in or about a certain premises and the
                               curtilage thereof and that evidence of the violation of certain laws in the form of
                               computer equipment and data, or printed or written documents and other related items
                               described herein, are being kept in or about certain premises and the curtilage thereof,
                               in Pasco County, Florida, being known and described as follows:


                                                   9733 Lake Chrise Ln. Port Richey, FL, 34668




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                               Directions and Description                                                               ►

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  ..

  The premises to be searched has a legal description of REGENCY PARK UNIT 6-A PB
  14 PG 61 LOT 1680 OR 4025 PGS 1062-1065 and can be located by traveling north on
  Little Rd. then turning West on Fox Hollow Dr. Traveling west on Fox Hollow Dr., one
 would turn south on Lake Chrise Ln. One would continue south past the intersection of
 Wayside Ln. and Lake Chrise Ln. The residence is the first (1 st ) residence on the west
  side of the road after that intersection. Arrive at 9733 Lake Chrise Ln. The target
  location is a single story concrete and stucco dwelling; said residence is tan in color with
 white trim; said residence has brown colored asphalt shingled roof; said residence has
 an attached single-car garage with a concrete driveway leading to the garage door; said
 residence has a white colored screen type door which is facing East, which opens
 outward and a dark colored front door, which ope s inward; said residence has one
 double window south of the front door on the front of the house and one single window
                                           '
 north of the front door on the front of the house.




 The formal address of the premises to be searched is 9733 Lake Chrise Ln. Port
 Richey, FL, 34668, and the premises and its curtilage are referred to as "The
 Premises."


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  Your Affiant, Detective D. Stewart, states that I have probable cause to believe that:
  ''The Premises" and the curtilage thereof, and "the Property" described hereinafter, are
  being used as instrumentalities for crime, and contain evidence of, or evidence relevant
  to proving, violations of section 777 .04 Florida Statutes, prohibiting any person to
  conspire to launder money; section 812.014(2)(a) prohibiting any person to unlawfully
  take property greater than $100,000.00; section 896.101(3)(a)(2a) prohibiting any
  person to launder money; and section 815.06(3)(b)2 regarding using computers to
  commit a crime.




  INVESTIGATOR BACKGROUND


 Your Affiant is a duly sworn law enforcement officer employed oy the Pasco Sheriffs
  Office (PSO) since October, 2009 and was so employed during all times stated herein.
  During the past eight (8) years, Your Affiant has served the PSO as a Deputy Sheriff in
 the Uniform Patrol Division, tl;le Criminal Investigations Bureau, and the Special
  Investigations Division.


 From 2013 - 2016 Your Affiant was assigned in the PSO Economic Crimes Unit. During
 this time, Your Affiant investigated numerous Economic Crime complaints to include
 credit card fraud, worthless documents (checks), identity theft, counterfeit currency and
 exploitation of the elderly cases.


 Your Affiant is currently assigned to the Special Investigations Division of the PSO and
 has been assigned to this unit since 2016. Your Affiant's responsibilities inside this unit
 include working money laundering, wire fraud, bank fraud, human trafficking and other
 cases associated with finances and narcotics.


 Your Affiant is currently on the Homeland Security Investigations (financial group) task
 force. As a member of the task force, Your Affiant has the authority to investigate crimes

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  of the United States Criminal Code pertaining to, among other things, bank fraud, wire
  fraud, and money laundering.


  Your Affiant has received over 80 hours of training on asset forfeiture and money
  laundering and has attended classes regarding International Money Laundering, Bulk
  Cash Smuggling, and Terrorist Financing.


  Your Affiant has investigated and arrested individuals for RICO and Money Laundering
 offenses against Florida State Statutes.


 Your Affiant knows from training ar:id experience that in order to locate forensic
 evidence on computers and electronic devices, it is necessary to download the entire
 device contents and search all files and folders contained in the device to discover and
  preserve evidence.


 DEFINITION(S)

     1.   Florida State Statute § 896.101 defines "Conducts" as initiating, concluding, or
          participating in initiating or concluding a transaction.
     2. Florida State Statute § 896.101 defines 'Transaction" as a purchase, sale, loan,
          pledge, gift, transfer, delivery, or other disposition, and with respect to a financial
          institution includes a deposit, withdrawal, transfer between accounts, exchange
          of currency, loan, extension of credit, purchase or sale of any stock, bond,
          certificate of deposit, or other monetary instrument, use of a safety deposit box,
          or any other payment, transfer, or delivery by, through, or to a financial institution,
          by whatever means effected.
     3. Florida state Statute § 896.101 defines "Financial institution" as a financial
          institution as defined in 31 U.S.C. s. 5312 which institution is located in this state.
     4. ·31 U.S.C s 5312 defines a financial institution as a currency exchange (section
          J), a licensed sender of money or any other person who engages as a business
          in the transmission of funds, including any person who engages as a business in
          an informal money transfer system or any network of people who engage as a

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        business in facilitating the transfer of money domestically or internationally
        outside of the conventional financial institutions system (section R).
     5. Florida State Statute § 896.101 defines "Financial transaction" as a transaction
        involving the movement of funds by wire or other means or involving one or more
        monetary instruments, which in any way or degree affects commerce, or a
        transaction involving the transfer of title to any real property, vehicle, vessel, or
        aircraft, or a transaction involving the use of a financial institution which is
        engaged in, or the activities of which affect, commerce in any way or degree.
     6. Florida State Statute § 896.101 defines "Knowing that the property involved in a
        financial transaction represents the proceeds of some form of unlawful activity"
        as the person knew the property involved in the transaction represented
        proceeds from some form, though not necessarily which form, of activity that
        constitutes a felony under state or federal law ...
     7. Florida State Statute§ 896.101 defines "Monetary instruments" as coin or
        currency of the United States or of any other country, virtual currency, travelers'
        checks, personal checks, bank checks, money orders, investment securities in
        bearer form or otherwise in such form that title thereto passes upon delivery, and
        negotiable instruments in bearer form or otherwise in such form that title thereto
        passes upon delivery.
     8. Florida State Statute§ 815.03 defines a computer as an internally programmed,
        automatic device that performs data processing.
     9. Florida State Statute§ 896.101 defines "Specified unlawful activity" as
        racketeering activity defined in 895.02.
    10. Merriam-Webster defines Cryptocurrency as "any form of currency that only
        exists digitally, that usually has no central issuing or regulating authority but
        instead uses a decentralized system to record transactions and manage the
        issuance of new units, and that relies on cryptography to prevent counterfeiting
        and fraudulent transactions"
    11. Merriam-Webster defines Bitcoin as "a digital currency created for use in peer-to-
        peer online transactions"



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    12. Merriam-Webster defines Blockchain as iia digital database containing
        information (such as records of financial transactions) that can be simultaneously
        used and shared within a large decentralized, publicly accessible network; also:
        the technology used to create such a database"
    13. Merriam-Webster defines SIM Card as "a card that is inserted into a device ( such
        as a cell phone) and that is used to identify a subscriber on a communications
        network and to store data (such as phone numbers or contact information)"
    14. A TREZOR is defined as "a single purpose device which allows you to make
        secure Bitcoiri transactions. With TREZOR, transactions are completely safe
        even when initiated on a compromised or vulnerable computer."
    15. Gemini is an online cryptocurrency exchange that buys and sells
        cryptocurrencies for United States Currency.
    16. Coin base is an online cryptocurrency exchange that buys and sells
        cryptocurrencies for United States Currency.
    17. Bittrex is an on line cryptocurrency exchange that buys and sells cryptocurrencies
        for United States Currency.
    18. Monero is a type of cryptocurrency.
    19. Xmr is a cryptocurrency wallet.

 SUMMARY OF INVESTIGATION


 The information in this affidavit does not detail every aspect of the case, only that which
 is relevant to establish probable cause.


 Your Affiant is conducting an investigation related to numerous violations of Florida
 state statutes to include: Conspiracy to launder money greater than $100,000.00; grand
 theft greater than $100,000.00, money laundering under $20,000.00, and using
 computers to commit a crime. During the investigation, Ricky HANDSCHUMACHER
 (W/M; DOB: 03/31/1993) was identified as a suspect. Your Affiant obtained some of this
 information from other law enforcement officers throughout the United States.




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 On or around February 2018, the Canton Police Department, located in Michigan,
 began investigating an individual after the individual's mother overheard him talking on
 the phone pretending to be an AT&T employee.


 Officers responded to the scene and made contact with the individual (hereinafter
  referred to as CS1 ). Officers gained consent to search CS1 's computer, person, and
  room. Officers discovered shortcuts labeled "ATT Plug" and "TMobile Plug" on the
 computer. When Officers opened the shortcuts, it produced an extensive list of names
 and phone numbers of people from around the world. Officers discovered multiple SIM
 cards on the desk and four (4) cell phones on CS1's person.


 Officers located a messaging service on CS1 's laptop, which revealed a conversation
 between CS1 and other individuals regarding ways to defraud AT&T.
 On or around March 2018, Officers observed CS1 in a public library viewing personal
 identifying documents. Officers seized forty-five (45) SIM cards, a laptop, and a
 TREZOR device from CS 1.


 On or around April 2018, Officers responded to CS1 's residence after CS1 'smother
 called law enforcement to tell them he/she was in possession of another cell phone.
 Officers gained consent to search the room and discovered two bags of SIM Cards, and
 a cell phone. Officers conducted another forensic examination of the items and found
 numerous personal identification information such as driver's licenses and passports.


 Officers identified seven (7) victims from the SIM cards found in CS1 's possession. The
 victims included residents from New York, California, North Carolina, Vermont,
 Michigan, Texas, and Utah.


 Officers contacted the victims and learned someone stole their identity along with large
 sums of money from various bank and/or cryptocurrency accounts.




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  Officers conducted surveillance on CS1 in May 2018. Officers observed CS1 receive a
  package from a resid~nce and travel to a bank where he made a $900.00 cash deposit.


  Officers learned CS1 was receiving a package from Georgia. Officers obtained a search
  warrant for the package and learned it contained SIM cards and was addressed to CS1.
  Officers arrested CS1 and learned there was another package addressed to him/her.
  Officers discovered the second package contained approximately $8,000.00 in United
  States Currency.


  Officers learned that CS1 would sell his cryptocurrency for cash and receive the
 currency via parcel carrier.


  Officers executed a search warrant at CS1 's residence and discovered additional
 electronic equipment, government identification cards, and parcel packages. Law
 enforcement officers seized approximately $200,000.00 in stolen cryptocurrency from
  CS1.


  CS1 spoke to law enforcement officers. Post Miranda, CS1 told officers he/she .
  purchased cryptocurrency usernames through the internet. CS1 along with a group of
 individuals, to include HANDSCHUMACHER, obtained SIM cards in order to clone the
 victim's phone.


 Once the phones were cloned, the group would gain access to the victim's e-mail
 accounts and cryptocurrency exchanges to include Gemini and Coinbase. Once the
 group gained access to the account, they would use the victim's funds to purchase
 cryptocurrencies and transfer it to a accounts or wallets the group controlled. After CS1
 received the funds, he/she would store them on the TREZOR device law enforcement
 officers previously seized. CS1 admitted to purchasing items online and to exchanging
 the cyrptocurrency for cash using an online website where the money would be sent to
 him/her.



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  CS1 said he/she would communicate with approximately eight (8) individuals in order to
  commit the fraud scheme. One of the individuals CS1 identified was Ricky
  HANDSCHUMACHER. The individuals used an online chat databases such as Discord
  and Telegram to communicate with each other.


  CS1 said he would chat with the coconspirators on a daily basis to obtain victim
  identities and attempt to hack their financial accounts. CS 1 said the group has been
  conducting the fraud since December 2016. CS1 told officers HANDSCHUMACHER
  used the handle @coinmission in their chat. Officers learned HANCSCHUMACHER
  resides in Pasco County, Florida and contacted Homeland Security Investigations (HSI)
  Tampa for further investigation. HSI requested the assistance of the Pasco Sheriffs
  Office in the case.


  HSI-Detroit provided Your Affiant with evidence they obtained from search warrants,
  forensic examinations, and consent searches. Your Affiant observed a chat
  conversation that occurred on May 16, 2018. The chat took place between 12:50 hours
  and 19:23 hours. In the conversation, the username @goldenspeed typed the name
  "Ricky'' and asked a guestion. The username @coihmission responded to the question.
  In the conversation, HANDSCHUMACHER, using the name @coinmission, explained
  he purchased land, a house, a vehicle, a quad vehicle, and a jetski. •


  The conversation identifies a phone number and a SIM number. The group worked
  together to steal 57 Bitcoins from the victim. According to an open source website, the
  price of Bitcoin that day was $8,240.27 per coin. This means the group stole
  $469,695.39. Later in the conversation, a co-conspirator claims they stole $513,000.00
  and agreed to split it between them for a total of $128,000.00 each (See attachment A).


  In the same conversation, the group discussed a way to launder the money by using
  different cryptocurrency exchanges and cryptocurrencies. The conversation states
  "bitcoin > shapeshift to monero > send monero to xmr.to and get clean b tc back."



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  This conversation tells the group to use a cryptocurrency exchange to sell the
  cryptocurrency they stole to purchase another cryptocurrency called Monero. After they
  acquired the Monero currency, they would send it to another cryptocurrency wallet
  called "xmr." After the cryptocurrency was in the xmr wallet, they would exchange the
  Monero for Bitcoin. Because of the multiple wallets, and the sale and purchase of
  cryptocurrencies, this makes the new purchased Bitcoin appear to come from a
  legitimate source. Your Affiant believes the transactions occurred this way to launder
  and conceal the true source of funds.


  Your Affiant viewed the search warrant and subpoena results provided by_law
  enforcement officers in Detroit. Your Affiant observed subpoena results from an online
  cryptocurrency exchange called Coinbase.


  Coinbase provided HANDSCHUMACHER's name, driver's license number, date of
  birth, address, debit card number, phone number, cryptocurrency wallet identifiers, and
  IP addresse·s. The address provided by Coinbase listed The Premises. Coinbase also
 · provided law enforcement officers with a picture of HANDSCHUMACHER's Florida
  driver's license which lists The Premises (See attachment 8). Law enforcement officers
  conducted an analysis on the account and determined there was a total of 82.67013567
      ..
  BTC sold or sent from this account, of which 81. 72072 BTC was received from outside
  sources.


  In the subpoena results, Coin base identifies IP address 68.200.110.179 associated with
  accessing HANDSCHUMACHAER's account approximately 99 times between May 10th ,
  2017 and April 30 1\ 2018.


  Your Affiant observed a Discord chat conversation obtained through a search warrant.
  The warrant results identify HANDSCHUMACHER;s username as "lolsmileyface." In the
  information, HANDSCHUMACHER states his other chat username is Coinmission. The
  results show the account was accessed using IP address 68.200.110.179
  approximately 274 times between April 18, 2018 and June15, 2018. Coin base provided


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  this same IP address to officers. In the conversation, HANDSCHUMACHER claims he
  has six (6) figures worth of cryptocurrency.


  Later in the same conversation, HANDSCHUMACHER and another co-conspirator talk
  about compromising the CEO of Gemini and posted his name, date of birth, Skype
  username and e-mail address in the conversation. HANDSCHUMACHER and the co-
  conspirator discuss compromising the CEO's Skype account and T-Mobile account. The
  co-conspirator states he will call his "guy" at T-Mobile to ask about the CEO's account.


  HANDSCHUMACHER and the co-conspirator continue to discuss exchanging different
  cryptocurrencies to get their portion of the fraud. They even discuss the
  cryptocurrencies being "dirty" and discuss laundering over $100,000 .00 in
  cryptocurrencies (See attachment C).


  Records provided by Coinbase show the buying, selling, and trading of cryptocurrencies
  in ways that would appear consistent with CS1 's statements.


  Your Affiant drove by the residence at various dates and times during the past two
  ·weeks and observed vehicles registered to HANDSCHUMACHER parked at the
  residence. Your Affiant drove by at early hours in the morning and noticed dew on the
  vehicles indicating the vehicles were parked there overnight. Your Affiant saw
  HANDSCHUMACHER at the residence during one of times he drove by the residence
  and followed HANDSCHUMACHER's girlfriend from her place of employment to
  HANDSCHUMACHER's residence.


  Your Affiant searched the 68.200.110.179 IP address and learned it belonged to
  Charter Communications which is~ division of Spectrum. Therefore, the IP address is
  not associated with a cellular site and is associated with a physical location. Your Affiant
  looked at the IP logs showing the 68.200.110.179 account and noticed they appeared to
  be accessed before or after normal business work hours or during lunch hours. Your
  Affiant searched law enforcement databases and did not locate any alternative

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  addresses for HANDSCHUMACHER. Your Affiant verified The Premises is the address
  listed on HANDSCHUMACHER's Florida driver's license.


  Wherefore, your Affiant makes this affidavit and prays for the issuance of a Search
  Warrant according to the laws commanding all and singular the Sheriff and or Deputy
  Sheriffs of Pasco County, Florida, either in the daytime or the nighttime, and on any day
  of the week inc_luding Sunday and holidays, with the proper and necessary assistance,
  to search the herein described premises and the curtilages thereof, and any persons
  and vehicles thereon, reasonably suspected of being involved in the illegal activity
  which is the subject of this warrant to include the following:


         1. Computer hardware to include any anq all computer equipment
         used to collect, analyze, create, display, convert, store, conceal, or
         transmit electronic, magnetic, optical, or similar computer impulses
         or data. Hardware includes (but is not limited to) any data-processing
         devices (such as central processing units, cellular devices, personal
         computers      to   include    "laptop"    or    "notebook"      or   "pocket"
         computers); tablets, deactivated cell phones, internal and peripheral
         storage devices (such as fixed disks, external hard disks, Floppy
         disk drives and diskettes, tape drives and tapes, optical storage
         devices, and other electronic media devices);


         2. Computer input ·and output devices to include but not limited to
         keyboards,      mice,     scanners,       printers,       monitors,   network
         communication devices, modems and external or connected devices
         used for accessing computer storage media;


         J; Computer storage media and the digital content to include but not
         limited to Floppy disks, hard drives, VHS tapes, tapes, DVD disks,
         CD-ROM disks, USB disks, external hard drives, or other magnetic,
         optical or mechanical storage which can be accessed by computers

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        to store or retrieve data, cryptocurrency wallets, personal identifying
        information, SIM card data, and documenting conversations and/or
        financial transactions;


        4. Computer software and application software installation and
        operation media;


        5. Computer software, hardware or digital contents related to the
        sharing of Internet access over wired or wireless networks allowing
        multiple persons to appear on the Internet from the same IP address;


        6. Manuals and other documents (whether digital or written) which
        describe operation of items or software seized;


        7.   Items containing     or displaying   passwords,      access   codes,
        usernames or other identifiers necessary to examine or operate
        items, software or information seized;


        8. Correspondence or other documents (whether digital or written)
        pertaining to Bitcoin; cryptocurrency; internet activity; internet
        payment; ban ing information; financial transactions; wallet IDs;
        cryptocurrency exchanges; any information related to Discord,
        Skype, Telegram, or any other chat programs; any items or files
        containing   QR codes      or barcodes;       buying   and/or selling   of
        cryptocurrencies;


        9. Items and/or documents that would tend to establish ownership or
        use of computers/electronic devices and ownership or use of any
        Internet service accounts accessed to perpetuate a fraud scheme; to
        include credit card bills, telephone bills, correspondence and other



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        identification    documents   containing      addresses,   names,   phone
        numbers, dates of birth, and/or social security numbers;


        10. Items and/or documents that would tend to show dominion and
        control of the property searched, to include utility bills, telephone
        bills, correspondence, rental agreements and other identification
        documents addresses, names, and/or phone numbers;


        11. Electronic data maintained on the seized computer(s), ·electronic
        devices, or computer related storage devices such as Floppy
        diskettes, tape backups, computer printouts, and "zip" drive
        diskettes, in particular, data in the form of imag·e s and/or videos and
        any accompanying text associated with those images, and/or log
        files recording the transmission, of images as they relate to
        violations of Florida law cited herein;


        12. All electronic files and data on any computers, electronic
        devices,   cell   phones,   and   tab ets that show an        individual's
        ownership, possession and control at time of the offense;


        13. Any and all software that may be utilized to create, receive,
        distribute, store, or modify the evidence sought and all software that
        may be used to communicate or store online communications;


        14. Encrypted, deleted and unallocated files on electronic media that
        contain any of the information listed in previous paragraphs;


        15. Notations, files or documentation containing passwords or codes
        necessary to unlock computer files or to access the computer or
        storage media;



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        16. Any and all equipment used to store offline (ie: "cold store")
        cryptocurrencies. These include, but are not limited to, TREZOR
        devices;


        17. Any and all cell phones, SIM cards, or other means of
        communication devices;


        18. Any and all items regarding the shipment of SIM cards, cell
        phones, and currencies in all forms;


        19. Any and all items, documents, and/or electronic data regarding
        the documenting of financial transactions, including but not limited
        to, currency, cryptocurrency, and vehicle/asset purchases;


        20. Any and all written and/or electronic documentation detailing
        currency and cryptocurrency exchanges;


        21. Any and all written or electronic documents or files containing
        decipher    keys,    encryption     keys,      passcodes,     passwords,
        passphrases, cryptocurrency wallet ID's, transaction keys, QR
        codes, barcodes, and/or transaction 1D's;


        22.   Currency in   all   forms,   including   digital   currencies;   and
        cryptocurrency;


        23. Any and all tax forms, paycheck stubs, receipts, and other items
        showing reported income to the government or the source or
        application of legitimate and illegitimate funds;


        24. Any and all written, printed, typed, or electronically stored
        conversations pertaining to the violation of Florida state statutes.

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   Your Affiant is aware that the recovery of data by a computer forensic analyst takes
   significant time, and much the way recovery of narcotics, must later be forensically
   evaluated in a lab. Digital evidence will also undergo a similar process. For this reason,
   the "return" inventory will contain a list of only the tangible items recovered from "the
   Premises". Unless otherwise ordered by the Court, the return will not include evidence
   later examined by a forensic analyst.


   Your Affiant knows individuals often store valuables, currency, or items that contain
   specific digital private information (scanned tax returns, birth certificates, vehicle titles,
   bank statements etc.) in locked containers or safes in order:: to protect them from theft.
  Your Affiant requests the courts permission to force entry to any safes or locked
  containers located inside the residence or on the curtilage thereof in order to recover
  items in accordance with this warrant.




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   WHEREFORE, Affiant makes this affidavit and prays for the issuance of a Search
   Warrant in due form of law commanding the Sheriff of Pasco County, or any of his duly
   constituted deputies, with any proper and necessary assistance, including forensic
   computer analyst .experts, to search the above described "Premises" and the curtilage
   thereof, and any vehicles thereon, or persons located within the "Premises" and the
   curtilage reasonably believed to be connected with said illegal activity, for the said
   "Property" heretofore described, and to search said "Property" described above and to
   seize and safely keep same, either in the daytime or in the nighttime, or on Sunday, as
   the exigencies of the occasion may demand, in order that the evidence may be
   procured to be used in the prosecution of such person or persons who have unlawfully
   used, possessed, or are using or possessing the same in violation of the laws of the
   State of Florida.




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   PASCO COUNTY, FL




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    ••• Coin Mission - Ricky HANDSCHUMACHER •••
                                                                           Attachment A
    Your Telegram History in "hehe"
    Date/Time                                                  User                                Message
    16.05.2018 12:.50:21:i                                     G G [@ilvebtc]                      »created the group "hehe"«
    16.05.2018 12:50:29                                        G G [@ilvebtc]                       hi
                                                                                                                    •' ·
    16.05.201812:.S0:34.                                       CofnMisslon l@coinmission]          Hi
    16.05.2018 12:50:47                                        G G[@ilvebtc]                       89014103287424654279 sim nr
    16.05.2018 12:51:28                                        G G [@ilvebtc]                      3109713838
    16.05.2018 12:51:38                                        G G [@ ilyebtc]                     "number
    16.05 .2018 12:54:03                                       G [@goldenspeed]                    3Fcj5Uoo36i3QbnapKCKfJZqMNbEX37ZG3
    16.05.2018 12:54 :08                                       G [@goldenspeed]                    Lmk who sends 80
    16,05.2018 12:58:34                         ··- .
                                                               <;:oiQMissipn [@coin_rni~sion]      Anyone send yet?       ..                                     . .J        -    ~
    16.05 .2018 12:58:44                                       G G [@ilvebtc]                      yes
    16.05.2018 12:58:46                                        G G.[@ilvebtc]                      i did
    16.05.2018 12:59:56                                        c;:oin Mission [@coinmission]       Kk I was gonna send 1Nand sure
    16.05.2018 13:00:01                                        G [@goldenspeed]                    Ricky
    16.05.2018 13:00:05                                        G [@goldenspeed]                    How much                    \
    16.05 .2018 13:00:08                                       G [@goldenspeed]                    Was your house       ....... \


                                                                                                                                      '
    16 .Q.\l.201813:Q0:l.9                                     c;:oinJ\llission [@coinmission]     ·1bollght property .
    16.05.2018 13:00:21                                        Coin Mission [@)coinmission]         First                 /
    16.05,.201$ 13:00:23'                                      Coin Mission [@coimnissfon]         Then ~he house\ ,'-
    16.05 .2018 13:00 :27                                      G [@goldenspeed]                    Ah            /'
    16.05.2018 13:00:31                                        GG [@ilvebtc]                       · how did u buy it w ith stolen btc (
    16.05,201813:Q0:3~ ·..
                                   '                           .Goill M isSion [@coin,misslonJ \ Cash           ..                  \ .,......        ..
    16.05 .2018 13:00:38                                        G G [@ilvebtc ]                  wtf
    16.05.•2018 '13:00:38                                       Coin·Mission [@c oinmission) Cashier check~ \
    16.QS.2018 13:0Q:45                              ..       1,CoinMission [@coinmission]         My family belps m e tQO ·.       ..
    16.05.2018 13:00:46                                         G G [@ilvebtc]                     tax niggas havent went after u yet?
    J 6.Q~ .20_l813:Q0:51              /,            .,        Coin,Mission [@coinmission)         ·Cashier ch~k               .•                            .
    16.os.201s 13:oo:s1                                        Coin Mission [@coinmission]         Loi
    16.0&.201813:Ql:o;if\     .                                Coin Missi on [@coinn'lissron]      l got the land for-sale by owner.             Paid eash
    16.05,2018 13:01,:10                         ~             .Coin Mission [@coinmission]        The house was d:One ~ith a cashier check                             .•

    16.05 .2018 13:01:18                                        G [@goldenspeed]                   Ricky
    16.05..2Q1.§ l~;Ql:20 /                     "
                                                              '"'Coin.Mission [@~oinmission]       t.lke how _jobought the car                   ..
    16.05.2018 13:01:21                                          G (@go ldenspeed]                 Do a house tour
    16.05.2018 13:01:24           .....---,..,.                  G [@goldenspeed]                  When u join back
    16.05 .2018 13:01:26                                       ~G [@goldenspeed]                   Call
                                          ,.,
                                                          I                                         1


                              '
    i G.os.201& 13:6:1.:29                                     Coin Mission [@coinmission]         1 m at work weirdo
    16.05.2018 13:02:50                                        G [@goldenspeed)                    Loi
                                    ,..
    16.0~.2018 13:03:23                                        Coin Mission [@coinmission]         You do a house tour
                                                                                                                                                                             ..
    +6.05.,Z0lS: 13:00,;2-6                                    :Coin Mission. [@:coi11rnissic>n]   ~
    16.05 .2018 13:03 :30                                      G G [@ilvebtc]                      Ill do a room tour
    16.05.2018 13:03:33                                        G G [@ilvebtcl                      My room was 15k




[
    1 6.05,201813:Q~:S0                                       .. , oin Mission [@coinmission] . I don! t got anything cgOI, lust rny .q uad and .~ide. by side-
    16.05.2018 13:03:51                                          G [@goldenspeed]               Damn
    ~(;i.0S,201S: 13:05;06                                     Coin Mission [@coin mission]        ldc about Jeweiry and clothes                      •·

    16.05.2018 13:05:14                                        G [@goldenspeed]                    Loi
    :l:6.0S.201813:07:08                                       Coin Misslo'n [@coinmission)        Loi I got two pairs of yeezys that's about it®
    16.05 .2018 13:09:01                                       G [@goldenspeed]                    Loi
    16.05.2018 13:09:14                                        G [@goldenspeed]                    Hope we hit 3mil +
    16.05 .201813:12:22                                        G G [@ilvebtc]                      msg when its active
    16.05 .201813:12:24                                        G G [@ilvebtc]                      im eating
    16.05.2018 13:19:13                                        G [@goldenspeed]                    Bet
    16.05.201& 13:19:15                                        G G [@ilvebtc]                      what is plug doing
    16.05 .2018 13:19:20                                       G [@goldenspeed]                    ldk
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  16.05.2018.13:19:31                             G.G [@ilvebtc]                     fingering his ass at work b.ro hes taking his time
  16.05 .2018 13:19:35                            G [@goldenspeed}                   Loi
  16.05.2018 13:30:23                             G G [@ilvebtc}                     bruh
  16.05.2018 13:30:35                             K K [@woahk]                       Yeah
  16.05.2018 13:30:45                             G G [@ilvebtc]                     hes taking so loqg
  16.05.2018 13:30:59                             K K [@woahk}                       lkr lol
  16.05.2018 13:31:05                             G [@goldenspeed]                   Loi he be like this sometimes
  16.05.2018 13:31:06                             G [@goldenspeed]                   Loi
  16.05.2018 13:31:23                             G G[@ilvebtc]                      message him and tell him hurry •up or hes getting clapped
  16.05.2018 13:31:52                             K K [@woahk]                       Bet when I'm shopping at Gucci he activates lmfao
  16.05.2018 13:31:59                             G [@goldenspeed]                   Loi
  16.05.2018 13:38:15                             G [@goldenspeed]                   It's activated
  16.05.2018 13:38:32                             K K [@woahk]                       It's is?
  16.05.2018 13:38:33                             K K [@woahk]                       Kk
                                                                                     Yes                       ,,.\

                                                                                                         -
  16.05.2018 13:38:44                             G [@goldenspeed]
  16.05.2018 13:38:58                             COin Mission [@coinmissionJ Zogogogogog
  16,85.20181$;38.59                              Cpin Mission [@®inmission,) GOGO
                                                                                                      "'·    '-.\
  16.05.2018 13:39:43
  16.05.2018 13:39:45
  16.05.2018 13:40:07.
  16.05.2018 13:40:20
                                                  K K [@woahk}
                                                  K K [@woahk}
                                                  G G [@ilvebtc]
                                                  K K [@woahk}
                                                                               No serviee
                                                                               Restarting
                                                                             · svc?
                                                                               Wait ls
                                                                                          \

                                                                                                               -""i,


                                                                                                                        _....
                                                                                                                                \
  16.05.2018 13:40:25                             G G [@ilvebtc]                \
                                                                               are u home                  ~                    I,_

  16.05.2018 13:40:35                             K K [@woahk]            ~
                                                                                     No                                               \
  16.05.2018 13:41:20
  16.05.2018 13:41:23
                                                  G G [@ilvebtc]
                                                  G G [@ilvebtc]
                                                                                     bruh u need to get home \
                                                                                     so i can get code quickly__.
                                                                                                                        '
  16.0.5.2018 13:41:34                            .Coin Mission I@coinmissionJ       LOL
  16.05.2018 13:41:43                              GG[@ilvebtc]                      :/
  16.05.2018 13:41:58                <
                                  "',,3
                                                   K K [@woahk}                      Did u deactivate the verizon voku?
  16.05 .2018 13:42:06                            G [@goldenspeed]                   Forgot to lol
  16.05 .2018 13:42:12    \                 ,.    G G [@ilvebtc]
                                                                                ~
                                                                                     NIGGA
                              ...,
  16.05.2018 13:42:13                             G G [@ilvebtc]                     HOLYS HIT
  16.05.2018 13:42:15                             K K [@woahk]                       Are you fucking serious
  16.05.2018 13:42:16                             K K [@woahk]                       Dude
  16.05.2018 13:42:22                             G G [@ilvebtc]                     joel go home rn
  16.05.2018 13:42:24                             G G [@ilvebtc]                     and get another phone
  16.05.2018 13:42:25                             G G [@ilvebtc]                     please
  16.05.2018 13:42:28     L                       K K [@woahk]                   DUDE I CANT
  16.05.2018 13:42:34         -.,,                G [@goldenspeed]               0mg
  16.05.2018 13:42:36                             G [@goldenspeed]               Jo
  16.05.2018 13:42:40                             G [@goldenspeed]               Send me your irnei
                                                                                                                                                   -
  J6.~ ,.29is 13:A2:44    -                       Coin Mission _f@coinmi$sion} · Wtf         :                                                         '•

  16.05.2018 13:42:49                             Coin Mission [@coinmission] Is goin on
  16.05.2018 13:43:06                             G G [@ilvebt¢]                 why cant u get home ·
  16.05.2018 13:43:12                             G G [@ilvebtc]                 if he changes his shit be of this im ognna be so mad
  16.05.201813:43:37                              K K [@woahk]                  3.58536E+l4
  16.05.2018 13:43:39                             K K [@woahk]                   Check the imw
  16.05.2018 13:43:40                             K K [@woahk]                       lmei
  16.05.2018 13:43:43                             G [@goldenspeed]                   Ok
  16.05.2018 13:43:43                             K K [@woahk]                       If it's blacklisted
  16.05.2018 13:43:53                             Coin Mission [@coinmission]        H9LY SHIT                  .   .                     ,.
                                          - --
 16.0S.2(118 13:lf3:S!I                           Corn Mission [@coinmissfonj        So phone is fucked and Si!Tl is changed
  :t.6.0~.20181.3.44:QO       .                  · Coin f).11~sion J@coinmissi<:ml   Rip                                                  '
                                                                                                                                               '
  16.05.2018 13:44:27                              G G [@ilvebtc]                    im getting billy
  16.05.2018 13:44:33                             G [@goldenspeed]                   Just checked
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   16.05.2018 13:44:35                       K K [@woahk]                [[Photo]]
   16.05 .2018 13:44:37                      G [@goldenspeed]            lmei is good
   16.05.2018 13:44:45                       K K [@woahk]                Why no service?
   16.05 .2018 13:44:57                      G G [@ilvebtc)              ask the rep voku
   16.05.2018 13:45:08                       G [@goldenspeed]            Ye asking rn
   16.05.2018 13:45:41                       K K [@woahk]                Serial# 89014103287424654279
   16.05.2018 13:45:45                       K K [@woahk)                Is that correct?
   16.05.2018 13:45:57                       G [@goldenspeed]            My plug is checking rn
   16.05.2018 13:46:13                       K K [@woahk)                It's either the phone has no service like no paid bill
   16.05.2018 13:46:21                       K K [@woahk]                Or Verizon fucked it up
   16.05.2018 13:46:30                       G [@goldenspeed]            Doubt it
   16.05.2018 13:46:44                       K K [@woahk)                Once Verizon blacklists it it's fucked
   16.05.2018 13:46:53                       G [@goldenspeed]            Tru
   16.05.2018 13:46:54                       K K [@woahk)                That's why it's very Important to deactivate it
   16.05.2018 13:46:58                       K K [@woahk]                Go deactivate it
   16.05.201_8 13:46:59
   16.05.2018 13:47:00
                                             G G [@ilvebtc]
                                             G [@goldenspeed]
                                                                         how long till youre home
                                                                         Damn                                 ./
                                                                                                                -
   16.05.2018 13:47:03                       K K [@woahk]                3pm                              ,.,
   16.05 .2018 13:47:05                      G [@goldenspeed]            I can't rn
   16.05.2018 13:47:10                       G [@goldenspeed]             Family around,_
   16.05.2018 13:47:13                       K K [@woahk]                 Who can call verizneeds n
   16.05 .2018 13:47:15                      G [@goldenspeed]             Bruh holy
   16.05.2018 13:47:15                       K K [@woahk)                Verizon                     ... 'V"\. \
   16.05.201813:47:17
   16.05.2018 13:47:20
                                             G ~ [@i lvebtc]
                                             K K [@woahk)      \
                                                                 ).'      im getting billy
                                                                                                \.

                                                                         All u need to do is deactivate it
                                                                                                                C




   16.05.2018 13:47:41                       KK[@woahk]                  What did the plug say
   16.05.2018 13:47:51                       G [@goldenspeed]             Nothing yet         ~
   16.05.20H3 13 :48:08                      G G [@ilvebtc]               billys send.ing anothe_r
   16.05.2018 13:48:15                       G [@goldenspeed]<            Bet
   16.05.2018 13:48:42                    \ G [@goldenspeed]              Ok
                                                                    \
   16.05.2018 13:48:49                \      K K [@woahk)            !    Ok use billy
   16.05 .2018 13:48:50                      G [@goldenspeed]    ./       My guy made an error and just said he fixed it
   1G.05 .io18 13:48:53                   ,,.G G [@ilvebtc]               ill still split w you      •.


   16.05.201813:48:54                        G G [@ilvebtc)              joel
   16.05.2018 13:48:54    ./                 KK[@ 1woahk]                Ok
   16.05.2018 13:48:55         r,,           G [@goldenspeed]             Restart phone
                               ,_,.
   16.05.2018 13:48:56                       G G [@ilvebtc)               holy shit
   16.05 .2018 13:48:57   \.                 K K [@woahk]                I'm checking
   16.05.2018 13:48:57                       G G [@ilvebtc]              dude
   16.05.201813:49:17                        G [@goldenspeed]            Bet
  16.05.2018 13:49:25                        G G [@ilvebtc)              tell him to get his brairi checked                       ..

   16.05 .2018 13:49:37                      K K [@woahk)                Did he update yet lol
   16.05.2018 13:49:37                     · G G [@ilvebtc) _            joel can u get in disc
   16.05.201813:49:41                        K K [@woahk)                No service yet
   16.05.2018 13:49:48                       K K [@woahk]                Not rn I'm with cousin
   16.05 .201813:50:47                       K K [@woahk)                Restarting phone
  .16.05 .2018 13:50:57                      G [@goldens·peed]           Smfh
   16.05 .2018 13:50:59                         G [@goldenspeed]         Bruh
   16.05.2018 13:51:01                          G [@goldenspeed]         Jo
  16.05.2018 13:51:06                           K K [@woahk)             Ye
  16.05.2018 13:51:09                           G [@goldenspeed]         The sim u first sent me
  16.05.2018 13:51:15                           G [@goldenspeed]         Was one digit short
  16.05 .2018 13:51 :20                         G [@goldenspeed)         Smfh
  16.05.2018 13:51:21                           G [@goldenspeed]         Loi
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  16.05.2018 13:51:22                      · G G [@ilvebtc]                     is it active                                      ·,

  16.05.2018 13:51:24                        K K [@woahk)                       Really
  16.05.2018 13:51:31                        K K [@woahk]                       Look. at picture
  16.05.2018 13:51:31                        G [@goldenspeed]                   He's re doing it rn
  16.05.201813:51:33                         K K [@woahk]                       [[Photo]]
  16.05.2018 13:51:34                       G [@goldenspeed]                    Yea
  16.05.2018 13:51:35                       G G [@ilvebtc]                      Joel u left ur helmet at home
  16.05.2018 13:51:35                       K K [@woahk]                        Occidente
  16.05.2018 13:51:38                       KK [@woahk]                         Occidente
  16.05 .2018 13:51:41                      K K [@woahk]                        iccid*
  16.05 .2018 13:51 :51                     G [@goldenspeed]                    He's doing it rn
  16.05.2018 13:52:05                       K K [@woahk]                        8.90141E+l9
  16.05.2018 13:52:15                       K K [@woahk]                        Someone confirm it's the same
  16.05.201813:52:17                        K K [@woahk]                        Look at pie
  16.05.2018 13:52:33                       G [@goldenspeed]                    Yea                             \
  16.05.2018 13:52:35                       G G [@ilvebtc]                      yes                    ~




  16.05.2018 13:52:36                       G G [@ilvebtc]                      it is                                /
  16.05.2018 13:52:38                       K K [@woahk]                        Ok good                t:,      \/
  16.05.2018 13:52:42                       G [@goldenspeed]                    No                 \       f'

  16.05.2018 13:52 :46                      K K [@woahk]                        What?
  16.05.2018 13:52:52                       G [@goldenspeed]            ..,.    Never said it's active yet
  16.05.2018 13:53:05                       K K [@woahk]            \           [(Photo)]
  16.05.2018 13:53:42                       K K [@woahk]                \       This is confusing af          "\   '\
  16.05.201813:53:45                        K K [@woahk]                        What did I send u Conor
  16.05.2018 13:53:50                       K K [@woahk]                        I'm pretty sure I sent u the same one
 _1 6.05.2018 13:53:56                      G G [@ilvebtc]                      8.90141E+l9
  i6.05.2018 13:54:01                       GG [@ilvebtc]                       8.901416t 19
  1_6.05 ,2018 B:54:06                      G G [@ilvebt~]                      u sent me the right one
  16.05.2018 13:54:08                       K K [@woahk]        <       \       Oh
  16.05 .2018 13:54:10    •        -        K K [@woahk]                    \   Then wtf?!
  16.05 .2018 13:5it!10   '\..,.   )        G [@goldenspeed]                J   The first one
  16.05.2018 13:54:17                       G [@goldenspeed)                    U sent
  16.05.2018 13:54:19                       G [@goldenspeed]                    Was this
  16.05.2018 13:54:20                                                           8.90141E+ 17
  16.05.201813:54:28
  16.05.2018 13:54:29
                                       '    G [@goldenspeed]
                                            K K [@woahk]
                                            K K [@woahk)
                                                                                Damn
                                                                                Wtf
 16.05.2018 13:54:38                        G G [@ilvebtc]                      8.90141E+19
 16.05:2018 13:54:40      \. /              G G [@ilvebtc]                      where
                              -
 16.05.2018 13:54:44                        K K [@woahk]                        Wait what
 16.05:201813:54:45 ·                       G G [@ilvebtc]                      dude i sent it in the gc along wt he number
 16.05 .2018 p :54:47                       G G [@ilvebtc]                      how did u use that
 16.05.2018 13:54:47                        K K [@woahk]                        Look at chat history
  i6.0S ..201813:54:49                      G G [@ilvebtc)                      89014103287424654279 is what i sent
 16.05.2018 13:54:53                        K K [@woahk]                        I\

 16.05.2018 13:54:56                        K K [@woahk]                        Thanks Connor
 16.05.2018 13:55:00                        K K [@woahk]                        I'm not blind thank god
 16.05.2018 13:55:01                        K K [@woahk]                        Loi
 16.05.2018 13:55:07                        G [@goldenspeed]                    Loi
 16.05.2018 13:55:09                        G [@goldenspeed]                    Sec
 16.05.2018 13:55,16                        G G [@ilvebtc)                      just tell him to hurry up or his family is dead
 16.05 .2018 13:55:22                       K K [@woahk]                        Stop lolol
 i6.05 .2018 13:55:22                       G G [@ilvebtc]                      he prob already realized he has no svc
 16.05.2018 13:55:24                        K K [@woahk)                        @@@@
 16.05.2018 13:55:45                        K K [@woahk]                        Lmk when it's active lol
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  16.05.2018 13 :55 :51                        G [@goldenspeed]                             Ye
  16.05.2018 13:55:55                          K K [@woahk]                                 If it no service just use billy lol
  16.05.2018 13:56:02                          G [@goldenspeed]                             Yea
  16.05.2018 13:56:08                          G [@goldenspeed]                             Ffs
  16.05.2018 13:57:04                          G [@goldenspeed]                             Wait_
  16.05.2018 13:57:10                          G [@goldenspeed]                             ldk what he's going
  16.05 .2018 13:57:12                         G [@goldenspeed]                             Doing
  16.05.2018 13:57:14                          G [@goldenspeed]                             But check
  16.05.201813 :57:17                          G G [@ilvebtc]                               oh my god
  16.05.2018 13 :57:19                         G (@goldenspeed]                             If u got service
  16.05.2018 13 :57:20                         K K [@woahk]                                 He better not be finessing us
  16.05 .2018 13:57:21                         K K [@woahk]                                 Loi
  16.05.2018 13:57:40                          G G [@ilvebtc]                               restart it joel
  16.05 .2018 13:57:52                         K K [@woahk]                                 I am rn
  16.05 .2018 13:58:19                         G [@goldenspeed]                             Ok he just told me              /
  16.05.2018 13:58:22                          G [@goldenspeed]                             He activated                        \


                                                                                                                        '
  16.05.2018 13:58:28                            K K [@woahk]                                Service
  16.05 .2018 13:58:29                           K K [@woahk]                               :D                \   r:,
  16.05.2018 13:58:30                          . G G [@ ilvebtc]                            finally                _.,,.,-,..,,
  16.05 .2018 13:58:31                           K K [@woahk]                               Start sending
  16.05 .2018 13:58:32                           G [@goldenspeed]                           Bet                                       /
  16.05 .2018 13:58:33                         G G [@ilvebtc]                          \.   hol shit
  16.05 .2018 13:58:34                         G G [@ilvebtc]        ("                     reset seth@sethsbapiro.com                        '\
                                                                                                                                          /
  16.05 .2018 13:58:36                         G G [@ilvebtc]                               reset seth@sethshapiro.com
  16.05.2018 13:58:38                          G [@goldenspeed]                             Discord
  16.05.2018 13:58:40                          G G [@ilvebtc]                               usual pw      .,;,
  16.05 .2018 13:58:46                         K K [@woahk]                                 Kk
  16.05 .2018 13:58:51          <              G G [@ilvebtc]             -       ,[        he acnt get on disc hes out
  16.05.2018 13:58:56                          G G [@ilvebtc]        <        \    1        ill send here if i find anything
  16.05.2018 14:00:06       •             -    K K [@woahk]          \'            \        Phone number
  16.05.2018 14:00:11       \.            )    K K [@woahk]                        )        What's the number
                                 V"
  16.05 .2018 14:00:15                         G [@goldenspeed]           /                 3109713838
  16,QS.2018 14:00:16,.          -             G G [@ilvebtc]                               3109713838
  16.05.2018 14:00:22                          G [@goldenspeed]                             What's the authy code


                                          ''
  16.05.2018 14:00:23                          K K [@woahk]                                 Code 430345
  16.05 .2018 14:01:00           r,,           G G [@ilvebtc]                               is pw reset
  16.05.201814:01:21
                                 .... I        Coin Mission [@coinmission)                  What's on authy Voku
  16.05.2018 14:01 :23                /        K K [@woahk]                                 Yes
  16.05.2018 14:01 :30                         G G [@ilvebtc]                               code
  16.05.2018 14:01 :38                         G [@goldenspeed]                             [[Photo]]
  16.05.2018 14:01 :39                         K K [@woahk)                                 251751
  16.05.2018 14:01:44 ---        ..            Coin Mission [@coirimission]                 That's it?                          ... . ,                 ~




  16.05.2018 14:01:49                          G [@goldenspeed]                             Yes
                                                                                                                                                        ·.,,
  1G,1,1s.20is .J.4:01:io       ·-             Coin Mission [@coir:im issicm]               What's tfle uphold          '
  16.05.2018 14:01:58                          G [@goldenspeed]                             Exchange
  16.05.2018 14:02:09                          G [@goldenspeed]                             It's super easy to take money out of
  16.05.2018 14:02:44                          G G [@ilvebtc]                               code
  16.05.2018 14:02:56                          G G [@ilve,btc]                              nvm
  16.05.2018 14:02:58                          GG [@ilvebtc]     -                          dont need 1
  16.05 .2018 14:02:59                         K K [@woahk]                                 Kk
  16.05.2018 14:07:02                          Coin Mission [@coinmission]                  Leggo
  16.05.2018 14:07:14                          G [@goldenspeed]                             Discord
  1~.Qs.io,1.s 14:07:~_o                       <;oin Missign l@coiri:missi9n]               Wh.a t
                                                                                                                                                   ,_


  16.05 .2018 14:07:42                         G [@goldenspeed]                             Conor join call
Case 2:19-cv-08972-CBM-FFM Document 1-2 Filed 10/17/19 Page 24 of 82 Page ID #:110



  16.05.2018 14:10:24                        G G [@ilvebtc]                     . reset sethrshapiro@gmaii.com                        '
  16.05.2018 14:10:39                        K K [@woahk]                         Kk
  16.05.2018 14:10:52                        G G [@ilvebtc]                       restoring domain email
  16.05.2018 14:11:05                        G G (@ilvebtc]                       code
  16.05.2018 14:11:13                        K K (@woahk]                       805157
  16.05 .2018 14:12:04                       K K [@woahk]                        ~
  16.05 .2018 14:12:12                       K K [@woahk]                        Pass updated
  16.05 .2018 14:13:30                       G G [@ilvebtc)                     -ty
  16.05.2018 14:18:50                        G G [@ilvebtc)                      57 COINS
  16.05 .2018 14:18:53                       G G [@ilvebtc]                      in bittrex·
  16.05.2018 14:18:55                        G G [@ilvebtc]                      trying to stay cairn
  16.05.2018 14:18:56                        G G [@ ilvebtc]                     rn
  16.05.2018 14:19:05                        K K [@woahk)                        kk
  16.05 .2018 14:19:07                       G [@goldenspeed)                    HOLY



                                                                                                      -
  16.05:2018 14:19:10                        G G [@ilvebtc]                      cant join discord
  16.05..2018 14:19:11                       G G [@ilvebtc]                       or anything
  16.05.2018 14:19:13                        G G [@ilvebtc]                       dnt spam this pis
  16.05.2018 14:19:15                        G [@goldenspeed]                     your in it
  16.05.2018 14:19:20
  16.05 .2018 14:19:59
                                             G G [@i lvebtc]
                                             G [@goldenspeed]
                                                                                  yes
                                                                                IJLES GODO
                                                                                                        .,,.--
  16.05 .2018 14:20:16
  16.05 .2018 14:20:19
                                             K K [@woahk]
                                             K K [@woahk)
                                                                                 [[Photo]]
                                                                                :D
                                                                                                  '                   I



  16.05.2018 14:20:25                        G [@goldenspeed]                    That's 513k                          \

                                                                                                '
  16.05.2018 14:20:49                        G [@goldenspeed]                    Divided by j                        ./
  16.05.2018 14:20:53                        G [@goldenspeed]                    128k
  16.05.2018 14:21:03                        G G [@ilvebtc]                      withdrawal submitted
  16.05.2018 14:21:05                        G G [@ilvebtc]                      for 27 btc
  16.0$ .2018 14:21:07            <'~        G G [@ilvebtc]            <         extracting the rest rn .
  16.05 .2018 14:21 :14          ~             GJ @goldenspeed]                  Bet
  16.0$.201.$ 14:2'4:26                    ~ ' Coin Mission [@coinmissi'&n1      Ayyy                                     '"

  16.05.2018, 14:26;02                ),      Coin_M jssion L@foinmissi9n]      Nobody is inthe caUlpl        ~                . •.

  16.05.2018 14:.26:10                        G [@goldenspeed]                  Loi
  16.05.2018 14:26:21/                        G [@goldenspeed]                  Co nor said he can't join rn or sum
  16.05.2018 14:27:19

                             ~""'
                                              Coin Mission [@coinmission]         How muchdo we gotnow 27btc?
 '1:6.0$.201$14:27:28 ·                       Coin Mission [@coinmissloh]        Or58            •·



  J..fi.05.2018 14:27:29                    , Coin l'y'ljssion [@coinmissiop]   _57                   -~ .. .    ,




  16.05.2018 14:27:31                         G [@goldenspeed]                   57
  16.05 .2018 14:27:38       \                G [@goldenspeed]                   That's 513k
  16.05 .2018 14:27:41                        G G [@ilvebtc)                     got the 27 coins
  16.05 .2018 14:27:47                        G [@goldenspeed]                    Divided by 4
  16.05.2018 14:27:54                         G [@goldenspeed]                   Is 128k
  16.05.2018 14:27:56                         G [@goldenspeed]                   Split
  16.05.2018 14:28:26                         G [@goldenspeed]                   14.25coins each
  16.05.201814:28:31                          Coin Mission [@coinmission]        Nice
  16.05.2018 14:28:36                         G [@goldenspeed]                   Ye boi
 ).6.05.2018 14:28:39                        Coin Mission [@coinmission]        Gonna donthe 0th.er tlalf now also.
 ;16.0S..201$14:28':53 . .                 . Coin Mission [@coinmissionJ        I-le probably has way more in other places. He has eth
 16.05.2018 14:28:59                         G [@goldenspeed]                   Yea true
                                       ~
  16.05.2018 14:34:31                        Coin Mission [@coinmission]        Check like kraken and shit
  16.0S.,201814:34:34 ·          .           CoinMissron [@toinmissionl         Other exchnGes                                            ·'

  16.05.2018 14:34:42                        G G [@ilvebtc]                     iam
                                 ..
 16 .05:2018 14:4S:18                        Coin Mission [@c:oinmission]       Cool. Any luck
 16.05)018 14:45:51                          G G [@ilvebtc]                     still working
 16.05.2018 14:45:56 ·                       G G [@ilvebtc]                     have a lot of shit to do
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  16.05.201814:46:13                         Coin Mission [@coinmission] Did you request the other 27 already
  16.05 .2018 14:46:25                       G G [@ilvebtc]                  not yet
  16.05.2018 14:46:29                        G G [@ilvebtc]                  had to make a new jaxx
  16.0$,201814:4~40                          Coin Mission [@Coin!TlisSiM] Could'of used block chain                  .'                       ,..
  16.05,201814:46;40                         Coin Mission [@coinmission] .· Loi
  16.05 .2018 14:49:06                       G G [@ilvebtc]                  dude
  16.05.2018 14:49:12                        G G [@ilvebt!_:]                theres like JO diff_coins in his exchange .
  16.05.2018 14:49:14                        G G [@ilvebtc]                  that make u the S00k
  16.os.io1s 14:49:15                        G G [@ilvebtc]                  up
  16.05.2018 14:49:41                        Coin Mission [@coinmission] Oh I thought it w~s btc
  16.05 .2018 14:49:41                       G [@goldenspeed]                Damn
  16.05.2018 14:49:45                        Coin Mission [@coinmission] My bad~
  16.05.2018 '15:00:29                       G G [@ilvebtc]                  code
  16.05.2018 15:00:29                        G G[@ilvebtc]                   code
  16.os:201s 1s:oo:29                        G G [@ilvebtc]                  code
  16.05.20:).8 15:00:30                      G G [@ilvebtc]                  code
  16.05.2018 15:00:30                        G G [@ilvebtc]                  code
                                                                                                               "
  16.05 .2018 15:00:42                       K K [@woahk]                   780106                ~          ✓


  16.05 .2018 15:02:46                       K K [@woahk]                    Yo
  16.05.2018 15:02:52                        K K [@woahk]                    Sorry if I missed anything
  16.05.2018 15:02:54                        K K [@woahk]            ...     I tried lol
  16.05 .2018 15:03 :04                      G [@goldenspeed]     \.         Loi                                 \,,
  16.05 .2018 15:03:14                       G [@goldenspeed]        \       Can't  wait to see 128k+      "'\
  16.05.2018 15:03:14
  16.QS,201815:05:20
                                             G [@goldenspeed]
                                             Coin Mission [@q:,inmission]
                                                                           lrln me wallet

                                                                                                ...
                                                                                   GETHl M T!:IE COPE
                                                                                                          ,,,
                                                                                                            ~
                                                                                                                    ""'
  16.0S.201815:05:21                         Corn Mission [@coinmissioh]           LMAO
  16.05 .2018 15:11:14                       G [@goldenspeed]                  ~
                                                                                    Loi
  16.05 .2018 15:11:17
                                    ~
                                      <      G [@goldenspeed]        <              Myatt guy
  16.05 .2018 15:11:21                       G [@goldenspeed]                      Is a supervisor
  16.05.2018 15:11:24         l              G [@goldenspeed]              \       LOLOLL
  16.05.2018 15:11:32             '\         G [@goldenspeed]              J       he ain't ever getting fired
                                       'L
  16.05 .2018 15:11:34                       G [@goldenspeed]       .,/            Yeeee boi
  16.05.2018 15:11:39                        G G [@ilvebtc]                        have 350k so far
  16.05.2018 15:11:44                        G [@goldenspeed]                      Ok bet
  16.05.2018 15:11:46
                                  .,,.....   G [@goldenspeed]                      YOK
  16.05.2018 15:11:49                        G [@goldenspeed]                      SO FYCJING
  16.05.2018 15:11:51                        G [@goldenspeed)                      HAPPY
  16.05.2018 15:11:55                        G [@goldenspeed]                      love u Coner
  16.05.2018 15:12:04                        G [@goldenspeed]                      U too Ricky
  16.05.2018 15:12:08                        G [@goldenspeed]                      Andjo
  16.05.2018 15:12:10                        G G [@ilvebtc]                        nobody uses u as plug exacept us
  16.05.2018 15:12:11                        G G [@ilvebtc]                        in the future
  16.05.2018 15:12:17                        G [@goldenspeed]                      Bet
  16.05.2018 15:12:21                        G [@goldenspeed]                      I' m cutting off everyone
  16.05.2018 15:12:24                        G [@goldenspeed]                      On god
  16.0S.201815:12:32                         Coln Mission [@coinmission]           i told you this awhile ag'o man . .
  16.05.2018 15:12:40                        G [@goldenspeed]                      Bet
  16.05 .2018 15:14:54                       K K [@woahk]                          :D
 f;16,05,, i018 :1:5:15:-06                  Coin Mission [@cointniss(0n]          We were. dryfor a-vyhilebut lately s:l'lits poppiri'haha
  16.05.2018 15:15:12                        G [@goldenspeed]                      Fax
  16.05.2018 15:15:19                        K K [@woahk]                          What's in a iCloud
  16.05.2018 15:17:43                        Cofn Mission [@coinmission]           -ls it in btc yet? Did, you take the Spk
  16.05.2018 15:18:33                        K K [@woahk]                           Coming Home soon iight
  16.05.2018 15:22:40                        K K [@woahk]                          Add me to call
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  l'~.05.2018.15,32~33 .··                     · Coin Mission f@coihml~ion}       Add me.to ·call to
  lq,-05.2018 15:33:49                          Coin Missio_n [@coinmis.sionl     Any update on t11is
  16.05.201815:34:34                          · Coin Mission [@coinmissionJ       Is there a call lol
  16.05.2018 15:39:16                           K K [@woahk]                      He's trying to get number back
  16.05.2018 15:39:19                          K K [@woahk]                       I'm getting txt messages
  16.05.2018 15:39:35                          G G [@ilvebtc]                     ite
  16.05.2018 15:39:37                          G G [@ilvebtcJ                    im moving fast
  16.05.2018 15:40:16                          K K [@woahk]                      He got it back
  16.05.2018 15:40:27                          G G [@ilvebtc]                    the number?
  16.05.2018 15 :40:31                         K K [@woahk]                      Yes
  16.05 .2018 15:41:37                         K K [@woahk]                      Nvm got service still
  16.05.2018 15:41:43                          G G [@ilvebtc]                    LOL
  16:os.2018 15:41:46                          G G [@ilvebtc]                    scaring me
  16.05.2018 15:41:49                          K K [@woahk]                      But I did get a text message
  16.05.2018 15:41:53                          K K [@woahk]                      He's calling
  16.05.2018 15:42:11                          K K [@woahk]                      [[Photo]]
  16:05.2018 15:43:39                          Coin Mission [@coinmission]       LOL          /
  16.05.2018 15:43:53                          G G [@ilvebtc]                    uh oh                            '   \/"
                                                                                                                            .

  16.05.2018 15:44:47                          K K [@woahk]                      No more Lte uh oh
  16.05.2018 15:44:53                          G [@goldenspeed]                  Loi                                    ~




  16:Q5;2Q18 li:44:57                          Coin M ission [@coinmission] ,J   Noooo-...._   / ··
  16.05.2018 15:44:58                          G [@goldenspeed]                  Want my guy to swap it back
  16.05.2018 15:45:00                          G [@goldenspeedJ          \.      ?
  16.05.2018 15:45:05                          K K [@woahk]           >          Or just
                                                                                                         ,.....
                                                                                                                  \
                                                                                                                  .)
  16.05.2018 15:45:08                          K K [@woahk]          \           Fucking block"it
  16.05.2018 15:45:08                          K K [@woahk]                       Loi
  1§,Q5,2.Q1815:45:10                          Coin Mission [@coinrnissjonL Conor g'et the money out ofbittrex
  16.05.2018 15:45:13             ., '         K K [@woahk]                 Make him go to the star
  16.05.2018 15:45:14                          KK[@woahk]                   Store
  19.,05.2918 J,5:45{14 ..                     Coin Mission t@coin,mission)      The rest of it
  16.05.2018 15:45:28              }           G [@goldenspeed]                  Jo
                             \/
  16.05.2018 15:45:30                          G [@goldenspeed]     /            Send another sim
  16.05.2018 15:45:31                          G [@goldenspeed]                  Fast
  16.05.2018 15:45:34                          KK[@woahk]                        Fuck kkk
  16.05.2018 15:45:36      ~ .......           KK[@woahk]                        Not home xD
  16.05.2018 15:45:39        r...              G [@goldenspeed]                  Smh
                              ._,.
  16.05.2018 15:45:47                          G [@goldenspeed]                  I'll have him cancel
  16.05 .2018 15:45:48     \. , /              K K [@woahk]                      Just tell ur plug
                              ~


  16.05 .2018 15:45:50                         K K [@woahk]                      Describe
  16.05 .2018 15:45:51                         K K [@woahk]                      Yes
  16.05 .2018 15:45:54                         K K [@woahk]                      Deactivate
  16.05 .2018 15:46:00                         G G [@ilvebtc]                     no            ..
  16.05.2018 15:46:01                          G G [@ilvebtc]                     d
  16.05.2018 15:46:01 .                        G G [@ilvebtc]                     no
  16.QS.2018 15:46:02                          G G [@ilvebtc]                     no
  16.05.2018 15:46:02                          G G [@ilvebtc]                     no
  16.05.20_18 ~5:46:02                         G G [@ilvebtc]                     no
  16.05.2018 15:46:04                          G G [@ilvebtc]                     not yet
  16.05.2018 15:46:06                          GG [@ilvebtc]                    . i just found the rest of his auth shit
  16.05.2018 15:46:06                          K K [@woahk]                      ???
  16.05.2018 15:46:09                          K K [@woahk]                      Oh
  16.05.2018 15:46:14                          G [@goldenspeed]                  Oh
  16.05.2018 15:46:14                    ..    GG [@ilvebtc]                     dont cancel it
  16.05.2018 15:46:16                          K K [@woahk)                      Dude we gotta be quick lol
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   16.05.2018 15:46:18                                  G G [@ilvebtc]                      im about to hit binance
   16.05 .2018 15:46:19                                 G G [@ilvebtc]                      and kucoin
   16.05.2018 15:46:22                                  G [@goldenspeed]                    Want me to take off his
   16.05.2018 15:46:22                                . Coin Mission [@coinmission]         Gogo
   16.05.2018 15:46:24                                  G [@goldenspeed]                    Sim
   16.05.2018 15:46:28                                  G [@goldenspeed]                    Off the line
  ·16.05.2018 15:46:31                                 Coin Mission [@coinmission]          Can he revert back to jo
   16.().5.20),8.15;46:3~.   '   -              ,..    Coin Misslon [@coinmissiqn]          ?? .
   16.05 .2018 15:46:36                                G [@goldenspeed]                     So he loses service
   16.05 .2018 15:46:37                                K K [@woahk]                         I have no service
   16.05 .2018 15:46:38                                G [@goldenspeed]                     I'll see
   16.05 .2018 15:46:41                                K K [@woahk]                         It's confirmed
   16.05 .2018 15:47:33                               . G [@goldenspeed]                    Ok told my guy
   16.05.2018 15:47:35                                 · G [@goldenspeed]                   To take off
   16.05.2018 15:47:36                                 G [@goldenspeed]                     Sim                        _.,.F\

   16.05.2018 15:47:41                                 G [@goldenspeed]                     On that number
   16.05 .2018 15:47:45                                K K [@woahk]                         Loi he
   16.05.2018 15:47:48                                 K K [@woahk)                         Ye
   16.05.2018 15 :47:52                                K K [@woahk)                         Change pin too
   16.05.2018 15:47:55                                 K K [@woahk)                         He's calling via support
   16.05.2018 15:47:58                                 K K [@woahk)                  /      Not in support store
   16.05 .2018 15:48:15                                G [@goldenspeed]          \          Bet
   16.05 .2018 15:48:21                                G [@goldenspeed]              \      Just told him
   16.05.2018 15:48:42                                 K K [@woahk]              >          I'll be home soon I got a bunch of Gucci hahaha
   16.05.2018 15:48:46                                 G [@goldenspeed]                     Loi
   16.05 .2018 15:48:59                                K K [@woahk]                         Bet ur gonna go tomorrow
   16.05.2018 15:49:01                                 K)< [@woahk]                         U better
   16.05 .2018 15:49:05              /'                G [@goldenspeed]                     Loi
   16.05.2018 15:49:14                                 G [@goldenspeed]                     Gonna buy some Gucci
   16.05.2018 15:49:16                      -          G [@goldenspeed]                     J:omorrow
                             '
                                 \
                                     ..,. '
  16.05 .2018 15:49:24                          ~      K K [@woahk)                         Buy some for ur fam too
  16.05.2018 15:49:33                                  G [@goldenspeed]          /          Loi fuck no lol
  16.05 .2018 15:49:35                                 G [@goldenspeed]                     Loi
  16.05.2018 15:49:49                                  K K [@woahk]                         I bought my aunt a 30k Jeep
   16.05 .2018 15:49:54      r                         G [@goldenspeed]                     Damn
  16.05.2018 15:49:54                    r,,           K K [@woahk)                         Bought my cousin some Gucci lol
                                         ._,.
  16.05 .2018 15:50:02                                 K K [@woahk)                         Always respect ya know
  16.05 .2018 15:50:09           \. /                  G [@goldenspeed]                     Fax
                                     -
  16.05 .2018 15:50:22                                 K K [@woahk]                         Get ur dad some Gucci or his dream car   ll
  16.05.2018 15:50:38                                  K K [@woahk]                         He's the one who got u out right lol
  16.05 .2018 15 :50:45                                G [@goldenspeed]                     Loi
  16.05.2018 15:50:47                                  G [@goldenspeed]                     Tru
  16.0!),~01815:5.4:27                                 C::oin Mission [@i:;oin111issiq;n]   Conor what was up with K4coin and binance            '




  16.05.2018 15:55:55                                  G G [@ilvebtc]                       Dear Valued Customer, W ireless service for the mobile
  16.05.2018 15:55:55                                  G G [@ilvebtc]                       holy shit
  16.05.2018 15:55:57                                  G G [@ilvebtc]                       what a fucking moron
  16.05.2018 15:55:58                                  G G [@ilvebtc]                       LOL
   tG.05.2018 15:56:00                                 G G [@ilvebtc]                       t hanks dude
  16.05.2018 15:56:03                                  G G [@ilvebtc]                       now i have more time to take from u
  16.05 .2018 15:56:20                                 K K [@woahk]                         Loi
  16.05 .2018 15:56:24                                 K K [@woahk)                         Than
  16.05.2018 15:56:26                                  K K [@woahk]                         Facts
  16.05.2018 15 :56:52                                 K K [@woahk]                         He can't activate his sim card
  16.05.2018 15:56:55                                  G [@goldenspeed)                     LOLOLL
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  16!os:'2'0:i:s 116:s1:14 · .:::':'           . ·G· G [@ilvebtc]·         ..                    Ox'e'6F7 AA6e'8Sfii'3'e3339EC33Sef3Sc4f61e7F71;fEe0~ •~"' . ·.
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  16:05,'.'20118:17:0~):31 ,:t           .     , XG:'G ['@filvebtc]:       ,:<,           . ·     o',ili!iill'!,   •;;,;S:'

  16.05.2018 17:00:32                             G G [@ilvebtc]                                 we made 1.3m
  16:.Q,S·:2.01!_8,.1 7:01:51 .,,,,,;.   ..:    •,G,G [@ilvebtc],,, ,·                    .      bit~bin > sllapeshiry to monero> send ,monero: to ·xi'.n r.to · ,.
                                                :GG [@ilvebtc]                                   ricky          /       ,        ""' /      · · .'"
                                                ·,G,G [@.iJvebt0N , , .                    .,
  16.05.201817:20:14                              G [@goldenspeed]                               0x7849a1B109181ed11F6FF70fae4527146203287C
  16.05 .2018 17:38:03                            G [@gqldenspeed]
  16.05 .2018 17:47:32                            G [@goldensp'eed]                              [[\:'Jdeo si?e 3'844'733 bytesff                         .·



  16.05 .20i? 18:13:06                           (j [@goldenspe ed]                             0x7849a181,Q9_181ed11F6FF7dtae452°7146203287C
  16.05.2018 19:23:53                            G [@golderspeed]                 "       ,.    [[Photo]] "_,/     ,i::o.,    'X
    Case 2:19-cv-08972-CBM-FFM Document 1-2 Filed 10/17/19 Page 29 of 82 Page ID #:115'                                                         t
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 USER ATTRIBUTES•••
 USERIO                     57976705ce74 3
                            Ricky H     la S90ccf717
 NAME
 EMAIL                      rtheboss94@outloo
 CREATED                    July, 26 2016 06'35
                                            · amk.com
                                                   PDT



 IDENTITY•••
 FIRST NAME
 LAST NAME
 SSN
 ADDRESSl
 ADDRESS2
 CITY
 STATE
 ZIP
 COUNTRY
 BIRTHDATE M/D/Y



 JUMIO PROFILES•••
 DATE                       TYPE                         ID NUMBER           STATUS      NAME        DOB
 2016-07-26T13:48:07.625Z   Driver's License             H532-730-93-111-0   completed   Ricky Josep       3/31/1993




                            •
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 USER ATTRIBUTES•••
 USER ID                               S3af49008e6ce07e8a000007
 NAME                                  R
 EMAIL                                 rickyy6@yahoo.com
 CREATED                               June, 28 2014 04 :00pm PDT



 IDENTITY""*
 FIRST NAME                            Ricky
 LAST NAME                             Handschumacher
 SSN
 ADDRESS!                              9733 lake chrise lane
 ADDRESS2
 CITY                                  port richey
 STATE                                 FL
 ZIP                                   34668
 COUNTRY                               United States of America
 BIRTHDATE M/D/Y                       3/31/1993



 JUMIO PROFILES•••
 DATE                                  TYPE                          ID NUMBER        STATUS           NAME     DOB                       ADDRESS
 2016-08-22T03:15:38.12SZ                                                             failed



 PERSONAL DETAILS'"
 DOB                                   3/31/1993
 Street Address                        9733 lake chrise lane/
 City, State, ZIP                      port richey, FL, 34668
 Country                               us

 PREVIOUS EMAILS " '
 CHANGED FROM                          CHANGED TO                    CHANGED    AT    CONFIRMED AT



 MERCHANT PROFILES"'



 COMPANY EDD REQUESTS"'
 NAME                                  OBA                           WEBSITE          BUSINESS TYPE    BUSINESS CBUSINESS DESCRIPTION     PHONE NUMBER



 PHONE NUMBERS•••
 NUMBER                                COUNTRY                       VERIFIED
                          7274944891   us                                   TRUE
 7274947213 (Deleted)                  US                                   TRUE



 BILLING ADDRESSES'"
 ADDRESS 1                                                           ADDRESS 3        CITY             STATE    POSTAL CODE               COUNTRY
 9733 Lake Chrise Ln                                                                  Port Richey      FL                         34668   us
 9733 lake ch rise lane                                                               port richey      FL                         34668   us


 BANK ACCOUNTS'"
 CUSTOMER NAME
 Ricky Handschumacher
 Ricky J Handschumacher
 Ricky J Handschumacher
 Ricky J Handschumacher
                                       BANK NAME
                                       Suncoast Schools FCU - Bank
                                       Suncoast Schools FCU - Bank
                                       Suncoast Schools FCU - Bank
                                       Suncoast Schools FCU - Bank
                                                                                --
                                                                     ACCOUNT NUMBER   ROUTING NUMBER   ACCOUNT"VERIFIED
                                                                                                -checking
                                                                                                -checking
                                                                                                -checking
                                                                                                -checking
                                                                                                                          FALSE
                                                                                                                          FALSE
                                                                                                                          FALSE
                                                                                                                          TRUE
                                                                                                                                          VERIFICATION METHOD
                                                                                                                                          cdv
                                                                                                                                          cdv
                                                                                                                                          cdv
                                                                                                                                          cdv
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                                                 Attachment C
••• 1olsmileyface is Ricky HANDSCHUMACHER •••


  Timestamp                               Username         Contents
  2018-04-18   15:30:21.877000+00:00      lolsmileyface    Yoooo
  2018-04-18   15:30:29.006000+00:00      lolsmileyface    I dona€™t know how to use this shit
  2018-04-18   15:30:30.579000+00:00      jo               yo
  2018-04-18   15:30:32.852000+00:00      jo               lmao
  2018-04-18   15:30:34.443000+00:00      jo               just learn
  2018-04-18   15:30:39.946000+00:00      jo               av-,
  2018-04-18   15:30:46.532000+00:00      lolsmileyface    I just want to talk to you and maj
  2018-04-18   15:30:56.604000+00:00      jo               u got maj's discord?
  2018-04-18   15:31:01.286000+00:00      lolsmileyface   I dont
  2018-04-18   15:31:10.678000+00:00      lolsmileyfai;e  Can you make a group just us 3
  2018-04-18 15:31:24.688000+00:00        jo              majestic#2983
  2018-04-18 15:32:03.424000+00:00        lolsmileyface · Whata€™s that lol
                                                          his discord



                                                                                                ~
  2018-04-18 15:32:12.578000+00:00        jo
  2018-04-18   15:32:13.103000+00:00     jo                lol
  2018-04-18   15:32:23.660000+00:00     lolsmileyface     ldk how to search them
  2018-04-18   15:32:32.471000+00:00     lolsmileyface     On Skype delete the message
  2018-04-18   15:32:35.427000+00:00     lolsmileyface     Of the group
  2018-04-18   15:32:39.971000+00:00     lolsmileyface     An howa€™s this safer lol
  2018-04-18   15:32:46.875000+00:00     jo                ill kick anyone
  2018-04-18 15:32:58.024000+00:00       jo                who idk
  2018-04-18 15:33:03.011000+00:00       lolsmileyface     Ahhh okay
  2018-04-18 15:33:11.021000+00:00       lolsmileyface     Make one for just us 3 though pleas
  2018-04-18 15:33:28.839000+00:00       jo                im, trynna figur eout ls
  2018-04-18 15:37:57.259000+00:00       lolsmileyface     How many chats are there lol
  2018-04-18 16:12:30.043000+00:00       lolsmileyface     Dude thata€'Ms what I meant to ask you!
  2018-04-18 16:12:39.950000+00:00       jo                what
  2018-04-18 16:12:40.822000+00:00       jo                lol
                                                           Look at Ian twitter someone took his email and was sending emails
  2018-04-18 16:13:13.956000+00:00        lolsmileyface
                                                           out
  2018-04-18   16:13:19.160000+00:00     lolsmileyface     Asking for money
  2018-04-18   16:13:22.410000+00:00     jo                lol
  2018-04-18   16:13:22.837000+00:00     jo                ik
  2018-04-18   16:13:25.635000+00:00     jo                fuck him
  2018-04-18   16:13:40.820000+00:00     jo                idc what happens to him tbh
  2018-04-18   16:16:59.190000+00:00     lolsmileyface     Thata€'Ms strange though lol
  2018-04-18   18:03:22.474000+00:00     lolsmileyface     Yooo ssn down?
  2018-04-18 18:04:31 ■---:00            jo                yes
  2018-04-18 18:04:32.•••100             jo                lol
  2018-04-18 18:05:00.360000+00:00       lolsmileyface     I got the new one
  2018-04-18 18:05:26.190000+00:00       lolsmileyface     I think
  2018-04-18 18:05:31.806000+00:00       jo                which
  2018-04-18 .18:05:48.175000+00:00      lolsmileyface     http://exedic.io
  2018-04-18 18:06:03.294000+00:00       jo                doesnt exist it says
  2018-04-18 18:06:03.943000+00:00       jo                lol
  2018-04-18 18:06:57.625000+00:00        lolsmileyface    Sec oops
  2018-04-18 19:12:30.940000+00:00        lolsmileyface    How can we call
  2018-04-18 19:41:41.426000+00:00        lolsmileyface    av--av--av--av--
  2018-04-18 20:37:56.381000+00:00       lolsmileyface     Yoooo
  2018-04-18 21:43:48.599000+00:00       lolsm ileyface    BRHH
  2018-04-18 22:05:33. 766000+00:00      jo                Yo
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 2018-04-18 22:09:47.840000+00:00       jo              i was sleeping
 2018-04-18 22:09:48.270000+00:00       jo              lol
 2018-04-18 22:09:48.960000+00:00       lolsmileyface   Doc paying us soon
 2018-04-18 22:09:56.872000+00:00       lolsmileyface   Talked to him for awhile today
 2018-04-18 22:09:57.259000+00:00       jo              wym
 2018-04-18 22:10:03.504000+00:00       jo              tell doc to join discord
 2018-04-18 22:10:04.009000+00:00       jo              lol
 2018-04-18 22:10:06.170000+00:00       lolsmileyface   Tomorrow I think he gonna pay
 2018-04-18 22:10:08.197000+00:00       lolsmileyface   He wona€™t join
 2018-04-18 22:10:12.357000+00:00       jo              why
 2018-04-18 22:10:13.586000+00:00       jo              lmaooo
 2018-04-18 22:10:24. 797000+00:00      lolsmileyface   No idea hea€™s done with it all. Only xat he said
 2018-04-18 22:10:29.786000+00:00       jo              lol
 2018-04-18 22:10:41.883000+00:00       jo              not even a chill chat?
 2018-04-18 22:10:46.617000+00:00       jo              no simming and sht

 2018-04-18 22:10:47.316000+00:00       lolsmileyface
                                                        But hea€™s gonna pay he said and he said hea€™s not worrying
 2018-04-18    22:10:53.600000+00:00    lolsmileyface   Yeah no hea€™s like ghost rn
 2018-04-18    22:10:54.936000+00:00    lolsmileyface   Loi
 2018-04-18    22:11:07.637000+00:00    lolsmileyface   He wona€™t do anything other then xat rarely
 2018-04-18    22:11:13.096000+00:.00   jo              lmao
                                                        Loi idk but he told me to tell you hea€™s gonna pay you next
 2018-04-18 22:11:30.658000+00:00       lolsmileyface
                                                        couple of days by the wee end
  2018-04-18   22:11:38.088000+00:00 jo                 kk
  2018-04-18   22:11:49.681000+00:00 lolsmileyface      And that was about it
  2018-04-18   22:11:51.561000+00:00 lolsmileyface      Loi
  2018-04-18   22:30:27.307000+00:00 lolsmileyface      I couldna€™t help but look. Look at recent tweet
  2018-04-18   22:31:43.318000+00:00 jo                 idc tbh lmao
  2018-04-18   22:31:51.885000+00:00 lolsmileyface      I just coulona€™t help but look lol.
  2018-04-18   22:32:15.179000+00:00 lolsmileyface      Only because they are trying to link it to other hacks ...
  2018-04-18   22:49:29.342000+00:00 lo smileyface      Fuckin drew man
  2018-04-18   22:49:34.416000+00:00 lolsmileyface      Holy shit
  2018-04-18   23:08:10.074000+00:00 lolsmileyface      You here
  2018-04-18   23:08:14.819000+00:00 jo                 yes
  2018-04-18   23:08:20.467000+00:00 lolsmileyface      Xat.com/old
  2018-04-18   23:13:45.264000+00:00 lolsmileyface      Are you in there?
  2018-04-18   23:15:18.158000+00:00 . jo               yea
  2018-04-18   23:15:19.271000+00:00 jo                 lol
  2018-04-18   23:15:41.092000+00:00 lolsmileyface      Drew freaking lol
  2018-04-18   23:17:11.911000+00:00 lolsmileyface      la€™11 join when I get home
  2018-04-18   23:17:11.939000+00:00 jo                 whbere tf phobia at
  2018-04-18   23:17:16. 792000+00:00 lolsmileyface     No idea lol
  2018-04-18   23:17:20.974000+00:00 lolsmileyface      Whoa€™s all in the room
  2018-04-18   23:17:23.223000+00:00 lolsmileyface      You and j
  2018-04-18   23:34:03.243000+00:00 lolsmileyface      Whoa€™s who
  2018-04-18   23:34:04.736000+00:00 lolsmileyface      In here
  2018-04-18   23:35:22.262000+00:00 lolsmileyface      Moopie and mooglie
  2018-04-18   23:43:58.492000+00:00 jo                 Meu
 '2018-04-18   23:43:59.289000+00:00 jo                 Loi
  2018-04-18   23:44:09.981000+00:00 jo                 I actually forgot to leave site la€™m out rn
  2018-04-18   23:44:10.925000+00:00 jo                 Lmao
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 2018-04-19 00:00:23.244000+00:00     lolsmileyface     Which one are you and which is doc
 2018-04-19 02:32:09.353000+00:00     lolsmileyface .   https://xdedic.io
 2018-04-19 02:32:28.968000+00:00     jo                oh that site
 2018-04-19 02:32:31.594000+00:00     jo                idk if its trusted
 2018-04-19 02:32:38.730000+00:00     jo                cant make an account tho
 2018-04-19 02:55:58.478000+00:00     lolsmileyface     It was Daniel
 2018-04-19 02:58:13.182000+00:00     jo                How u know
 2018-04-19 02:58:14.118000+00:00     jo                Loi
                                                        Apparently doc confronted fain and was like we know ita€""s you
 2018-04-19 02:58:28.889000+00:00     lolsmileyface
                                                        man
 2018-04-19 02:58:43 .531000+00:00    lolsmileyface     Fain said a€reyoua€™re lucky I misled hima€
 2018-04-19 02:58:50.520000+00:00     jo                Dude
 2018-04-19 02:58:54.420000+00:00     jo                Tell him to pay btc back
 2018-04-19 02:59:03.063000+00:00     jo                He owes u 1
 2018-04-19 02:59:22.911000+00:00     lolsmileyface     lk ita€'"s fine man. Ide as long as this shit stays clear of us
 2018-04-19 03:00:29.754000+00:00     jo                so doc can come back?
 2018-04-19 03:00:30.296000+00:00     jo                av-,,
 2018-04-19 03 :00:54.194000+00:00    lolsmileyface     ldk la€™m trying to ask doc and confirm all this
 2018-04-19 03 :03 :18.595000+00:00   lolsmileyface     False info
 2018-04-19 03 :03 :21.868000+00:00   lolsmileyface     I just talked to foe
 2018-04-19 03:03:23.611000+00:00     lolsmileyface     Doc
 2018-04-19 03:03:30.959000+00:00     lolsmileyface     He still doesna€'"t known
 2018-04-19 03:05:52.946000+00:00     jo                lol
 2018-04-19 03:05:55.786000+00:00     jo                how u talking to doc
 2018-04-19 19:12:38.185000+00:00     lolsmileyface     Hey
 2018-04-19 19:14:26.398000-i>00:0O   jo                Yo
 2018-04-19 19:14:36.248000+00:00     lolsmileyface     What up!
 2018-04-19 19:14:41.828000+00:00     jo                Nothing much lol
 2018-04-19 19:14:43.652000+00:00     jo                u
 2018-04-20 11:48:59.366000+00:00     jo                When doc sending it    av--av--av--av--
 2018-04-20 11:50:01.822000+00:00     lolsmileyface     Good question lol
 2018-04-20 11:50:05.444000+00:00     lolsmileyface     la€™11 message him today
                                                        We know he is not that much of a morning person LOL la€™11
 2018-04-20 14:01:37.589000+00:00     lolsmileyface
                                                        message him around noon
 2018-04-20 17:11:35. 771000+00:00 lolsmileyface        Yooo you there
 2018-04-20 17:34:27.964000+00:00 jo                    Yes
 2018-04-20 17:34:30. 782000+00:00 jo                   yo add daniel
 2018-04-20 17:34:34.128000+00:00 jo                    I told him ur discord
 2018-04-20 17:34:47 .879000+00:00 lolsmileyface        How do I add someone lol
 2018-04-20 17:35:06.157000+00:00 lolsmileyface         He never added me
 2018-04-20 17:35:08.688000+00:00 lolsmileyface         No pending
 2018-04-20 17:36:23.483000+00:00 jo
 2018-04-20 17:36:37 .882000+00:00 lolsmileyface        I cana€'"t remember that LOL
 2018-04-20 17:41:10.796000+00:00 jo                    He needs doc lol
 2018-04-20 17:41:30.939000+00:00 lolsmileyface         He didna€™t add me
 2018-04-20 17:41:33.603000+00:00 lolsmileyface         Tell him to add me
 2018-04-20 17:42:23.398000+00:00 lolsmileyface         Which Daniel this
 2018-04-20 17:42:37.229000+00:00 lolsmileyface         Fain or the other one
 2018-04-20 17:42:53.791000+00:00 . jo                  Matta€™s friend
 2018-04-20 17:42:58.997000+00:00 jo                    And the YouTube email plug
 2018-04-20 17:42:59.605000+00:00 jo                    Loi
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 2018-04-20 17:43:01. 724000+00:00      lolsmileyface   av™,, okay
 2018-04-20 17:47:19.671000+00:00       lolsmileyface   Kids such a fag
 2018-04-20 17:47:24.679000+00:00       lolsmileyface   Broke guy man
 2018-04-20 17:49:30.268000+00:00       lolsmileyface   He tried scamming doc
 2018-04-20 17:51:45.996000+00:00       jo              Damn
 2018-04-20 17:52:03.385000+00:00       lolsmileyface   Doc told@me the story
 2018-04-20 17:52:07.394000+00 :00      lolsmileyface   And itaP•s not what hea€"•s saying
 2018-04-20 17:52:26.616000+00:00       lolsmileyface   Just like Daniel took@ H from him awhile back
 2018-04-20 21 :12:08.282000+00:00      lolsmileyface   You on
 2018-04-20 21 :19:03 .541000+00:00     jo              Yo
                                                        Can you send me like $1 in eth I want to make sure I receive
 2018-04-20 21:23:14.003000+00:00       lolsmileyface
                                                        money lol. And not another fuck yo
 2018-04-20 21:23:15.076000+00:00       lolsmileyface   Up
 2018-04-20 21:28:45.435000+00:00       jo              I dona€™t have eth
  2018-04-20 22:22:36.147000+00:00      lolsmileyface   Asap
· 2018-04-20 22:22:38.546000+00:00      lolsmileyface   You hea€™s
 2018-04-20 22:22:41.145000+00:00       lolsmileyface   Here
 2018-04-20 22:22:56.985000+00:00       lolsmileyface   Yoooooo
 2018-04-20 22:23 :46.201000+00:00      lolsmileyface   Jesus lol
 2018-04-2114:35 :47 .827000+00 :00     jo              yea
 2018-04-22 00:47:02.726000+00:00       jo              'lo?
 2018-04-22 03:50:39.903000+00:00       jo              Nigga Ricky
 2018-04-22 04:34:18.251000+00:00       lolsmileyface   How tf do I find someone on xat lol
 2018-04-22 10:10:48.223000+00:00       jo              Loi
 2018-04-22 10:10:53.974000+00:00       jo              ldk
 2018-04-22 17:45:50.316000+00:00       jo              what
 2018-04-22 17:45:54.858000+00:00       jo              happened
 2018-04-22 17:52 :30.287000+00:00      jo              Why is doc taking so long to send me the$ smh
 2018-04-23 13:28:56.597000+00:00       lolsmileyface   Yoooo
 2018-04-23 13:29:05 .263000+00:00      lolsmileyface   He was asking for you but you never replied
 2018-04-23 13:29:15.719000+00:00       lolsmileyface   That day when I was spamming you haha
 2018-04-23 13:53:14.739000+00:00       jo              Loi nvm
 2018-04-23 13:54:39.907000+00:00       lolsmileyface   You get it yet
 2018-04-23 14:07:10.096000+00:00       jo              Only 1/3 of it lol
 2018-04-23   14:07:15.484000+00:00     jo              Seymour has the rest
 2018-04-23   14:07:50.667000+00 :00    lolsmileyface   What doc give you
 2018-04-23   14:07:53.561000+00:00     lolsmileyface   $100
 2018-04-23   14:10:47.009000+00:00     jo              100$ what hahahahaha
 2018-04-23   14: 10:56.526000+00:00    jo              I think 60/180
 2018-04-23   14: 10:58 .165000+00:00   lolsmileyface   K
 2018-04-23   14:10:59.603000+00:00     lolsmileyface   100&
 2018-04-23   14:11:05.277000+00:00     lolsmileyface   K
 2018-04-23   14:11:15.678000+00:00     jo              Nigga u said $100 av-,av-,av-,av-,
 2018-04-23 14:11:21.624000+00:00       lolsmileyface   I forgot the K
 2018-04-23 14:11:22.655000+00:00       lolsmileyface   Loi
 2018-04-23 14:11:24.641000+00:00       jo              Shhh
 2018-04-23 14:11:29.843000+00:00       jo              He gave phobia Sk@lol
 2018-04-23 14:11:38.131000+00:00       jo              Well@im@holding it but yeah
 2018-04-23 14: 11:55.930000+00:00      lolsmileyface   LOL what he gave phobia
 2018-04-23 14:11:57.545000+00:00       lolsmileyface   For what
 2018-04-23 14: 12:01.678000+00:00      lolsmileyface   lta€™11 be gambled
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 2018-04-23   14:12:06.692000+00:00   jo              Na
 2018-04-23   14:12:10.308000+00:00   jo              la€™m holding it
 2018-04-23   14:12:18.117000+00:00   jo              Bought psn phobia for him
 2018-04-23   14:12:21.158000+00:00   jo              1.3k lol
 2018-04-23   14:13:05.768000+00:00   lolsmileyface   LOL good idea cause ita€'"11 be gone if you give him
 2018-04-23   14:13:12.091000+00:00   jo              Ye
 2018-04-23   14:14:40.087000+00:00   lolsmileyface   What psn lol
 2018-04-23   14:17:54.753000+00:00   jo              Phobia
 2018-04-23   15:50:21.236000+00:00   jo              Ask Robert how@much Eric Meiggs has lol
 2018-04-23   15:50:29.057000+00:00   jo              I wonder if he really has 15m orbs
 2018-04-23   15:52:08.525000+00:00   lolsmileyface   Who has 15m LOL
 2018-04-23   15:52:10.329000+00:00   lolsmileyface   meiggs
 2018-04-23   15:53:53.995000+00:00   jo              Yeah
 2018-04-23   15:53:56.249000+00:00   jo              Loi idk man
 2018-04-23   15:53:59.120000+00:00   lolsmileyface   LOL
 2018-04-23   15:54:01.377000+00:00   jo              He said he does them with robert
 2018-04-23   15:54:05.172000+00:00   lolsmileyface   LOL
 2018-04-23 15:54:08.863000+00:00     jo              So maybe Robert knows lmao
 2018-04-23 15:54:12. 773000+00:00    lolsmileyface   la€™11 ask him
 2018-04-23 16:10:15.274000+00:00     lolsmileyface   Dude LOL
 2018-04-23 16:25:19.947000+00:00     jo              What happened lol
 2018-04-23 16:25:38.393000+00:00     lolsmileyface . I will have to call you later and tell you this one
                                                      My phone is about to die and la€™m at work so I will hit you up
 2018-04-23 16:25:50.847000+00:00     lolsmileyface
                                                      later LOL
 2018-04-23 16:26:02.777000+00:00     jo              Loi
 2018-04-24 19:30:09.191000+00:00     lolsmileyface DUDE
 2018-04-24 19:31:53.442000+00:00     jo              ????!!?!?
 2018-04-24 19:32:05.158000+00:00     lolsmileyface   Phobia said he needs $1k LOL
 2018-04-24 19:32:16.430000+00:00     jo              Loi
 2018-04-24 19:32:27.413000+00:00     jo              He got' $300
 2018-04-24 19:32:34.303000+00:00     jo              gambled yo 4k
 2018-04-2419:32:34.768000+00:00      lolsmileyface   he just asked me lol
 2018-04-24 19:32:37.420000+00:00     jo              To
 2018-04-24 19:32:40.967000+00:00     lolsmileyface   Noway
 2018-04-24 19:32:43.246000+00:00     jo              Then bought his stuff
 2018-04-24 19:32:47.514000+00:00     jo              Then gambled it all away
 2018-04-24 19:32:50.499000+00:00     lolsmileyface   LOL
 2018-04-24 19:33:01.421000+00:00     jo              Hea€™s dumb lol
 2018-04-24 19:33:06.450000+00:00     lolsmileyface   He said he wants $1k for clothes
 2018-04-24 19:33:08.195000+00:00     lolsmileyface   And shoes
 2018-04-24 19:33:12.114000+00:00     jo              Lmao
 2018-04-24 19:33:20.759000+00:00     lolsmileyface   I gotta tell you what Robert said
 2018-04-24 19:33:23.348000+00:00     lolsmileyface   About meiggs
 2018-04-24 19:33:24.904000+00:00     lolsmileyface   Loi
 2018-04-24 19:34:50.651000+00:00     jo              What lol
 2018-04~24 19:35:15.325000+00:00     lolsmileyface   Remember the 15m thing
 2018-04-24 19:37:51.385000+00:00     jo              Yes
 2018-04-24 19:38:03.375000+00:00     lolsmileyface   la€™11 call you later and tell you about that
 2018-04-24 19:38:04.993000+00:00     lolsmileyface   Loi
 2018-04-24 19:48:56.871000+00:00     jo              How much does he have lol
 2018-04-24 19:49:13.873000+00:00     lolsmileyface   $0
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     2018-04-24 19:49:20.325000+00:00      lolsmileyface   Probably like $10k maybe
     2018-04-24 19:49:21.074000+00:00      lolsmileyface   ldk
     2018-04-24 19:49:26.286000+00:00      lolsmileyface   Not more then phobia
     2018-04-24 19:49:28.702000+00:00      lolsmileyface   LOL
     2018-04-24 19:49:33.609000+00:00      jo              How
     2018-04-24 19:49:35.411000+00:00      lolsmileyface   ldkkk how much tbh
     2018-04-24   19:49:36.310000+00:00    jo              Lmao
     2018-04-24   19:49:42.406000+00:00    jo              Robert said he a millionaire?
     2018-04-24   19:49:51.093000+00:00    lolsmileyface   Meiggs hell no
     2018-04-24   19.:49:54.194000+00:00   lolsmileyface   Sent me pies lol
     2018-04-24   19:49:58 .858000+00:00   lolsmileyface   av-,
     2018-04-24 19:50:09.231000+00:00      jo              Lmfao
     2018-04-24 19:50:14.304000+00:00      jo              Less than 100k7
     2018-04-24 19:50:24.177000+00:00      lolsmileyface   I think less
     2018-04-24   19:50:25.498000+00:00    lolsmileyface    Yeah
     2018-04-24   19:50:32.067000+00:00    jo              ·Loi
     2018-04-24   19:50:44.279000+00:00    jo              Does Robert even fuck with him
     2018-04-24   19:52:57.094000+00:00    lolsmileyface   I think they talk
     2018-04-24   19:53:03.048000+00:00    lolsmileyface   But not like anything serious
     2018-04-24   20:55:42.196000+00:00    lolsmileyface   Anthony did it I think
     2018-04-25   02:55:41.857000+00:00    jo              do u have ur connects still lol
     2018-04-25   02:56:11.667000+00:00    lolsmileyface   Si
     2018-04-25   02:56:20.208000+00:00    jo              conor has a h/i\t he wannna do
     2018-04-25   02:56:24.772000+00:00    jo              &/tt
     2018-04-25   02:56:25.850000+00:00    lolsmileyface   What is it
     2018-04-25   02:56:28. 734000+00:00   jo              idk
     2018-04-25 02:56:35.075000+00:00      lolsmileyface   Okay we can
     2018-04-25 02:56:36.038000+00:00      jo              but i can add him in the group chat
     2018-04-26 00:1f3:28.788000+00:00     jo              you there
     2018-04-26 00:44:41.161000+00:00      lolsmileyface   la€™m here
     2018-04-26 00:44:49.201000+00:00      jo              can u msg doc
     2018-04-26 00:44:51.536000+00:00      jo              to get on xat
     2018-04-26 00:44:58.582000+00:00      jo              im trying to get the verizon tool logins
     2018-04-26 00:45:13.651000+00:00      lolsmileyface   You need to be on serv.er
     2018-04-26 00:45:16.634000+00:00      lolsmileyface   For them to work
     2018-04-26 00:45:21.073000+00:00      lolsmileyface . Did he get them?
     2018-04-26 00:45:23.500000+00:00      jo              doc gave me the links
     2018-04-26 00:45:25.221000+00:00      jo              to where login
     2018-04-26 00:45:35.655000+00:00      jo              just need this guy to send the login details
                                                           Yeah but I thought you needed to be on server thata€™s why it
     2018-04-26 00:45:48.612000+00:00      lolsmileyfa_ce
 \
                                                           wouldna€™t work
     2018-04-26 00:45:53. 797000+00:00     jo              na
     2018-04-26 00:45:55.359000+00:00      lolsmileyface   Let me see if hea€n•s on
     2018-04-26 00:46:07.326000+00:00      jo
     2018-04-26 00:46:46.917000+00:00      lolsmileyface   Whoa€™s that junior?
     2018-04-26 00:51:36.385000+00:00      jo              yea
     2018-04-26 00:51:46.885000+00:00      jo
     2018-04-26 00:53:23.637000+00:00      jo              he wants doc to get back on that skype
     2018-04-26 00:53:26.363000+00:00      jo              to give info
     2018-04-26 00:53:31.171000+00:00      jo              hes not giving to anyone bhut that skype
     2018-04-26 00:54:00.481000+00:00      lolsmileyface   He already fuckil') took $60k from him
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 2018-04-26 00:54:01. 776000+00:00    lolsmileyface   LOL
 2018-04-26 00:54:07.114000+00:00     jo              yeah
 2018-04-26 00:54: 17. 725000+00:00   lolsmileyface   docs not gettin on Skype
 2018-04-26 00:54:24.050000+00:00     jo              av-:
 2018-04-26 00:54:25.512000+00:00     lolsmileyface   @ junior
 2018-04-26 00:54:27.361000+00:00     jo              no verizon login    av-:
 2018-04-26 00:54:30.007000+00:00     lolsmileyface   Right
 2018-04-26 00:54:31.867000+00:00     jo              yea
 2018-04-26 00:54:35.170000+00:00     jo              well niot junior
 2018-04-26   00:54:35.699000+00:00   jo              its
 2018-04-26   00:54:37.537000+00:00   jo              his friend
 2018-04-26   00:54:39.576000+00:00   jo              junior's friend
 2018-04-26   00:54:51.544000+00:00   jo              juniors friend wont send it to him
 2018-04-26   00:54:53.457000+00:00   jo              only doc
 2018-04-26   00:54:59.414000+00:00   lolsmileyface   la€™11 ask junior
 2018-04-26   00:55:34.940000+00:00   jo              Toaad#7157
 2018-04-26   00:55:38.284000+00:00   jo              his discord
 2018-04-26   00:55:56.322000+00:00   lolsmileyface   Toaad#7157
 2018-04-26 00:56:24.250000+00:00     jo              yes
 2018-04-26 00:57:36.899000+00:00     lolsmileyface   I added him tell him accept
 2018-04-26 0l:04:16.664000+00:00     jo              we need that skype doc had
 2018-04-26 01:04:17.424000+00:00     jo              av-:
 2018-04-26 01:04:19.539000+00:00     jo              jsjs
 2018-04-26 01:04:27.007000+00:00     jo              onlyu way to ge tthat verizon
 2018-04-26 0l:04:28.319000+00:00     jo              login
 2018-04-26 01:04:53.026000+00:00     lolsmileyface   He already paid $60k why are they saying another $10k Loi
 2018-04-26 01:04:59.706000+00:00     jo              no no
 2018-04-26 01:05:00.333000+00:00     jo              like
 2018-04-26 0l:05:04.864000+00:00     jo              junior has to pay 10k
 2018-04-26 01:05:08.279000+00:00     jo              because he isnt getting it
 2018-04-26 01:05:11.524000+00:00     jo              doc doesnt
 2018-04-26 01:05:14.278000+00:00     jo              since he already paid it
 2018-04-26 01:05:16. 725000+00:00    lolsmileyface   Ahhh
 2018-04-26 01:05:19.392000+00:00     jo              he just needs to get back to thaty skype
 2018-04-26 01:05:25.249000+00:00     jo              the guy wont give it to anyone
 2018-04-26 01:05:26.649000+00:00     jo              besides doc
 2018-04-26 01:05:29.230000+00:00     jo              that skype
 2018-04-26 01:05:46.266000+00:00     lolsmileyface   Hea€™s not on. Wait for him to get on xat
 2018-04-26 01:05:50.064000+00:00     lolsmileyface   For or old
 2018-04-26 0l:05:53.966000+00:00     jo              yea
 2018-04-26 01:12:14.805000+00:00     jo              get doc
 2018-04-26 01:12:15.933000+00:00     jo              to tell
 2018-04-26 01:12:18.654000+00:00     jo              eth addy
 2018-04-26 01:12:26.923000+00:00     jo              that he sent the    S to that guy
 2018-04-26 01:13:03.747000+00:00     jo              or better if he can back that skype
 2018-04-26 01:13:04.479000+00:00     jo              lmao
 2018-04-26 01 :13:09.907000+00:00    jo              i can login idc
 2018-04-26 01:13 :11.218000+00:00    jo              tbh
 2018-04-26 01:13:28.114000+00:00     jo              jigga415 thats the verizon skype guy
 2018-04-26 01:14:05.803000+00:00     lolsmileyface   ldk who they are. Doc isna€™t on so idk what to do
 2018-04-26 01:14:15.912000+00:00     jo              yeah we'll wait for hinm
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                                                        skype - jigga415 # - 415-525-2494 - twitter -
 2018-04-26 01:16:20.292000+00:00      jo
                                                        https://twitter.com/MoB_Jigga
 2018-04-26 01:16:23.987000+00:00      jo               verizon plug
 2018-04-26 01:16:26.317000+00:00      jo               doc needa contact
 2018-04-26 01:16:55.434000+00:00      lolsmileyface    Thata€™s the actual plug
 2018-04-26 01:18:20.462000+00:00      jo                yeah
 2018-04-26 01:18:22.330000+00:00      jo                hes the guy
 2018-04-26 01:18:24.371000+00:00      jo              · who has the login
 2018-04-26 01:18:28.146000+00:00      jo               and prob works at verizon too
 2018-04-26 0l:18:28.624000+00:00      jo               idk
 2018-04s26 01:18:33 .805000+00:00     jo               but doc should contact him
 2018-04-26 01:18:39.892000+00:00      lolsmileyface    la€™11 try again
 2018-04-26 01:18:48.058000+00:00      lolsmileyface    ldk why he isna€™t on xat
 2018-04-26 01:18:52.693000+00:00      lolsmileyface    Maybe tonight hea€™11 get on
 2018-04-26 01:18:58.942000+00:00      jo               ye
 2018-04-26 01:22:34.221000+00:00      jo               basically plan is
 2018-04-26 01:22:36.586000+00:00      jo               we get doc on
 2018-04-26 01:22:38.222000+00:00      jo               a xat room
 2018-04-26 01:22:40.470000+00:00      jo               ill tex tthat guy
 2018-04-26 01:22:41.567000+00:00      jo               the link
 2018-04-26 01:22:43.657000+00:00      jo               to the xat
 2018-04-26 01:22:48.554000+00:00      jo               and from there aoc will chat

 2018-04-26 01:25:49.400000+00:00      lolsmileyface
                                                    If he dona€™t get on xat tonight la€'"'11 call him tomorrow lol
  2018-04-26 0l:26:18.451000+00:00 jo               who doc or that guv,?
  2018-04-26 01:26:25.370000+00:00 jo               jigga guy lol
  2018-04-26 01:26:31.784000+00:00 lolsmileyface    Doc
  2018-04-26 01:26:35.058000+00:00 jo               oh
  2018-04-26 01:26:44.990000+00:00 . jo             if we get the'Verizon tools man
  2018-04-26 01:26:46.258000+00:00 jo               we be set
  2018-04-26 01:26:47.199000+00:00 jo               hahahah
  2018-04-26 01:26:49.380000+00:00 jo               me u conor
  2018-04-26 01:26:51.181000+00:00 jo               and  prob maj
  2018-04-26 01:26:54. 723000+00:00 · lolsmileyface I know. Maj yeah
  2018-04-26 01:26:55.600000+00:00 jo               we'll be lowkey
  2018-04-26 01:27:01.699000+00:00 lolsmileyface Us 4 thata€™s it
  2018-04-26 01:27:03.690000+00:00 jo               yea
  2018-04-26 01 :27:05.247000+00:00 lolsmileyface We dona€™t tell people shit
  2018-04-26 01 :27:09.012000+00:00 jo              yeah
  2018-04-26 01:27:10.210000+00:00 lolsmileyface · Only us_4
  2018-04-26 01:27:16.211000+00:00 jo               would be nice
. 2018-04-26 01:27:21.576000+00:00 lolsniileyface   Low key like you said get richer and bye bye
  2018-04-26 01:27:26.098000+00:00 jo               yeah
  2018-04-26 01:27:26.650000+00:00 . jo             lol
 2018-04-26 01:27:32.934000+00:00      jo               i just want a mill
 2018-04-26 01:27:37.403000+00:00      jo               and im out tb=h
 2018-04-26 01:27:38.604000+00:00      jo               lol
 2018-04-26 01:27:58.811000+00:00      lolsmileyface    Or a little more so you have some cushion room
 2018-04-26 01:28:06.068000+00:00      jo               av-,joy:
 2018-04-26 01:28:08.651000+00:00      jo               av-,
 2018-04-26 01:28:25.049000+00:00      jo               thsi jigga guy
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 2018-04-26 01:28:27.954000+00:00    lolsmileyface   like 1.3 so I can buy Mclaren LOL
 2018-04-26 01:28:28.028000+00:00   jo               has all the plugs
 2018-04-26 01:28:29.616000+00:00   jo               apparently
 2018-04-26 01:28:32.052000+00:00   jo               he has tmo / att
 2018-04-26 01:28:38.050000+00:00   jo               we can prob negoitate with him or something
 2018-04-26 01:28:38.301000+00:00 · lolsmileyface    yeah idk how
 2018-04-26 01:28:45.542000+00:00 lolsmileyface      Ask him lol
 2018-04-26 01:28:54.484000+00:00 jo                 yeah ill txt him tomorrow or something
 2018-04-26 01:29:04.973000+00:00 jo                 i just dont want my identity revealed u know
 2018-04-iG 01:29:06.531000+00:00 jo                 lol
 2018-04-26 01:29: 13.963000+00:00 lolsmileyface     Yeah I will I got a text app
 2018-04-26 01:29:16.368000+00:00 lolsmileyface      I can do it from
 2018-04-26 01:29:20.057000+00:00 jo                 ye
 2018-04-26 01:29:29. 737000+00:00 jo                be like
 2018-04-26 01:29:31.401000+00:00    jo              $80 I sim
 2018-04-26 01:29:33.750000+00:00    jo              or something
 2018-04-26 01:29:45.099000+00:00    lolsmileyface   He seems like a fat pot head
 2018-04-26 01:29:46.501000+00:00    lolsmileyface   Lmao
 2018-04-26 01:29:49.186000+00:00    jo              ikr
 2018-04-26 01:29:49.968000+00:00    jo              LOL
 2018-04-26 01:29:52.775000+00:00    jo              but he got$
 2018-04-26 01:29:53 .914000+00:00   jo              u can tell                      · ~
 2018-04-26 01:29:56.133000+00:00    jo              he spent doc's money
 2018-04-26 01:29:57.154000+00:00    jo              on gucci
 2018-04-26 01:29:58.278000+00:00    jo              already
 2018-04-26 01:29:59.068000+00:00    jo              LOL
 2018-04-26 01:30:00.424000+00:00    lolsmileyface   Might want more like $300 or whatever
 2018-04-26 01:30:05.330000+00:00    lolsmileyface   Fuckin broke guy man
 2018-04-26 01:30:12.332000+00:00    jo              he got alot of$ .tho
 2018-04-26 01:30:12.868000+00:00    jo              lmfao
 2018-04-26 01:30:14.926000+00:00    jo              60k from doc
 2018-04-26 01:30:16.054000+00:00    jo              like cmon
 2018-04-26 01:31:13.676000+00:00    lolsmileyface   He spent probably over $10 k on clothes LOL
 2018-04-26 01:31:19.514000+00:00    jo              looool
 2018-04-26 01:38:26.261000+00:00    lolsmileyface   Whata€™s wanchain
 2018-04-26 01:38:31.757000+00:00    lolsmileyface   Any ideab
 2018-04-26 01:38:35 .126000+00:00   jo              oh
 2018-04-26 01:38:35.728000+00:00    jo              yeah
 2018-04-26 01:38:39.155000+00:00    jo              some db
 2018-04-26 01:38:42.348000+00:00    jo              but conor has it already
 2018-04-26 01:38:44. 716000+00:00   jo              its an ico
 2018-04-26 01:38:48.937000+00:00    jo              wiuth list of people
 2018-04-26 01:38:52.934000+00:00    jo              conor said most done already
 2018-04-26 01:38:54.346000+00:00    jo              or something
 2018-04-26 01:39:03.439000+00:00    lolsmileyface   Ahhh okay
 2018-04-26 01:39:04.245000+00:00    jo              that tooad guy is trying to sell it
 2018-04-26 01:39:05.145000+00:00    jo              lmao
 2018-04-26 01:39:11.175000+00:00    lolsmileyface   lk they just asked me
 2018-04-26 01:39:22. 770000+00:00   jo              he prob will give it to u for free to
 2018-04-26 01:39:23.713000+00:00    jo              too
 2018-04-26 01:39:27.961000+00:00    jo              since he gave it to me
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 2018-04-26 01:39:28.594000+00:00      jo              lmao
 2018-04-26 01:42:44.167000+00:00      lolsmileyface   Loi ohwell if doc dona€'"t get in lmk
 2018-04-26 01:42:51.797000+00:00      lolsmileyface   la{™II message him tomorrow again if he dona{™t get in
 2018-04-26 19:21:01.928000+00:00      jo              Lmao any news
 2018-04-26 19:21:06.505000+00:00      jo              With ur connector anything
 2018-04-26 19:45:08.846000+00:00      lolsmileyface   No I havena{™t heard yet. Talked to him Last night
 2018-04-27 15:30:41.897000+00:00      jo              Nothing yet? Loi
 2018-04-27 15:30:51.196000+00:00      jo              Legit we got a nice att
 2018-04-27 15:31:02.670000+00:00      lolsmileyface   Not one message since yesterday
 2018-04-27 15:31:05.921000+00:00      lolsmileyface   He wona{™t reply
 2018-04-27 15:31:08.524000+00:00      lolsmileyface   ldk whata{™s VP
 2018-04-28 04:26:49.833000+00:00      lolsmileyface   HeaC™s pissing me off
 2018-04-28 13:50:37.159000+00:00      jo              why lol
 2018-04-28 15:47:29.871000+00:00      lolsmileyface   No reply 3days
 2018-04-30 12:47:11.449000+00:00      jo              sub up so much
 2018-04-30 12:47:15.059000+00:00      jo              Seymour has my money lol
 2018-04-30 12:47:20.950000+00:00      jo              idfk what his shit is   ov-:
 2018-04-30 13:00:59.743000+00:00      lolsmileyface   $.85!
 2018-04-30 13:11:27.671000+00:00      jo              IKR fol
 2018-04-30 13:11:33.838000+00:00      jo              Bro where is Seymour
 2018-04-30 13:11:39.853000+00:00      jo              Can u ask andrew
 2018-04-30 13:11:43.441000+00:00      jo              HeaC™s friends with him
 2018-04-30 13:11:48.830000+00:00      jo              He owes me and doc mo
 '                      -
 2018-04-30 13:11:51.927000+00:00      jo              And probably u too
 2018-04-30 13:11:53.710000+00:00      jo              Lmaooo
 2018-04-30 13:11:56.569000+00:00      jo              Holding the sub
                                                       I was supposed to get $75k from it fol. I went ahead and message
 2018-04-30 13:16:47.322000+00:00      lolsmileyface
                                                       doc To see where hea{"'s at
 2018-04-30   13:17:13.219000+00:00    jo              Andrew mostly
 2018-04-30   13:17:16.309000+00:00    jo              Doc doesna{™t know lol
 2018-04-30   13:27:01.468000+00:00    lolsmileyface   la{™II get ahold of him
 2018-04-30   13:46:26.022000+00:00    lolsmileyface   How much sub does he owe you
 2018-04-30   14:13:48.736.000+QO:OO   lolsmileyface   0Y1'.1''0Yn"
 2018-04-30   14:51:00. 790000+00:00   jo              151305.418719 Sub
 2018-04-30   14:51:06.177000+00:00    jo              I got 95k from Doc
 2018-04-30   14:51:25.418000+00:00    jo              @2.03 rate
                                                       https ://ethp lorer.io/add ress/OxS SOff4 la 8f35e9d bc3c69 S16a 7 e 1b2
 2018-04-30 14:51:36.382000+00:00      jo
                                                       c4ab06f24d#transfers=2
                                                       151305.418719Subto
 2018-04-30 14:52:16.620000+00:00      jo
                                                       Oxd8f2387cdble8713d0838d173f4846ccae0c6ffl
 2018-04-30 '14:55:55.397000+00:00     lolsmileyface   $343k is whoV
 2018-04-30 14:55:58.832000+00:00      lolsmileyface   Seymour
 2018-04-30 14:56:14.652000+00:00      jo              thats docs
                                                       seymour is this:
 2018-04-30 14:56:33.391000+00:00      jo              https ://eth pl o rer.io/address/Ox 735 be 3edac 1554144e 704cd 33015
                                                       b52364dlffeb
 2018-04-30 14:57 :13.530000+00:00     lolsmileyface   Loi he needs to come up off that
 2018-04-30 14:57:27.792000+00:00      jo              ikr
 2018-04-30 14:57 :29.800000+00:00     jo              idk his contact
 2018-04-30 14:57:31.125000+00:00      lolsmileyface   He owes you what $100k
 2018-04-30 14:57:34.918000+00:00      jo              just want my sub and im done lol
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 2018-04-30   14:57:45.182000+00:00    jo              128609.6059
 2018-04-30   14:57:45.611000+00:00    jo              $
 2018-04-30   14:57:47.226000+00:00    jo              atm
 2018-04-30   14:57:48.885000+00:00    lolsmileyface   Well hea{™s scared rn cause everything going on
 2018-04-30   14:57:53.837000+00:00    jo              as of .85
 2018-04-30 14:57:54.065000+00:00      lolsmileyface   la€™11 tell drew
 2018-04-30 14:57:54.510000+00:00      jo              yeah
 2018-04-30   14:57:56.484000+00:00    jo              i dont want him
 2018-04-30   14:57:57.148000+00:00    lolsmileyface   He woes people@money
 2018-04-30   14:57:58.698000+00:00    jo              toi get fucked
 2018-04-30   14:57:58.879000+00:00    lolsmileyface   Money ·
 2018-04-30   14:58:02.372000+00:00    jo              and lose my mopney
 2018-04-30   14:58:02.934000+00:00    jo              Joi
                                                       I was supposed to get $75k lol la{™m not gonna ask for $75k but I
 2018-04-30 15:00:58.093000+00:00      lolsmileyface
                                                       mean like $25k of the $75k would be nice av-,
 2018-04-30   15:01:09.486000+00:00    jo              at 2.03 rate
 2018-04-30   15:01:22.237000+00:00    jo              36945 SUB
 2018-04-30   15:01:34.753000+00:00    jo              * .85 = $31,403 .25
 2018-04-30   15:01:40.867000+00:00    jo              u supposed to have rn
 2018-04-30   15:02:43.177000+00:00    lolsmileyface   Yeah Seymour has almost $800k still lol
 2018-04-30   15:02:53.004000+00:00    jo              lol
 2018-04-30   15:03:05.152000+00:00    jo              i hope he isnt a pussy
 2018-04-30   15:03:06.599000+00:00    jo              or anything
 2018-04-30   15:03:09.520000+00:00    jo              or lost the private keys
 2018-04-30   15:03:16.072000+00:00    lolsmileyface   He didna{™t LOL
 2018-04-30   15:03:19.540000 00:00    jo              good lol
 2018-04-30   15:03:25.955000+00:00    jo              last thing i dont wann a hear
 2018-04-30   15:03:27.973000+00:00    jo              is him losing it
 2018-04-30   15:03i30.964000+00:00    jo              thats just a piss off
                                                       la€™m going to tell drew we can do it the easy way or hard
 2018-04-30 15:03:32.822000+00:00      lolsmileyface
                                                       wayav-,
 2018-04-30 15:03:41.669000+00:00      jo              lolol
 2018-04-30 15:03:47.056000+00:00      lolsmileyface   How much does he owe you
 2018-04-30 15:03:53.012000+00:00      lolsmileyface   $$ wise
                                                       151305.418719 Sub to
 2018-04-30 15:03:56.229000+00:00      jo
                                                       0xd8f2387cdble8713d0838d173f4846ccae0c6ffl
 2018-04-30   15:04:02.965000+00:00    lolsmileyface   Like $100k
 2018-04-30   15:04:09. 701000+00:00   jo              $128k
 2018-04-30   15:04:09.924000+00:00    lolsmileyface   Usd value
 2018-04-30   15:04:19.948000+00:00    lolsmileyface   Okay la{™m going to tell him $150k
 2018-04-30   15:04:24.651000+00:00    lolsmileyface   Loi
 2018-04-30   15:04:27.367000+00:00    jo              150k why hahahaha
 2018-04-30   15:04:36.193000+00:00    jo              me and u combined is
 2018-04-30 15:04:52.446000+00:00      jo              160k rn
 2018-04-30   15:05:07.710000+00:00    jo              31k for u 128k for me
 2018-04-30   15:05:28.899000+00:00.   jo              imma legit exchange my sub @ 1$
 2018-04-30   15:05:29.815000+00:00    jo              lol
 2018-04-30   15:05:31.475000+00:00    jo              fuck this coin
 2018-04-30 15:05:38.320000+00:00      jo              put it all in dgb
 2018-04-30 16:08:35.842000+00:00      lolsmileyface   Call me
 2018-04-30 19:01:31.810000+00:00      jo              yes?
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 2018-04-30   21:38:29.368000+00:00     lolsmileyface   Yooooo
 2018-04-30   21:38:33.511000+00:00     lolsmileyface   You there
 2018-04-30   21:38:37.816000+00:00     jo              yea
 2018-04-30   21:38:43.956000+00:00     lolsmileyface   Send me your sub addy
                                                        151305.418719 Sub to
 2018-04-30 21:38:52.095000+00:00       jo
                                                        0xd8f2387cdble8713d0838d173f4846ccae0c6ffl
 2018-04-30   21:39:09.239000+00:00     lolsmileyface   0xd8f2387cdble8713d0838d173f4846ccae0c6ffl
 2018-04-30   21:39: 10.648000+00:00    lolsmileyface   Right
 2018-04-30   21:39:13.904000+00:00     jo              ye
 2018-04-30   21:40:30.090000+00:00     lolsmileyface   I think he sending some
 2018-04-30   21:40:30.865000+00:00     lolsmileyface   Loi
 2018-04-30 21:40:38.776000+00:00 jo                    who
 2018-04-30 21:40:41.077000+00:00 · jo                  seymour?
 2018-04-30 21:40:42.901000+00:00 lolsmileyface         Ye
 2018-04-30   21:40:48.952000+00:00     jo              tell him just send my amount
 2018-04-30   21:40:50.594000+00:00     jo              he has all of it
 2018-04-30   21:40:50.995000+00:00     jo              lol
 2018-04-30   21:41:36.667000+00:00     lolsmileyface   Doc
 2018-04-30   21:41:42.570000+00:00     lolsmileyface   They are fighting rn
 2018-04-30   21:41:43.586000+00:00     lolsmileyface   Loi
 2018-04-30   21:41:45. 732000+00:00    jo              why
 2018-04-30   21:41:46.238000+00:00     jo              lol
 2018-04-30   21:41:46.979000+00:00     lolsmileyfane   Doc and Seymour
 2018-04-30   21:41:54.685000+00:00 ·   lolsmileyface   Cause doc giving out money av~,
 2018-04-30   21:41:59.915000+00:00     jo              wym
 2018-04-30   21:42:01.421000+00:00     jo              to me?
 2018-04-30   21:42:03.993000+00:00     jo              fighting over me
 2018-04-30   21:42:04.435000+00:00     lolsmileyface   No
 2018-04-30   21.,42:04. 35000+00:00    jo              ?
 2018-04-30   21:42:05.844000+00:00     jo              oh
 2018-04-30   21:42:08.145000+00:00     lolsmileyface   Just in gerneral
 2018-04-30   21:42:12.893000+00:00     jo              i mean why
 2018-04-30   21:42:15.3070Q0+00:00     jo              its doc's money
 2018-04-30   21:42:19.284000+00:00     jo              seymour shouldnt care
 2018-04-30   21:43:02.497000+00:00     lolsmileyface   Well i guess Seymour never got paid for the other thing
 2018-04-30   21:43:35.312000+00:00     jo              i hope that doesnt prevent him from sending my money
 2018-04-30   21:43:35.757000+00:00     jo              lol
 2018-04-30   21:43:35.861000+00:00     lolsmileyface   So idk whata€™s going on
 2018-04-30   21:43:41.094000+00:00     jo              cuz i was the one to hold the sub ·
 2018-04-30   21:43:44.412000+00:00     jo              all Sm
 2018-04-30   21:43:47.184000+00:00     lolsmileyface   Thata€™s why docs sending
 2018-04-30   21:43:50.287000+00:00     jo              i didnt fuck him over decisions
 2018-04-30   21:43:51.266000+00:00     jo              yeah

 2018-04-30 21:44:05. 700000+00:00      lolsmileyface
                                                        But hen doc sent you all his cut so Seymour will be owing you
 2018-04-30 21:44:11.794000+00:00       lolsmileyface   Did you get any more
 2018-04-30 21:44:17.953000+00:00       jo              checking ls
 2018-04-30 21:45:08.509000+00:00       jo              nothing yet
 2018-04-30 21:45:08.924000+00:00       jo              lol
 2018-04-30 21:51:28.166000+00:00       lolsmileyface   Lmk if you get any
 2018-04-30 21:51:43.543000+00:00       jo              who sending
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 2018-04-30 21:51:45.542000+00:00      jo              seymour or doc?
 2018-04-30 21:51 :46.817000+00:00     jo              lol
 2018-04-30 21:51:57.723000+00:00      lolsmileyface   Doc
 2018-04-30 21:52:02.471000+00:00      jo              wtf
 2018-04-30 21:52:03.427000+00:00      lolsmileyface   Cause Seymour being a dick
 2018-04-30   21:52:05.459000+00:00    jo              why is doc sending
 2018-04-30   21:52 :07.076000+00:00   lolsmileyface   Call me
 2018-04-30   21:52:07.790000+00:00    jo              fuck seymour man
 2018-04-30   21:52:08.131000+00:00    lolsmileyface   Loi
 2018-04-30   21:s2:11.••••o           jo              seymour is being a BITCH
 2018-04-30   21:52 :12.540000+00:00   jo              legit
 2018-04-30   21:52:23.495000+00:00    lolsmileyface   Skype call me quick
 2018-04-30   21:52:30.196000+00:00    lolsmileyface   I gotta tell you something else lol
 2018-04-30   21:52:37.263000+00:00    jo
 2018-05-01 01:13:48.978000+00:00      lolsmileyface   You here
 2018-05-01 0l:20:49.577000+00:00      jo              ye
 2018-05-01 01:21:04.873000+00:00      lolsmileyface   Search we leak for me
 2018°05-01 01:21:09.356000+00:00      jo              ok
 2018-05-0101:21:25 .115000+00:00      lolsmileyface   The_good_professer
 2018-05-01 01:21:31.672000+00:00      lolsmileyface   Should be a MySpacea€™s pw
                                                       Username: the_good_professor
                                                       Email: contiveros@idlOterrorstudio.com
 2018-05-01 01:22:18.418000+00:00      jo
                                                       Hash:2F77A250B04E7C390270402FB42033102B28B071
                                                       Decrypted Hash: qwerty12
 2018-05-01 01:24:37.922000+00:00      lolsmileyface   Search contiveros@gmail
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                                                     Email: contiveros@gmail.com
                                                     First: caries
                                                     Last: ontiveros
                                                     Address: 12200 overbrook In #33d
                                                     Phone: 281-630-0330
                                                     Sc Daily Phone SpamlistCopy to Clipboard
                                                     Email: contiveros@gma il.com
                                                     First: caries
                                                     Last: ontiveros
                                                     Address: 12200 overbrook In #33d
                                                     Phone: 2816300330
                                                     Email Name Database(Unknown)Copy to Clipboard
                                                     Email: contiveros@gmail.com
 2018-05-01 01:24:57.638000+00:00    jo              First: CARLOS
                                                     Last: ONTIVEROS
                                                     Adobe.comCopy to ClipboardCrack Hash
                                                     Email: contiveros@gmail.com
                                                     Hash: vQBTJVapb/lioxG6CatHBw==
                                                     Password: porter##
                                                     Kylesdata(dailyfeed) 2015Copy to Clipboard
                                                     Email : contiveros@gmail.com
                                                     Registered IP: 107.77.94.113
                                                     First: Alonzo
                                                     Last: Faison
                                                     Address: ,Atlanta,GA,
                                                     Sc Daily Phone SpamlistCopy to Clipboard
                                                     Email : contiveros@gmail.com
·2018-05-01 01:28:48.400000+00:00    lolsmileyface   contiveros@idlOterrorstudio.com
 2018-05-01 01:28:50.663000+00:00    lolsmileyface   Try that
                                                     MySpace.com June-2013Copy to Clipboard
                                                     Username: the_good_professor
                                                     Email : contiveros@idlOterrorstudio.com
                                                     Hash:2F77A250B04E7C390270402FB42033102B28B071
 2018-05-01 01:29:01.399000+00:00    jo
                                                     Decrypted Hash: qwerty12
                                                     Exploit.in CompilationCopy to Clipboard
                                                     Email : contiveros@idlOterrorstudio.com
                                                     Password: qwerty12
 2018-05-01 01:31:19. 790000+00:00   lolsmileyface   Conti@email .arizona.edu
 2018-05-01 01:43 :20.191000+00:00   lolsmileyface   Att ready
 2018-05-01 01:47:02.722000+00:00    lolsmileyface   Yooooo
 2018-05-01 01:49:59.936000+00:00    jo              where maj at
 2018-05-01 01:50:00.545000+00:00    jo              lol
 2018-05-01 01:50:11.675000+00:00    lolsmileyface   No idea Imo
 2018-05-0101:50:17.218000+00:00     lolsmileyface   Where he go
 2018-05-0115:34:19.756000+00:00     lolsmileyface   Hey
 2018-05-0115:34:24.769000+00:00     jo              Yo
 2018-05-0l 15:34:39.184000+00:00    lolsmileyface   We have an idea for gmail
2018-05-0115 :35 :03.534000+00:00    jo              Reset via Lte? Loi
2018-05-0115:35:12.785000+00:00      lolsmileyface   Have the att guy do it in store
2018-05-0115:35 :21.036000+00:00     jo              Na
2018-05-0115:35:22. 763000+00:00     jo              Fuck that
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 2018-05 -0115:35:24.338000+00:00       jo              Loi
 2018-05-0115:35:26.113000+00:00        lolsmileyface   Why
 2018-05-0115:35:31.304000+00:00        jo              Therea€™s no differenxe
 2018-05-0115:35:31.474000+00:00        lolsmileyface   They are all brand new phones
 2018-05-0115:35:39.507000+00:00        jo              Lmao

 2018-05-0115:35:4 7.933000+00:00       lolsmileyface
                                                        They are brand new no search history no email history nothing
 2018-05-0l 15:35:54.625000+00:00       jo ·            ldk
 2018-05-0l 15:35:56.967000+00:00       jo              Fuck that tho
 2018-05-0115:37:52.732000+00:00        lolsmileyface   Might work
 2018-05-0115:37:59.985000+00:00        lolsmileyface   Brand new fresh browsers and shit
 2018 -05-0115 :38:05.892000+00:00      jo              Maybe idk
 2018-05-0115:52 :16.565000+00:00       jo              Dude shit going down
 2018-05-0115:52:18.284000+00:00        jo              Sub too
 2018-05-0l 15:52:19.137000+00:00       jo              Loi
 2018-05-0115:52:21.736000+00:00        jo              Fml
 2018-05-0l 15:52:27.112000+00:00       jo              Fuck@seymour
 2018-05-0l 15:52:29.428000+00:00       jo              Ffs
 2018-05-0117:50:35.051000+00:00        lolsmileyface   Do we have anymore ayy
 2018-05-0117:50:36. 761000+00:00       lolsmileyface   Att
 2018-05-0117:52:19.823000+00:00        jo              Ndt rn
 2018-05-0117:55:43.173000+00:00        lolsmileyface   What about the contacts from last night
 2018-05-0117:59:50.063000+00:00        jo              Na fuck those
 2018-05-0117:59:55.156000+00:00        jo              Theya€™re Gay
 2018-05-0118 :01:30.726000+00:00       lolsmileyface   Really
 2018-05-01 22:06:37.368000-i>00:00     lolsmileyface   Yooo
 2018-05-01 23:18:23 .564000+00:00      jo              Yo
 2018-05-01 23:24:18.947000+00:00       lolsmileyface   We ever hit Nam Le?
 2018-05-01 23:26:45.813000+00:00       jo              ldk him lol
 2018-05-0123:29:04.757000+00:00        lolsmileyface   Good hit we need 14
                                                        714-915-0872
                                                        1439 charleston st
 2018-05-01 23:29:30.647000+00:00       lolsmileyface
                                                        Tustin, CA 92782
                                                        https://twitter.com/Nam_Le
 2018-05-01   23 :29:39. 785000+00:00   lolsmileyface If you .m can search it
 2018-05-01   23:29:47.129000+00:00     jo              That guys names way too common
 2018-05-01   23:29:48.246000+00:00     jo              Loi
 2018-05-01   23 :29:52.924000+00:00    jo              la€™11 search him in ssndob
 2018-05-01   23:29:55.217000+00:00     jo              Whata€™s his age
 2018-05-01   23:30:08.414000+00:00     lolsmileyface   Uhh idk
 2018-0S-01   23:30:22.232000+00:00     lolsmileyface . Loi
 2018-05-01   23 :30:26.561000+00:00    jo              la€™11 look him up when la€™m home
 2018-05-01   23:30:27.520000+00:00     jo              Loi
 2018-05-01 23:32:01.540000+00:00       lolsmileyface   He played poker lol
 2018-05-01 23 :44:30.025000+00:00      jo              Yo tell doc to tell Seymour to give me my sub he has 7 days

 2018-05-01 23:44:41.032000+00:00       jo
                                                        Or la€1"'m going to swat his ass and ruin his life every single day
2018-05-02 02:29:17.601000+00:00        jo              u there?
 2018-05-02 02:29:22.218000+00:00       lolsmileyface   Hey
 2018-05-02 02:29:28.718000+00:00       jo              u still need ssn>
2018-05-02 02:29:31.586000+00:00        lolsmileyface   Yes
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 2018-05-02 02:29:32.884000+00:00      lolsmileyface   Loi
 2018-05-02 02:39:02.254000+00:00      jo              not on there
 2018-05-02 02:39:05.700000+00:00      jo              unless his dob is 1955
 2018-05-02 02:40:53.605000+00:00      lolsmileyface   Nah hea('"'s young.
 2018-05-02   02:40:55.960000+00:00    lolsmileyface   20s
 2018-05-02   02:41:02.195000+00:00    jo              not there
 2018-05-02   02:41:02. 753000+00:00   jo              lol
 2018-05-02   12:20:58.561000+00:00    lolsmileyface   He said he has a good ass hit
 2018-05-02   12:20:59.952000+00:00    jo              gemini ceo
 2018-05-02   12:21:01.699000+00:00    lolsmileyface   On T-Mobile lol
 2018-05-02 12:21:03.191000+00:00      jo              the brothers
 2018-05-02 12:21:05.800000+00:00      jo              one of them
 2018-05-02 12:21:07.719000+00:00      jo              he wantsd to do
 2018-05-02   12:21:0s.•••aio          lolsmileyface   Is he 2fa
 2018-05-02   12:21:09.838000+00:00    jo              its pointless
 2018-05-02   12:21:10.440000+00:00    jo              yes
 2018-05-02   12:21:14.457000+00:00    jo              he has 2fa everywhere
 2018-05-02   12:21:14.480000+00:00    lolsmileyface   Wtflol
 2018-05-02 12:21:16.629000+00:00      jo              hes not an idiot
 2018-05-02 12:21:17.499000+00:00      lolsmileyface   Hea(™s dumb lol
 2018-05-02   12:21:24.109000+00:00    jo              even huis skype
 2018-05-02   12:21:25.932000+00:00    jo              no back up#
 2018-05-02   12:21:36.389000+00:00    jo              yahoo bacdkup of his gmail
 2018-05-02   12:21:38.945000+00:00    jo              hes fucking smart
 2018-05-02   12:21:39.728000+00:00    jo              lol
 2018-05-02   12:21:53.916000+00:00    lolsmileyface   What if we take yahoo
 2018-05-02   12:21:57.472.000+00:00   jo              we cant
 2018-05-02   12:21:57.991000+00:00    jo              lol
 2018-05-02   12:22:01.657000+00:00    jo              no phone# linked
 2018-05-02   12:22:08.434000+00:00    jo              he doenst have any number of his
 2018-05-02   12:22:10.095000+00:00    jo              linked at all
 2018-05-02   12:22:20.847000+00:00    lolsmileyface   Jfc
                                                       12138045376 / T-Mobile USA, Inc.-> MICAH DUSTIN
 2018-05-02 12:22:37.330000+00:00      jo              WINKELSPECHT // Sep. 19, 1981 //Founder of GEM//
                                                       skype :winkelspecht // micahwinkelspecht@gmail.com
                                                       (2fa) // micahwinkelspecht@yahoo.com //
 2018-05-02 12:22:48.409000+00:00      jo
                                                       winkelspecht@gmail.com (pointless target)
 2018-05-02   12:23:40.285000+00:00    jo              i tyake my words back
 2018-05-02   12:23:42.815000+00:00    lolsmileyface   He said he had a good one lol
 2018-05-02   12:23:44.274000+00:00    jo              we can get the skype yes
 2018-05-02   12:23:48.487000+00:00    jo              for that guy
 2018-05-02   12:23:51.441000+00:00    jo              thats al lwe can get
 2018-05-02   12:23:51.800000+00:00    jo              lol
 2018-05-02 12:23:53.179000+00:00      jo              that skype
 2018-05-02 12:24:02.561000+00:00      lolsmileyface   Is it his personal or
 2018-05-02 12:24:06.193000+00:00      lolsmileyface   The gem Skype
 2018-05-02 12:24:06.622000+00:00      jo              and maybe telegram
 2018-05-02 12:24:07.667000+00:00      jo              yes
 2018-05-02 12:24:11.309000+00:00      jo              it might be good
 2018-05-02 12:24:12.701000+00:00      jo              to se people
 2018-05-02 12:24:16.589000+00:00      jo              or get more targets
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     2018-05-02   12:24:20.047000+00:00     jo              remember ... hes the CEO
     2018-05-02   12:24:21.454000+00:00     jo              of gemini
     2018-05-02   12:24:25.899000+00:00     lolsmileyface   I guess wea€™11 never know unless we try it right LOL
     2018-05-02   12:24:26.904000+00:00     jo              and a billionaire
     2018-05-02   12:24:29.378000+00:00     jo              from bbitcoin
     2018-05-02   12:24:30.093000+00:00     jo              yes
     2018-05-02   12:24:33.117000+00:00     jo              lets do this guy
     2018-05-02   12:24:34.082000+00:00     jo              later
     2018-05-02   12:24:37.374000+00:00     jo              we juist hacking his skype
     2018-05-02   12:24:38.454000+00:00     lolsmileyface   Hea€™s T-Mobile
     2018-05-02   12:24:40.718000+00:00     jo              yes
     2018-05-02   12:24:45.441000+00:00     jo              maybe high security though
     2018-05-02   12:24:46.223000+00:00     jo              i bet
     2018-05-02   12:24:48.797000+00:00     lolsmileyface   Ok let me ask my guy
     2018-05-02 12:24:52.692000+00:00 jo                    go have ur guy. check II
     2018-05-02 14:58:11.506000+00:00 jo                    Jojo#5887
     2018-05-02 14:58:13.864000+00:00 jo                    add him
     2018-05-02 14:58:25.429000+00:00 jo                    lol
     2018-05-02 15:25:36.114000+00:00 lolsmileyface         Jojo#5887
     2018-05-02 15:25:55.283000+00:00 lolsmileyface         <@159387560962031616>jo#S888
     2018-05-02 15:52 :01.570000+00:00 lolsmileyface        I added him
     2018-05-03 03:02:07.496000+00:00 , lolsmileyface       0xff48b8bbc0dd64b7bed27af2e5a63d92466cfdde
     2018-05-03 03:38:06.016000+00:00 lolsmileyface         Finally man
     2018-05-03 03:38:11.149000+00:00 lolsmileyface         Back to where I use to be lol
     2018-05-03 03:38:23.388000+00:00 lolsmileyface         No more@spending drastically like I did lol
     2018-05-03 03:38:29.304000+00:00 • jo                  lets go to hawiaii
     2018-05-03 03:38:30.385000+00:00 jo                    with doc
     2018-05-03 03:38:32.186000+00:00 jo                    hahahaha
     2018-05-03 03:38:41.456000+00:00 lolsmileyface         I will. I have my my. Job though.

     2018-05-03 03:39:06.180000+00:00       lolsmileyface
                                                              la€™11 start exchanging manually tomorrow if Corey dona€™t reply
     2018-05-03 03:39:24.587000+00:00       jo               yeah
     2018-05-03 03:39:40.479000+00:00       lolsmileyface     How much of a cut is fair to exchange? like $10k?
     2018-05-03 03:39:46.842000+00:00       jo                depeends
     2018-05-03 03:39:48.941000+00:00       jo              · what his rate is
     2018-05-03 03 :52 :38.703000+00:00     lolsmileyface     Okay sounds good man. la€™m going to go to bed PCE BRO!

     2018-05-03 03:52:50.152000+00:00       lolsmileyface
                                                            If he cana€™t help tomorrow la€™11 just start doing it manually
     2018-05-03   03:52:51.842000+00:00     lolsmileyface   Haha
     2018-05-03   04: 15:53.94 7000+00:00   jo              hmu lol
     2018-05-03   04:15:55.480000+00:00     jo              ill help
     2018-05-03   11:45:10.287000+00:00     lolsmileyface   Good morning brother

     2018-05-03 12:33:10.543000+00:00       lolsmileyface
                                                            Corey dona€™t use snap no more lol idk how to contact him
     2018-05-03 13:46:43 .867000+00:00      jo              Loi idk
     2018-05-03 13:46:48.854000+00:00       jo              la€™m waiting for his sky or reply
     2018-05-03 13:46:51.397000+00:00       jo              Skype
                                                            If he doesna€™t reply then I guess I get off at four and la€™11 start


I
     2018-05-03 13:57:48.247000+00:00       lolsmileyface
                                                            shape shift
     2018-05-03 13:57:52.083000+00:00       lolsmileyface   lmao
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                                                        Send me the ether addy where my cut is. I wanna see t go up and
 2018-05-03 14:00:12.683000+00:00       lolsmileyface
                                                        down lol
 2018-05-03    14:09:14.366000+00:00    jo              Not home rn lol
 2018-05-03    14:09_:18.051000+00:00   jo              lta€™s on my ledger
 2018-05-03    14:10:15.545000+00:00    jo              lmma send u all the funds tbh
 2018-05-03    14:10:16.669000+00:00    jo              Loi
 2018-05-03    14:10:25.493000+00:00    jo              Just make a mew wallet
 2018-05-03    14:24:51.386000+00:00    lolsmileyface   I will. I just scared ita€™11 get locked
 2018-05-03    14:26:16.133000+00:00    jo              IT WONT GET LOCKED
 2018-05-03    14:26:17.969000+00:00    jo              STOP LOL
 2018-05-03    14:26:20.336000+00:00    jo              FFS
 2018-05-03    14:26:22.918000+00:00    jo              av~, av~, av~, av~,
 2018-05-03    14:37:09.364000+00:00    lolsmileyface   Okay okay lol
 2018-05-03    15:22:00.656000+00:00    jo              x wanna do hits with us lol
 2018-05-03    15:22:02.669000+00:00    jo              with ur plug
 2018-05-03    15:22:04.964000+00:00    jo              he got a verizon
 2018-05-03    15:22:08.759000+00:00    jo              xzavyer
 2018-05-03    15:22:25.317000+00:00    lolsmileyface   Fuck him he never answers me
 2018-05-03    15:22:28. 769000+00:00   lolsmileyface   Tell him I said that oto
 2018-05-03    15:22:30.190000+00:00    lolsmileyface   Too
 2018-05-03    15:22:36.827000+00:00.   jo              ill let him know lol
 2018-05-03    15:22:46.554000+00:00    jo              he doesnt have any connects for usre
 2018-05-03    15:22:50.017000+00:00    jo              so hes willing to split
 2018-05-03    15:23:06.995000+00:00    lolsmileyface   Last hit I did my cut happen to get locked in a exchange lol
 2018-05-03    15:23:12.871000+00:00    lolsm,leyface   His exchange
 2018-05-03    15:23:35.463000+00:00    lolsmileyface   Where you talking to him at
 2018-05-03    15:23:40.569000+00:00    jo              texting him
 2018-05-03    15:23:41.886000+00:00    jo              lol
 2018-05-03    15:23:44.855000+00:00    jo              he just added me
 2018-05-03    15:23:47.761000+00:00    lolsmileyface   Loi wtH
 2018-05-03    15:23:49.220000+00:00    jo              on discord
 2018-05-03    15:23:54.851000+00:00    lolsmileyface   Make chat
 2018-05-03    15:23:56.007000+00:00    jo              u want me to add u in a group chat with him?
 2018-05-03    15:23:56.886000+00:00    jo              iigt
 2018-05-03    15:26:19.297000+00:00    lolsmileyface   Lolol
 2018-05-03    15:26:57.767000+00:00    jo              lol
                                                        He tells me to follow him and I follow him and he dona€™t even
 2018-05-03 15:29:38.331000+00:00       lolsmileyface
                                                        follow back lmao
  2018-05-03   15:29:42.347000+00:00    lolsmileyface   Like this guy
  2018-05-03   15:29:48.393000+00:00    jo              i do exchanges for ihm
  2018-05-03   15:29:51.918000+00:00    jo              we cool and stuff
  2018-05-03   15:30:00.727000+00:00    lolsmileyface   We use to be cool lol
· 2018-05-03   15:30:06.943000+00:00    lolsmileyface   Then he just stopped hitting me up
  2018-05-03   15:30:34.434000+00:00    jo              surprised he has no binances
  2018-05-03   15:30:34.978000+00:00    jo              lol
  2018-05-03   15:34:45.224000+00:00    lolsmileyface   Coner said shapeshifter to xmr then xmr to btc
  2018-05-03   16:02:27.570000+00:00    lolsmileyface   Does that sound right
  2018-05-03   16:18:00.413000+00:00    jo              Yes
                                                        Soi guess we can just start exchanging for xmr then send to your
 2018-05-03 16:51:21.008000+00:00       lolsmileyface
                                                        xmr then btc?
 2018-05-03 16:54:02.578000+00:00       jo              I guess yeah
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 2018-05-03 17:12:50.272000+00:00      lolsmileyface   Okay cool when I get off at 4 la€™11 start lol
 2018-05-03 18:02:04. 714000+00:00     jo              yo imma start cleaning eth to xmr
 2018-05-03 18:02:05.527000+00:00      jo              kk?
 2018-05-03 18:03:49.802000+00:00      lolsmileyface   Please lol
 2018-05-03 18:09: 11.634000+00:00     lolsmileyface   la€™11 probably want to split it between btc and eth
 2018-os·-03 18:10:05 .343000+00:00    jo              doing xmr first
 2018-05-03 18:10:25.032000+00:00      jo              then ur responsible for exchanging
 2018-05-03 18:10:27.573000+00:00      jo              xmr is easy
 2018-05-03 18:10:28.869000+00:00      jo              to exchange
 2018-05-03   18:10:29.•••111>0        jo              lol
 2018-05-03   18:10:35.462000+00:00    jo              with alegit binance
 2018-05-03   18:18:09.786000+00:00    lolsmileyface   Your binance lol.
 2018-05-03   18:18:12.191000+00:00    lolsmileyface   a~Q·i.a-Q(
 2018-05-03 18:18:17.625000+00:00      jo              hell no
 2018-05-03 18:18:21.981000+00:00      jo              i dont want anything in my binance lol
 2018-05-03 18:18:25.840000+00:00      jo              i fucked up
                                                       How tf do I exchange XMR lol I dona€™t even have a wallet to hold
 2018-05-03 18:18:41.486000+00:00      lolsmileyface
                                                       it
 2018-05-03   18: 18:42.488000+00:00   lolsmileyface   Lmao
 2018-05-03   18:18:46.190000+00:00    jo              lol
 2018-05-03   18:18:46.702000+00:00    jo              idk
 2018-05-03   18:18:50.847000+00:00    jo              its xmr though
 2018-05-03   18:18:52.144000+00:00    jo              so
 2018-05-03   18:23:48.569000+00:00    lolsmileyface   Thanks lol
 2018-05-03 18:25:13.024000+00:00      jo              this is fast as i thought it was
 2018-05-03 18:25:19.270000+00:00      jo              but idk hopw much will it result total
 2018-05-03   18:25:19.807000+00:00    jo              lol
 2018-05-03   18:25:22.194000+00:00    jo              doing this
 2018-05-03   18:58:19.593000+00:00    lolsmileyface   Can I do it on bittrex
 2018-05-03   18:58:23.797000+00:00    lolsmileyface   Or has to be binance
 2018-05-03   18:58:29.047000+00:00    jo              bittrex too
 2018-05-03   18:58 :29.401000+00:00   jo              yes
 2018-05-03   18:58:35.593000+00:00    jo              bro im tired doing this
 2018-05-03   18:58:36.088000+00:00    jo              lol
 2018-05-03   18:58:43.616000+00:00    lolsmileyface   Is it taking a lot out?
                                                       https ://eth pl ore r. io/add ress/0x2084 7a0823 23603d86407 d 3733fl
 2018-05-03 18:58:51.109000+00:00      jo
                                                       6f4357falbb7
                                                       https:// etherscan .io/add ress/0x2084 7a082323603d86407d3733fl
 2018-05-03 18:58:59.054000+00:00      jo
                                                       6f4357falbb7
 2018-05-03   18:59 :32.672000+00:00   lolsmileyface   $816k
 2018-05-03   18:59 :33.522000+00:00   lolsmileyface   Loi
 2018-05-03   18:59:53 .796000+00:00   lolsmileyface   How much did you exchange so far
 2018-05-03   19:02: 14.663000+00:00   lolsmileyface   Good news I have a bittrex with lO0btc limit
 2018-05-03 19:02:26.706000+00:00      lolsmileyface   Just have to get the xmr av~,
 2018-05-03 19:02:33.165000+00:00      lolsmileyface   $816k to go LMAO
 2018-05 -03 19:02:54.539000+00:00     jo              make srue to have a new eth addy
 2018-05-03 19:03:02.023000+00:00      jo              stop using the same one with big balcne
 2018-05-03 19:03:03.690000+00:00      jo              balance
 2018-05-03 19:03:23.645000+00:00      lolsmileyface   la€™m going to gets new Jaxx account after this

 2018-05-03 19:03 :59.774000+00:00     lolsmileyface
                                                       And la€'"m just going to hold the btc and eth in it thata€™s all
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 2018-05-03   19:06:01.377000+00:00   lolsmileyface
 2018-05-03   19:06:47.992000+00:00   jo
 2018-05-03   19:11:35.862000+00:00   lolsmileyface   Billy said use changely?
 2018-05-03   19:11:45.410000+00:00   jo              i am but its fucking slow too
 2018-05-03   19:12:26.750000+00:00   lolsmileyface ' He said do it in like 3txs
 2018-05-03   19:14:56.111000+00:00   lolsmileyface He said do $250k transactions lol on changely
 2018-05-03   19:15:19.536000+00:00   jo              250K
 2018-05-03   19:15:22.260000+00:00   jo              UR fucking high dude
                                                      Waiting for your payment?
                                                      Exchange deposit is being confirmed by the
                                                      blockchain. Waiting for your money to come.


 2018-05-03 19:15:28.392000+00:00     jo              Exchanging?
                                                      Exchanging at the best rate. Please, wait!
                                                      Sending to your wallet?
                                                      Your money has been exchange . Blo6kchain is
                                                      confirming your transaction.
 2018-05-03   19:15:35.111000+00:00   jo              BEEN LIKE THIS FOR 40 MINUTES
 2018-05-03   19:15:36.989000+00:00   jo              for l0ETH
 2018-05-03   19:15:39.288000+00:00   lolsmileyface   LOL
 2018-05-03   19:15:52.690000+00:00   lolsmileyface   I said $50k and billy said 250k lol
 2018-05-03   19:16:48.108000+00:00   lolsmileyface   He did 300k at a time for the dash
 2018-05-03   19:17:35.579000+00:00   lolsmileyface   It takes like an hour or so but it goes through he said
 2018-05-03   19:17:45.940000+00:00   jo              k i do 100k next

 2018-05-03 19:18:05.114000+00:00     lolsmileyface
                                                      To be safe yeah fu<lk that I old him hea{™s high for 300k lol
 2018-05-03   19:18:07.200000+00:00   lolsmileyface   Thata€'"'s   SUS
 2018-05-03   19:18:09.096000+00:00   lolsmileyface    v-,
 2018-05-03   20:09:42.843000+00:00   lolsmileyface   How can I help
 2018-05-03   20:26:28.079000+00:00   jo              id lool
 2018-05-03   20:26:28.741000+00:00   jo              idk
 2018-05-03   20:26:29.411000+00:00   jo              *
 2018-05-03   20:52:32.159000+00:00   lolsmileyface   What you want me to do
 2018-05-03   20:54:11.742000+00:00   lolsmileyface   Where can I store eth on mobile
 2018-05-03   20:54:31.314000+00:00   lolsmileyface   Did you try the 100k on changely
 2018-05-03   21:08:21.585000+00:00   lolsmileyface   Hey
 2018-05-03   22:17:50.834000+00:00   lolsmileyface   Doc mad
 2018-05-03   22:24:21.215000+00:00   jo              Yyo
 2018-05-03   22:24:24.572000+00:00   jo              My bad lol
 2018-05-03   22:24:26.926000+00:00   jo              Was knocked out
 2018-05-03   22:24:34.581000+00:00   jo              ZZZz
 2018-05-03   22:24:39.197000+00:00   lolsmileyface   Nap time is okay
                                                      But doc was mad for something idk what. He thfnks we did a sub
 2018-05-03 22:26:03. 716000+00:00    lolsmileyface
                                                      targ lol
 2018-05-03 22:27:31.408000+00:00     jo              sub target lol
 2018-05-03 22:27:33.838000+00:00     jo              i want my sub
 2018-05-03 22:27:35.655000+00:00     jo              av~,,
 2018-05-03 22:27:37.186000+00:00     jo              hahahahahaha
 2018-05-03 22:27:48.571000+00:00     jo              send me yo eth addy
 2018-05-03 22:27:50.939000+00:00     jo              imma send u some
 2018-05-03 22:27:55.577000+00:00     jo              i gotta head the gym soon
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 2018-05-03 22:28:51.815000+00:00      lolsmileyface   Is it clean
 2018-05-03 22:29:17.415000+00:00      lolsmileyface   Clean eth
 2018-05-03 22:33:07 .838000+00:00     jo              no
 2018-05-03 22:33:10.625000+00:00      jo              the dirty
 2018-05-03 22:33:11.352000+00:00      jo              lol
 2018-05-03   22:33:19.907000+00:00    jo              imma also try 150k chanelly
 2018-05-03   22:33:25.918000+00:00    jo              changelly
 2018-05-03   22:33:26.571000+00:00    jo              lol
 2018-05-03   22:33:31.052000+00:00    lolsmileyface   lta€™s dirty eth
 2018-05-03   22:33:34.992000+00:00    jo              yes
 2018-05-03   22:33:48.297000+00:00    lolsmileyface   Should I just do my Jaxx
 2018-05-03   22:33:52.244000+00:00    jo              no
 2018-05-03   22:33:52.876000+00:00    jo              lol
 2018-05-03   22:33:54.030000+00:00    jo              make a mew
 2018-05-03   22:33:55.448000+00:00    jo              on laptop ·
 2018-05-03   22:34:00.057000+00:00    jo              or a new eth address
 2018-05-03   22:34:05.328000+00:00    jo              somethjing co,mpletely diofferent
 2018-05-03   22:34:10.512000+00:00    jo              than ur eth address
 2018-05-03   22:34:16.045000+00:00    lolsmileyface   Shquld I make a Jaxx on my other phone LTE
 2018-05-03   22:34:21.556000+00:00    jo              yea
 2018-05-03   22:35:27.181000+00:00    lolsmileyface   Okay doing rn
 2018-05-03   22:36:33.818000+00:00    lolsmileyface   la€'"11 just make a mew tonight
 2018-05-03   22:36:36.215000+00:00    lolsmileyface   Loi
 2018-05-03   22:36:51.438000+00:00    jo              https://changelly.com
 2018-05-03   22:36:52.154000+00:00    lolsmileyface   Do you have any of it cleaned
 2018-05-03   22:36:53.014000+00:00    jo              u do this
 2018-05-03 22:36:56.317000+00:00      jo              tonightr
 2018-05-03   22:36:56.905000+00:00    jo              nope
 2018-05-03   22:37:00.125000+00:00    jo              only xmr
 2018-05-03   22:37:00.734000+00:00    jo              atm
 2018-05-03   22:37:09.459000+00:00    jo              355
 2018-05-03   22:37:17.168000+00:00    lolsmileyface   Okay thata€™s fine

 2018-05-03 22:38:32.758000+00:00      lolsmileyface
                                                       Changely will allow us to do ether to xmr then xmr to whateve?
 2018-05-03   22:38:40.417000+00:00    jo              yeah
 2018-05-03   22:38:46.345000+00:00    jo              but send the xmr
 2018-05-03   22:38:48.524000+00:00    jo              to a wallet first
 2018-05-03   22:38:54.375000+00:00    jo              then send to 3 DIFFERENT wallets
 2018-05-03   22:39:02.086000+00:00    jo           . THEN exchange to Ethereum
 2018-05-03   22:39:09.249000+00:00    lolsmileyface la€™11 need your help lol with that part
 2018-05-03   22:39:13.973000+00:00    jo             yes lol
 2018-05-03   22:39:27 .956000+00:00   lolsmileyface Ok la€™11 be on tonight to do it ov~,
 2018-05-03   22:39:42.897000+00:00    jo             just exchange eth to xmr
 2018-05-03 22:39:44.333000+00:00      jo             all of it
 2018-05-03 22:39:45.165000+00:00      jo              ur job
 2018-05-03 22:39:47.644000+00:00      jo              right there
 2018-05-03 22:39:48.098000+00:00      jo              lol
 2018-05-03 22:56:13.145000+00:00      lolsmileyface   My job! GOT IT
 2018-05-03 23:00:44.081000+00:00      lolsmileyface   Call me
 2018-05-03 23:00:55.901000+00:00      jo
 2018-05-03 23:07:17.145000+00:00      lolsmileyface   Send me a fucking picture of the dash please
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 2018-05-03 23:07:25.490000+00:00     jo              wheres doc
 2018-05-03   23:07:27.507000+00:00   jo              IMMA LINK him
 2018-05-03   23:07:29.175000+00:00   jo              the blockchain
 2018-05-03   23:07:47.373000+00:00   lolsmileyface   Link me please
 2018-05-03   23:22:43.135000+00:00   lolsmileyface   Doc Literally thinks were lying
 2018-05-03   23:22:47.433000+00:00   jo              link me
 2018-05-03   23:22:49.387000+00:00   jo              the xat
 2018-05-03   23:22:49.970000+00:00   jo              lol
 2018-05-03   23:22:51.356000+00:00   jo              cmon
 2018-05-03   23:23:01.360000+00:00   lolsmileyface   Xat.com/fort
 2018-05-03   23:23:26.i33000+00:00   jo              where is he
 2018-05-03   23:23:26.600000+00:00   jo              lol
 2018-05-03   23:24:58.841000+00:00   jo              dent tell him who we did
 2018-05-03   23:25:03.291000+00:00   jo              thats NONE of his business
 2018-05-03 23:25:07.278000+00:00     jo              legit
 2018-05-03 23:25:12.826000+00:00     jo              only 5 of us know
 2018-05-03 23:25:16.496000+00:00     jo              no one out of space does
 2018-05-03 23:35:30.581000+00:00     lolsmileyface   I dona€™t even know who it was LOL
 2018-05-04 00:27:57.616000+00:00     lolsmileyface   Dude Corey replied. $100k la€™m not paying $100k LOL
 2018-05-04 00:28:05.032000+00:00     jo              oh
 2018-05-04 00:28:08.271000+00:00     jo              how much corey wants
 2018-05-04 00:28:18.029000+00:00     lolsmileyface   $100k Cory said
 2018-05-04 00:28:22.872000+00:00     lolsmileyface   Loi fuck that
 2018-05-04 00:28:33. 774000+00:00    jo              oh lol
 2018-05-04 00:29:40.567000+00:00     lolsmileyface   I have my irl who will do for lbtc lol
 2018-05-04 00:29:45.993000+00:00     jo              oh
 2018-05-04 00:29:48.216000+00:00     lolsmileyface   Just need tog t the xmr
 2018-05-04 00:30:16.053000+00:00     lolsmileyface   Once I get xmr ita€™s easy
 2018-05-04 00:33:13.931000+00:00     jo              yo
 2018-05-04 00:33:16.159000+00:00     jo              u want corey doing it
 2018-05-04 00:33:18.029000+00:00     jo              for l00k?
 2018-05-04 00:33:19.759000+00:00     jo              yes or no?
 2018-05-04 00:33:24.163000+00:00     jo              cuz im chatting with him rn
 2018-05-04 00:33:36.688000+00:00     lolsmileyface   la€™U snap him back
 2018-05-04 00:33:59.707000+00:00     lolsmileyface   lafl"'m not paying 100k lol
 2018-05-04 00:34:27.628000+00:00     jo              hes not doing it
 2018-05-04 00:34:31.328000+00:00     jo              unless 10k
 2018-05-04 00:34:40.024000+00:00     jo              100*
 2018-05-04 00:35:01.527000+00:00     lolsmileyface   I told him no. Once I get the xmr I can just use my irl
 2018-05-04 00:35:58.848000+00:00     jo              well then imma send ur eth
 2018-05-04 00:36:00.228000+00:00     jo              all of it
 2018-05-04 00:36:02.475000+00:00     jo              okay?
 2018-05-04 00:36: 11. 762000+00:00   lolsmileyface   Thata€'"'s fine yeah. Just let me get home
 2018-05-04 00:36:21.490000+00:00     lolsmileyface   I can use your xmr addy still right
 2018-05-04 00:36:27. 754000+00:00    jo              sure
 2018-05-04 00:37:35.555000+00:00     lolsmileyface   Okay cool
 2018-05-04 00:40:58. 715000+00:00    lolsmileyface   Hey
 2018-05-04 00:41:06.672000+00:00     jo              eth addy?
 2018-05-04 00:41: 11. 761000+00:00   lolsmileyface   Youa€'"'11 do it with Corey f~r me
 2018-05-04 00:41: 15. 700000+00:00   lolsmileyface   Like small amount
 2018-05-04 00:41:17.756000+00:00     jo              what?!?!?!
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         2018-05-04 00:41:20.077000+00:00        jo              so u want corey?



I
         2018-05-04 00:41:23.072000+00:00        jo              i dont fucking understand
         2018-05-04 00:41:25.384000+00:00        jo              100k for corey?
         ,o,•-o•-04 00,41'25.4 790DO•0O,00
         2018-05-04 00:41:37.753000+00:00
                                                 lolsmileyface
                                                 lolsmileyface
                                                                 la€™m talking to him now
                                                                 la€™m gonna try to pay like $75k ish
         2018-05-04 00:41:51.342000+00:00        lolsmileyface   He said hea€™11 clean it
         2018-05-04 00:41:51.919000+00:00        jo              im not finessing him
         2018-05-04 00:41:54.975000+00:00        jo              just saying
         2018-05-04 00:41:57 .808000+00:00       jo              100k is 100k
         2018-05-04 00:42:04.015000+00:00        lolsmileyface   la€™m texting him now
         2018-05-04 00:44:00.208000+00:00        jo              send me ur eth addy bro
         2018-05-04 00:44:01.177000+00:00        jo              cmon man
         2018-05-04 00:44: 14.286000+00:00       lolsmileyface   la€™m not home
         2018-05-04 00:44: 18.564000+00:00       jo              or im going to make one for u



                                                                                                       ~
         2018-05-04 00:44:18.646000+00:00        lolsmileyface   What am I supposed to do
         2018-05-04 00:44:24.402000+00:00        jo              and then ur on ur own
         2018-05-04 00:44:27.495000+00:00        jo              i cant be here anymore
         2018-05-04 00:44:44.872000+00:00        jo              ill make one for u
         2018-05-04 00:44:46.064000+00:00        jo              no worries
         2018-05-04 00:45:01.960000+00:00        lolsmileyface   Jfc
         2018-05-04 00:45:08.634000+00:00        lolsmileyface   Why you rushing me man
    )    2018-05-04 00:45:20.517000+00:00        lolsmileyface   I get th.e only dirty money of this hit
         2018-05-04 00:45:33.499000+00:00        jo              no man
         2018-05-04 00:45:38.437000+00:00        jo              im dealing with more serious shit right now
         2018-05-04 00:45:46.011000+00:00        lolsmileyface   Whoaaa
         2018-05-04 00:45:46.673000+00:00        jo              i legit not coming back here again
         2018-05-04 00:45:52.316000+00:00        jo              i hope u are doing the sam~
         2018-05-04 00:45:54.360000+00:00        lolsmileyface   Everything okay? Or
         2018-05-04 00:45:56. 732000+00:00       jo              no
         2018-05-04 00:45:5'8.598000+00:00       jo              ask maj
         2018-05-04 00:46:02.262000+00:00        jo              im not coming back
         2018-05-04 00:46:14.432000+00:00        lolsmileyface   Ffs okay
         2018-05-04 00:46: 17 .868000+00:00      lolsmileyface   Hold on making addy
         2018-05-04 00:46:20.554000+00:00        lolsmileyface   On gf phone
         2018-05-04 00:46:23.631000+00:00        jo              kk
         2018-05-04 00:46:27.129000+00:00        jo              and for xmr
         2018-05-04 00:46:31.450000+00:00        jo              im going to give u backup phrase
         2018-05-04 00:47:24.838000+00:00        jo              or better ill just send to 3 addresses
         2018-05-04 00:47:29.590000+00:00        jo              and then u can put it on a bittrex
         2018-05-04 00 :4 7 :45. 880000+00: 00   lolsmileyface   Okay wtf going on man
         2018-05-04 00:47:50.733000+00:00        jo              just talk to maj
         2018-05-04 00:47:53.575000+00:00        jo              thats important
         2018-05-04 00:48:06.915000+00:00        lolsmileyface   Hea€™s not answering
         2018-05-04 00:49:03.669000+00:00        lolsmileyface   la€™m going home now la€™11 be home in 30min
         2018-05-04 00:50:07.691000+00:00        lolsmileyface   Can that wait that long. 30min
         2018-05-04 00:50: 12. 761000+00:00      jo              yes
         2018-05-04 00:50:17.834000+00:00        lolsmileyface   Okay thanks bro.
         2018-05-04 00:50:23.809000+00:00        lolsmileyface   Maj not answer. Is it the sub thing
         2018-05-04 00:50:42.226000+00:00        jo              NO DUDE
         2018-05-04 00:50:46.559000+00:00        jo              NOT GOING TO EXPLAIN HERE
         2018-05-04 00:50:52.258000+00:00        lolsmileyface   Okay okay fair enough
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L
    2018-05-04. 00:50:57 .410000+00:00   jo              https://privnote.com/iQ3UZOb8#n DvfYLwbY
    2018-05-04 00:52:44.302000+00:00     lolsmileyface   Ffs okay
    2018-05-04 00:56:40.749000+00:00     lolsmileyface   Corey helping me he said.
    2018-05-04 00:56:53.228000+00:00     lolsmileyface   la{™m on my way home now
    2018-05-04 00:58:51. 702000+00:00    lolsmileyface
    2018-05-04 01:05:42:922000+00:00     lolsmileyface   Corey reply to you?
    2018-05-04 01:10:59.016000+00:00     jo              yes'
                                                         Okay he didnaC™t reply to me just dona{,.'t send him more until I
    2018-05-04 01:11:45.894000+00:00     lolsmileyface
                                                         get the first $100k please
    2018-05-04 01:11:51.701000+00:00     lolsmileyface   WhataC™s his disc
    2018-05-04 01:11:55.420000+00:00     jo              kk
    2018-05-04 01:11:58.534000+00:00     jo              no discord
    2018-05-04 01:11:59.852000+00:00     jo              xmpp
    2018-05-04 01:12:14.028000+00:00     lolsmileyface   Ahh okay thanks. Did you already send 100,000
    2018-05-04 0l :12:18.895000+00:00    jo              no
    2018-05-04 01:13:03.637000+00:00     lolsmileyface   Oh okay doc says xat hea{™s on if you wanna chat
    2018-05-04 01:14:55.173000+00:00     jo              im on xat
    2018-05-04 01:14:55.958000+00:00     jo              lol
    2018 -05-04 01:14:59.693000+00:00    jo              where.is he
    2018-05-04 01:15:41.307000+00:00     lolsmileyface   Fort?
    2018-05-04 01:21:52.189000+00:00     lolsmileyface   Loi where Corey at
    2018-05-04 01:34:28.955000+00:00     lolsmileyface
    2018-05-04 0l:40:13.118000+00:00     lolsmileyface   laC™II be home in five minutes and la{™II call you back
    2018-05-04 01:57:02.355000+00:00     lolsmileyface   Hey la{™m home
    2018-05-04 01:57:35.777000+00:00     lolsmileyface   Are you snookibomb lot
    2018-05-04 01:58:20.596000-1,00:00   jo ·            man im really mad
2018-05-04 01:58:21.894000+00:00         jo              and sad
2018-05-04 01:58:23.682000+00:00         jo              at same time
2018-05-04 01:58:27.170000+0 :00         lolsmileyface   Sad
2018-05-04 01:58:29.538000+00:00         lolsmileyface   Why sad
2018-05-04 01:58:44.206000+00:00         jo
2018-05-04 01:58:46.579000+00:00         jo              hurts my feelings
2018-05-04 01:58:50.776000+00:00         jo              i keep telling him
2018-05-04 01:58:53.474000+00:00         jo              we didnt do him
2018-05-04 01:58:58.619000+00:00         jo              and just telling who we did
2018-05-04 01:59:10.310000+00:00         jo              is just making me feel angry
2018-05-04 01:59:16.458000+00:00         jo              because i was supposed to not tell
2018-05-04 01:59:18.962000+00:00         lolsmileyface   Exactly how I feel
2018-05-04 01:59:19.371000+00:00         jo              we did that guy
2018-05-04 01:59:43.367000+00:00         lolsmileyface   Why does he think it
2018-05-04 02:00:02.051000+00:00         lolsmileyface   I was so angry earlier
2018-05-04 02:00:04.839000+00:00         lolsmileyface   Like deadas smar
2018-05-04 02:00:07.668000+00:00         lolsmileyface   Deadass mad
2018-05-04 02:00:42.879000+00:00         lolsmileyface
2018-05-04 03:53:41.696000+00:00         jo              You talk to Robert?
2018-05-04 03 :53:55 .992000+00:00       lolsmileyface   Ehh rarely
2018-05-04 03:54:59.926000+00:00         jo              Ask him about whoaC™s getting fucked
2018-05-04 03 :55 :14.167000+00:00       jo              For whatever it is
2018-05-04 12:10:34.450000+00:00         jo              whats sup
2018-05-0412:10:37.877000+00:00          jo              what u up to
2018-05-04 12:12:42.239000+00:00         lolsmileyface   Just at workvv
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                                                       And Corey said only be worried if you used a real binance ever for
 2018-05-04 12:13:00.927000+00:00      lolsmileyface
                                                       the tether or Ian guy
 2018-05-04 12:13:18.939000+00:00      jo              oh
 2018-05-04 12:13:20.993000+00:00      jo              yeah obv
 2018-05-04 12:48:49.214000+00:00      lolsmileyface   ldk what to think lol
 2018-05-04 12:56 :28.999000+00:00     jo              What u mena
 2018-05-04 12:56:31.917000+00:00      jo              Mean
 2018-05-04 14:53 :28.961000+00:00     jo              yo
 2018-05-04   14:53:29.973000+00:00    jo              u there
 2018-05-04   14:53:32.388000+00:00    jo              i still have the xmr
 2018-05-04   14:53:32.857000+00:00    jo              lol
 2018-05-04   14:53:39.340000+00:00    lolsmileyface   Hey
 2018-05-04   14:53 :43.378000+00:00   lolsmileyface   How much is it
 2018-05-04   14:53:45.186000+00:00    lolsmileyface   Loi
 2018-05-04   14:53 :45.444000+00:00   jo              do u have an xmr wallet?
 2018-05-04   14:53:49.073000+00:00    jo              300 xmr i think
 2018-05-04   14:54:54.524000+00:00    lolsmileyface   Like 60k ish
 2018-05-04   14:54:59.153000+00:00    lolsmileyface   Let me get a wallet quick
 2018-05-04 14:55:53 .061000+00:00     jo              Well let me send to three wallets
 2018-05-04   14:55 :58 .• • • a o     jo              The.n u should be fine
 2018-05-04   14:56:04.523000+00:00    lolsmileyface   Okay thanks
 2018-05-04   14:56:31.146000+00:00    jo              355 xmr
 2018-05-04   14:56:31.712000+00:00    jo              lol
 2018-05-04   14:56:39.153000+00:00    lolsmileyface   Ayy
                                                       Sweet lol give me a little while c_ause la€'"'m at work but I will get a
 2018-05-04 14:57:25 .278000+00:00     lolsmileyface
                                                       Wallet asap
 2018-05-04 14:57 :56.860000+00:00     jo              u can use bittrex
 2018-05-04 14:57:58.383000+00:00      jo              its all good
 2018-05-04 14:58:01.798000+00:00      jo              once i send to three
 2018-05-04 14:58:02.733000+00:00      jo              wallets
 2018-05-04 14:58:09.031000+00:00      lolsmileyface   Yeah la€™11 have my irl do it for me
 2018-05-04 14:58:13.926000+00:00      lolsmileyface   Loi
 2018-05-04 14:58:19.347000+00:00      lolsmileyface   Since ita€™s safe
 2018-05-04 15:08:37.911000+00:00      jo              i mready so
 2018-05-04 15:08:40.            O     jo              lmk the xmr addy
 2018-05-04 15:28:43.740000+00:00      lolsmileyface   OK just kind of busy tied up at work right now
 2018-05~04 16:03:41.157000+00:00      lolsmileyface   Wanna send now?
 2018~05-04 16:10:34.563000+00:00      jo              yea
 2018-05-04 21:23:50.655000+00:00      lolsmileyface   Hey
 2018-05-04 21:24:01.607000+00:00      lolsmileyface   You here
 2018-05-04 21:25:05.960000+00:00      jo              yea
 2018-05-04 21:25 :22.111000+00:00     lolsmileyface   Can I send you my btc then send it back to me.
 2018-05-04 21:25:33.307000+00:00      lolsmileyface   I need to put it on my new Jaxx wallet lol
 2018-05-04 21:25:49.425000+00:00      jo'             uhh
 2018-05-04 21:25:50.884000+00:00      jo              not rn
 2018-05-04 21:25:58.157000+00:00      jo              just blockchain
 2018-05-04 21:25:58.863000+00:00      jo              wallet
 2018-05-04 21:25:59.336000+00:00      jo              lol
 2018-05-04 21:26:07.394000+00:00      lolsmileyface   TRUE
 2018-05-04 21:26:09. 771000+00:00     lolsmileyface   Good idea lol
 2018-05-05 20:03:30.068000+00:00      jo              whats goo
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 2018-05-05   20:03:31.248000+00:00    jo              good
 2018-05-05   20:03 :38.098000+00:00   jo              breakfast station eh
 2018-05-05   20:07:23.316000+00:00    lolsmileyface   It was very good lol
 2018-05-05   20:07:32.486000+00:00    jo              lol
 2018-05-07   13:02:34.556000+00:00    jo              Did att plug get fired lol
 2018-05-07 13:02:40.936000+00:00      jo              From what I heard
 2018-05-07 13:03:34.240000+00:00      lolsmileyface   Mine? No
 2018-05-07 13:03:40.485000+00:00      lolsmileyface   What the hell lol
 2018-05-07   13:04:51.738000+00:00    jo              Someone said he got fired
 2018-05-07   13:04:54.436000+00:00    jo              ldk lol
 2018-05-07   13:05:08.064000+00:00    lolsmileyface   Wtf who said that lo
 2018-05-07   13:05:17.495000+00:00    jo              Some random talking about u
 2018-05-07 13:05:19.824000+00:00      jo              Forgot his name
 2018-05-07 13:05:32.098000+00:00      lolsmileyface   Hea€™s a fuckin idiot
 2018-05-07 13:05:36.473000+00:00      lolsmileyface   I can do the today
 2018-05-07 13:05:42.569000+00:00      jo              lol
 2018-05-07 13:05:45.884000+00:00      lolsmileyface   I just did one yesterday with Miguel
 2018-05-07 13:05:50.883000+00:00      jo              Oh
 2018-05-07 13:05:59.909000+00:00      lolsmileyface   And he works today
 2018-05-07 13:06:18.032000+00:00      jo
 2018-05-07 13:06:22.820000+00:00      jo              ov-,ov-,av-tav-,av-,
 2018-05-07 13:08:07.089000+00:00      lolsmileyface   Is that that 707 guy
 2018-05-07 13:08:33.513000+00:00      lolsmileyface   Where did he talk about me
 2018-05-07 13:09:37. 798000+00:00     jo              On discord
 2018-05-07 13:09:40.479000+00:00      jo              Ogusers disxord
 2018-05-07 13:09:52.961000+00:00      jo              And I think
 2018s05-07   13:16:23.970000+00:00    lolsmileyface   Add me to it
 2018-05-07   13:24:09.889000+00:00    jo              https://discord.gg/ChbhX
 2018-05-07   13:25:13.299000+00:00    lolsmileyface   I have to be accepted?
 2018-05-07   B :25:21.996000+00:00    jo              Wtflol

 2018-05-07 13:25:34. 739000+00:00     lolsmileyface
                                                       Loi who said some shit about me having an att. la€"'11 j~st pm him
 2018-05-07   13:25:37.573000+00:00    lolsmileyface   Or whata€™s his ogu
 2018-05-07   13:26:00.099000+00:00    jo              ldk his name was Ben or some shit
 2018-05-07   13:26:05.213000+00:00    jo              ldk his ogusers
 2018-05-07   13:26:15.089000+00:00    lolsmileyface   Lmao wtf
 2018-05-07   13:26:17.698000+00:00    lolsmileyface   Who tf ben
 2018-05-07   13:28:19.423000+00:00    jo              Guess he aina€™t responding there lol
 2018-05-07   13:28:27.843000+00:00    lolsmileyface   Was he in there?
 2018-05-07   13:29:31.922000+00:00    jo              Yeah like 10 mins ago
 2018-05-07   14:03 :53.333000+00:00   lolsmileyface   Wtf lol whata€™s his screen name
 2018-05-07   14:37:04.455000+00:00    lolsmileyface   I cana€™t fuckin find it lol
 2018-05-07   14:37:13.692000+00:00    jo              Loi
 2018-05-07 14:37:34.859000+00:00      lolsmileyface   I just scrolled till like 8am
 2018-05-07 14:37:35.961000+00:00      lolsmileyface   Lmao
 2018-05-07 17:50:55.505000+00:00      lolsmileyface   DUDE WE NEED SIM ASAP
 2018-05-07 19:00:44.208000+00:00 . jo                 yo
 2018-05-07 19:00:48.233000+00:00 lolsmileyface        Hello
 2018-05-07 19:00:55.754000+00:00 jo                   was sleeping
 2018-05-07 19:00:58.358000+00:00      jo              lmao
 2018-05-07 19: 17: 14.520000+00:00    lolsmileyface   How does nobody know who ben is
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2018-05-07 19:17:15.824000+00:00       lolsmileyface     Lmao wtf
2018-05-07 20:56:14.181000+00:00       lolsmileyface     Hello brother
2018-05-07 20:56:18.812000+00:00       jo                hey
2018-05-07 20:56:59.415000+00:00       lolsmileyface     Can I have the ig list lol
2018-05-07 20:57:01.443000+00:00       lolsmileyface     Atts
 2018-05-07 20:57:06.184000+00:00      lolsmileyface     I want a new ig lmao
 2018-05-07 20:57:15.502000+00:00      jo                https://pastebin .com/nvxRbXQW
 2018-05-07 20:57:25 .278000+00:00     lolsmileyface     Quick with it  av-,
 2018-05-07 21:15:28.748000+00:00      lolsmileyface     Know of any good ones we dona{™t need 14
 2018-05-07 21:15 :31.679000+00:00     lolsmileyface     Just#
 2018-05-07 21:18:42.563000+00:00      jo                Loi
 2018-05-07 21:18:43 .695000+00:00     jo                Really
 2018-05-07 21:18:49.787000+00:00      lolsmileyface     Yessir
 2018-05-07 21:19:02.849000+00:00      lolsmileyface     Back to the good days. Only#
 2018-05-07   21:19:26.310000+00:00    jo                vibe guys
 2018-05-07   21:19:26.882000+00:00    jo                bro
 2018-05-07   21:19:27 .390000+00:00   jo                av-,,
 2018-05-07   21:19:32.394000+00:00    lolsmileyface     What
 2018-05-07   21:19:37.298000+00:00    jo                vibe guys
 2018-05-07   21:19:39.098000+00:00    jo                ls
 2018-05-07   21:19:39.920000+00:00    lolsmileyface     Lets do whatever man
 2018-05-07   21:19:44.099000+00:00    lols!Tlileyface   Leggo
 2018-05-07   21:24:59.250000+00:00    jo                fuck i lost
 2018-05-07   21:24:59.730000+00:00    jo                dox
 2018-05-07   21:25 :00.188000+00:00   jo                lol
 2018-05-07   21:25:02.045000+00:00    jo                so gay
 2018-05-07 21:25:08.866000+00:00      lolsmileyface     Ffs
 2018-05-07 21:25:17.024000+00:00      jo                it was me and doc's target
 2018-05-07 21:25:18.981000+00:00      jo                for a while
 2018-05-07 21:25:19.438000+00:00      jo                lol
 2018-05-07 21:25:52.454000+00:00      jo                does conor know
 2018-05-07 21:25:53.086000+00:00      jo                lol
 2018-05-07 21:26:03.125000+00:00      lols ileyface     I dona{""t think so
 2018-05-07 21:26:07.789000+00:00      jo                he has some
 2018-05-07 21:26:09.999000+00:00      jo                i mpretty sure
 2018-05-07 21:28:52.169000+00:00      jo                https://privnote.com/uUo 7p9a#e92189058
 2018-05-07 21:28:54.044000+00:00      jo                good guy bro
 2018-05-07 21:28:56+00:00             jo                lets do him
 2018-05-07 21:29:43.597000+00:00      jo                https://privnote.com/o602bC4a#uAbM EGXEX
 2018-05-07 21:29:45.013000+00:00      jo                info
 2018-05-07 21:32:45.329000+00:00      lolsmileyface     Wanna do rn
 2018-05-07 21:32:50.210000+00:00      jo                sure
 2018-05-07 21:33:10.940000+00:00      lolsmileyface     Just me and you?
 2018-05-07 21:33:14.410000+00:00      jo                yea
2018-05-07 21:33:16.381000+00:00       lolsmileyface     Is it a good targ he rich
2018-05-07 21:33:20.507000+00:00       jo                digitalx
2018-05-07 21:33:21.062000+00:00       jo                lol
2018-05-07 21:33:28.764000+00:00       jo                https://www.digitalx.com/
2018-05-07 21:38:15.890000+00:00       lolsmileyface     3NU4K9Xe4Ta5RjYonrxaSAtetH4mAHjeJD
2018-05-07 21:38:17.156000+00:00       lolsmileyface     $80
2018-05-07 21:38:19.298000+00:00       lolsmileyface     For sim
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 2018-05-07   21:38:25.843000+00:00     jo               oh fuck
 2018-05-07   21:38:26.482000+00:00     jo               lol
 2018-05-07   21:38:35.970000+00:00     lolsmileyface    Yup lol back to that again
 2018-05-07   21:39:02.918000+00:00     jo               ill cba then
 2018-05-07   21:39:09.856000+00:00     jo               since dont have btc
 2018-05-07   21:39:12.305000+00:00     lolsmileyface    Huh
 2018-05-07   21:39: 16. 753000+00:00   lolsmileyface    Cba
 2018-05-07   21:39:23.089000+00:00     jo               cba
 2018-05-07   21:39:25.083000+00:00     jo               come back anytime
 2018-05-07   21:39:29.912000+00:00     jo               maybe tonight or sometyhing
 2018-05-07   21:39:31.801000+00:00     jo               when hes sleeping
 2018-05-07   21:39:31.832000+00:00     lolsmileyface    la€',.,II just pay
 2018-05-07   21:39:32.375000+00:00     jo               lol




                                                                                            ~
 2018-05-07   21:39:34.147000+00:00     lolsmileyface    lta€™s fine
 2018-05-07   21:39:35.319000+00:00     jo               na not now
 2018-05-07   21:39:37.309000+00:00     jo               dont do it now
 2018-05-07 21:39:41. 764000+00:00      jo               5:39pm rn
 2018-05-07   21:39:46.375000+00:00     jo               we should do it like 11pm
 2018-05-07   21:39:51.739000+00:00     jo               i think we're safer there
 2018-05-07   21:39:55.503000+00:00     lolsmileyface    Okay thata€™s fine
 2018-05-07   21:39:58.181000+00:00     jo               yeah
 2018-05-07   21:40:13.178000+00:00     jo               hes a perfect hit though
 2018-05-07   21:40:23.107000+00:00     jo               its like the other one we did
  2018-05-07 21:40:23.699000+00:00      jo               lol
  2018-05-07 21:44:20.564000+00:00      lolsmileyface    We can wait till last mint
  2018-05-07 21:44:23.255000+00:00      lolsmileyface    Minute
  2018-05-07 21:44:27 .528000+00:00     lolsm ileyface   Send me the info to Homie
  2018-05-07 21:44:31.455000+00:00      lolsmileyface    @Homie lol
  2018-05-07 21:44:35.401000+00:00      lolsmileyface    You can turbo right
  2018-05-07 21:44:37.915000+00:00      jo               no
 ·2018-05-07 21:44:39.084000+00:00      jo               no turbo
  2018-05-07 21:44:39.421000+00:00      jo               lol
  2018-05-07 21:44:40. 781000+00:00     jo               hahaha
  2018-05-07 21:44:44.363000+00:00      lolsmileyface    FUCK
  2018-05-07 21:44:45.800000+00:00      jo               old hand swap ya know
  2018-05-07 21:44:58.939000+00:00      lolsmileyface    Dude lol auto claim
  2018-05-07 21:45:04.354000+00:00      lolsmileyface    Matt will snipe me
  2018-05-07 21:45:05.542000+00:00      jo               i dont have homie
  2018-05-07 21:45:06.819000+00:00      jo               oY-i
  2018-05-07 21:45:12.914000+00:00      lolsmileyface    I have it at home lol
  2018-05-07 21:45:16.606000+00:00      jo               tf
  2018-05-07 21:45:17.536000+00:00      jo               lol
  2018-05-07 21:45:20.300000+00:00      jo               not on my list
 2018-05-07 21:45:20.913000+00:00       jo               av-:
 2018-05-07 21:45:23.229000+00:00       lolsmileyface    Maybe in my snap
 2018-05-07 21:45:27.953000+00:00       lolsmileyface    Actually I think I took pie LOL
 2018-05-07 22:40:56.586000+00:00       lolsmileyface    Can you get around the login thing on ig
 2018-05-07 22:41:14.899000+00:00       jo               U dona€™t need it
 2018-05-07 22:41:17.864000+00:00       jo               If ur aiming lol
 2018-05-07 22:41:19.973000+00:00       jo               Simminf"'
 2018-05-07 22:41:24.522000+00:00       lolsmileyface    No la€"'m not
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 2018-05-07 22:41:28.490000+00:00     lolsmileyface · I just got scammed                           ,!
 2018-05-07 22:41:29.890000+00:00     lolsmileyface   LOL
 2018-05-07 22:41:29.945000+00:00     jo              Whata€™s     this
 2018-05-07 22:41:32.354000+00:00     jo              For  what
 2018-05-07 22:41:32.695000+00:00     lolsmileyface $700
 2018-05-07 22:41:33.269000+00:00     jo              LIi
 2018-05-07 22:41:33.975000+00:00     lolsmileyface Lmfao
 2018-05-07 22:41:35 .587000+00:00    jo              Loi
 2018-05-07 22:41:38.826000+00:00     lolsmileyface IMAGINE THAT BROKE
 2018-05-07 22:41:42.158000+00:00     lolsmileyface    $700 scamming
 2018-05-07 22:41:45.038000+00:00     jo               What they scam u for
 2018-05-07 22:41:50.359000+00:00     lolsmileyface    Royalty
 2018-05-07 22:41:55.025000+00:00     lolsmileyface    dee123
 2018-05-07 22:41:57.931000+00:00     jo               wtf lol
 2018-05-07 22:41:59.082000+00:00     lolsmileyface    Try to sign in
 2018-05-07 22:42:06.061000+00:00     jo               You dona€™t have email?
 2018-05-07 22:42:11.928000+00:00     lolsmileyface    Nah ita€™s on a yahoo
 2018-05-07 22:42:32.125000+00:00     jo               So why did u buy it
 2018-05-07 22:42:33.234000+00:00     jo               Lmao
 2018-05-07 22:42:38.631000+00:00     lolsmileyface    Wym
 2018-05-07 22:42:41.042000+00:00     lolsmileyface    lta€™s cool
 2018-05-07 22:42:48.964000+00:00     lolsmileyface    Someone owns it lol
 2018-05-07 22:43:07.740000+00:00     jo               Loi
 2018-05-07 22:43:09.940000+00:00     jo               Rip
 2018-05-07 23:24:27.958000+00:00     lolsmileyface    Att leaves 830
 2018-05-07 23:24:40.008000+00:00     jo               we dp at 8 then
 2018-05-07 23:33:00.930000+00:00     lolsmileyface    30min
 2018-05-07 23:33:09.178000+00:00     jo               yea
 2018-05-07 23:45:26.323000+00:00     lolsmiley,face   TO
 2018-05-07 23:45:28.584000+00:00     lolsmileyface    YO LETS GO
 2018-05-07 23: 5:31.205000+00:00     lolsmileyface    WE GOT ONE TO DO
 2018-05-07 23:45:35.327000+00:00     lolsmileyface    me you conor
 2018-05-07 23:46:05.394000+00:00     lolsmileyface    Jojo brother need sim
 2018-05-07 23:52:58.134000+00:00     lolsmileyface    Yooo Conora€™s wona€™t work. Lets do ours
 2018-05-07 23:53:51.247000 00:00     lolsmileyface    8pm
 2018-05-07 23:'54:04.673000+00:00    lolsmileyface    8pm
 2018-05-07 23:55:33.128000+00:00     jo               Yo
 2018-05-07 23:55:35.125000+00:00     jo               Shsjsj
 2018-05-07 23:59:32.903000+00:00     lolsmileyface    Hi
 2018-05-07 23:59:38.126000+00:00     lolsmileyface    Lets do it
 2018-05-07 23:59:52.162000+00:00     jo               we doing conors fist?
 2018-05-07 23:59:57.809000+00:00     jo               first
 2018-05-08 00:00:08.527000+00:00     lolsmileyface    No
 2018-05-08 00:00: 16. 711000+00:00   lolsmileyface    Cana€™t find# lets do ours
 2018-05-08 00:00:21.153000+00:00     jo               kk
 2018-05-08 00:00:37 .870000+00:00    lolsmileyface    # and sim
 2018-05-08 00:00:56.           0     jo               https://privnote.com/ZQvjhTK8#tl3WwRdTH
 2018-05-08 00:01:52.122000+00:00     lolsmileyface    Sent
 2018-05-08 00:02:41.602000+00:00     lolsmileyface    How goods this. The one from before
 2018-05-08 00:03:13.986000+00:00     jo               remember
 2018-05-08 00:03:16.203000+00:00     jo               one with doc
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 2018-05-08 00:03:17.905000+00:00    jo              and shit
 2018-05-08 00:03:20.623000+00:00    jo              hedge funds
 2018-05-08 00:03:21. 758000+00:00   jo              basicalluy
 2018-05-08 00:03:22.255000+00:00    jo              lol
 2018-05-08 00:05:09. 788000+00:00   lolsmileyface   Yes
 2018-05-08 00:05:21.843000+00:00    lolsmileyface   Shit service Rn messages all coming at once lol
 2018-05-08 00:11:48.635000+00:00    lolsmileyface   Yoo
 2018-05-08 00:12:10.897000+00:00    jo              yo
 2018-05-08 00:12:54.647000+00:00    lolsmileyface   Waiting. Sent it
 2018-05-08 00:15:28.080000+00:00    lolsmileyface   Hooggoo
 2018-05-08 00:15:29.633000+00:00    lolsmileyface   Gogogogogo
 2018-05-08 00:15:32.047000+00:00    lolsmileyface   GOOOOOGOGOGOGOG
 2018-05-08 00:15:33.539000+00:00    lolsmileyface   av-,


                                                                                        ~
 2018-05-08 00:15:42.321000+00:00    jo .            light
 2018-05-08 00:15:45.040000+00:00    jo
 2018-05-08 00:16:59.697000+00:00    jo              gonna reset via lte
 2018-05-08 00:17:05.879000+00:00    lolsmileyface Got service? And yeah LTE
 2018-05-08 00:26:26.817000+00:00    lolsmileyface · Did we restore it!
 2018-05-08 00:26:28.284000+00:00    lolsmileyface ?
 2018-05-08 00:26:30.715000+00:00    jo              yes
 2018-05-08 00:26:31.319000+00:00    jo              lol




                                                                               ••
 2018-05-08 00:26:33.396000+00:00    jo              in now again
 2018-05-08 00:27:21.402000+00:00    jo              he has a c;:oinbase
 2018-05-08 00:27:21.984000+00:00    jo              lol
 2018-05-08 00:27:24.571000+00:00    jo              alot of shit on there
 2018-05-08 00:27:27. 714000+00:00   lolsmileyface   Check authy
 2018-05-08 00:27:34.605000+00:00    lolsmileyface   Authy and commons?

                                                     Multi-device is disabled for your Authy account, so you cannot
                                                     currently add new devices. You can change this setting in the
 2018-05-08 00, 27:59.553000+00:00   jo
                                                     Settings section of the Authy app on any other device. If you do
                                                     not have any active devices, visit authy.com/phones/reset to
                                                     recover your account (this process takes up to 2 business days).
 2018-05-08 00:28:01.183000+00:00    jo              rip lol
 2018-05-08 00:28:04.248000+00:00    lolsmileyface   Fucj
 2018-05-08 00:28:05.520000+00:00    lolsmileyface   Fuck
 2018-05-08 00:28:07.959000+00:00    lolsmileyface   Damnit
 2018-05-08 00:28:58.159000+00:00    lolsmileyface   No passwords?
 2018-05-08 00:29:01.560000+00:00    jo              na
 2018-05-08 00:29:02.312000+00:00    jo              av-i
 2018-05-08 00:29:42.877000+00:00    lolsmileyface   Documents .json .dat
 2018-05-08 00:31:07 .871000+00:00   jo              2fa
 2018-05-08 00:31:09.571000+00:00    jo              fucking gay
 2018-05-08 00:31:10.250000+00:00    jo              lol
 2018-05-08 00:31:18.844000+00:00    lolsmileyface   I know dam nit
 2018-05-08 00:34:11.155000+00:00    lolsmileyface   History.google.com
 2018-05-08 00:34:21.359000+00:00    jo              lol
 2018-05-08 00:34:2?,            0   jo              look a tthios
 2018-05-08 00:34:40.779000+00:00    jo
 2018-05-08 00:34:45.679000+00:00    lolsmileyface   server to . What
 2018-05-08 00:34:51.823000+00:00    jo              forex
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 2018-05-08 00:34:53.330000+00:00     jo              or some shit
 2018-05-08 00:34:56.849000+00:00     jo              idk what that is
 2018-05-08 00:34:57.449000+00:00     jo              lmao
 2018-05-08 00:35:14.350000+00:00     lolsmileyface   Weird
 2018-05-08 00:35:55.741000+00:00     lolsmileyface   Evernote
 2018-05-08 00:35 :59.619000+00:00    lolsmileyface   History.google
 2018-05-08   00:36:01.870000+00:00   jo              doesnt have one
 2018-05-08   00:36:03.458000+00:00   jo              ill check ls
 2018-05-08   00:40:58.375000+00:00   jo              dropbox
 2018-05-08   00:41:01.556000+00:00   jo              ognna ceck latewr
 2018-05-08   00:41:02.127000+00:00   jo              lol
 2018-05-08 00:41: 13.459000+00:00    lolsmileyface   Yeah he has a lot
 2018-05-08 00:43:22.203000+00:00     lolsmileyface   Drafts




                                                                                          ~
 2018-05-08 00:45:15.722000+00:00     lolsmileyface   Phone might did
 2018-05-08 00:45:16.877000+00:00     lolsmileyface   Die
 2018-05-08 00:48:07.616000+00:00     jo              gu8ess this gmail is gay
 2018-05-08 00:48:08.104000+00:00     jo              lol
 2018-05-08 00:48: 11.655000+00:00    jo              rip
 2018-05-08 00:48:12.242000+00:00     jo              lol
 2018-05-08 00:48:14.197000+00:00     lolsmileyface   Ffs
 2018-05-08 00:48:20.216000+00:00     jo              most
 2018-05-08 00:48:22.442000+00:00     jo              ion coinbase
 2018-05-08 00:48:23 .795000+00:00    jo              sucks dick
 2018-ciS-08 00:48:24.881000+00:00    jo              fuck him
 2018-05-08 00:48:49.659000+00:00     lolsmileyface   Bust
 2018-05-08 00:48:51 .610000+00:00    lolsmileyface   Fuck lol
 2018-05-08 00:49:02.940000+00:00     lolsmileyface   la€™11 brb. Phone gonna die bro
 2018-05-08 00:49:15.441000+00:00     lolsmileyface   l0min la€""11 be back
 2018-05-08 01:21:00.165000+00:00     jo
 2018-05-08 01:23:22.339000+00:00     lolsmileyface   Hey
 2018-05-08 01:23:28.311000+00:00     lolsmileyface   Phone almost dead like 2%
 2018-05-08 01:23:52.576000+00:00     jo              Loi
 2018-05-08 01:36:46.772000+00:00     lolsmileyface   I cana€™t stand people man
 2018-05-08 01:36:51.674000+00:00     lolsmileyface People are starting to talk
 2018-05-08 01:36:54.80 000+00:00     jo              ?/
 2018-05-08 01:36:56.537000+00:00     jo              about what
 2018-05-08 01:37:00.135000+00:00     lolsmileyface . The Sm
 2018-05-08 01:37:04.944000+00:00     lolsmileyface I have people messaging me about it
 2018-05-08 01:37:05.756000+00:00     jo              who is
 2018-05-08 01:37 :08.654000+00:00    jo              ?
 2018-05-08 01:37:17 .632000+00:00    lolsmileyface   That kid that used to swim for me
 2018-05-08 01:37:19.177000+00:00     lolsmileyface   Sim
 2018-05-08 01:37:20.634000+00:00     lolsmileyface   Voku
 2018-05-08 01:37:25.205000+00:00     jo              say u got no idea
 2018-05-08 01:37:25 .915000+00:00    jo              lol
 2Q18°QS-Q8 0l:37:35.54QQQQ+QQ;QQ     lolsmileyface   He knows And he is a huge brat and will tell everybody
 2018-05-08 01:37:40.870000+00:00     lolsmileyface   Somebody told him so he already knows
 2018-05-08 01:37:42.640000+00:00     jo              say u got no idea
 2018-05-08 01:37:54.627000+00:00     lolsmileyface   a€ceYou and forza got a Sm@
 2018-05-08 01:38:09.188000+00:00     jo              say u dont do stuff with forza
 2018-05 -08 01:38: 10.772000+00:00   jo              lol
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 2018-05 -08 01:38:17.245000+00:00        lolsmileyface   a€reYou forza Joel a€CE
 2018-05-08 01:38:22.324000+00:00         lolsmileyface   Us3 lol
 2018-05-08 01:38:24.922000+00:00         jo              he knows my name?
 2018-05-08 01:38:26.866000+00:00         jo              who the fuck is he
 2018-05-08 01:38:34.993000+00:00         jo              becasuse I DONT FUCKING know him
 2018-05-08 01:38 :49.853000+00:00        jo              anytime someone mentions
 2018-05-08 01:38:52.327000+00:00         jo              about it
 2018-05-08 01:38:53.440000+00:00         jo              block them
 2018-05-08 01:38:54.773000+00:00         jo              easy
 2018-05-08 01:39:03.437000+00:00         lolsmileyface   I know. I dona€™t know who told these people shit
 2018-05-08 02:40:44.425000+00:00         lolsmileyface   Help lol
 2018-05-08 02:40:59.896000+00:00         jo              ?
 2018-05-08 02:41:10.117000+00:00         lolsmileyface   Need like dob and shit on this guy
 2018-05-08 02:41:17.550000+00:00         jo              Whylol
 2018-05-08 02:41:27.949000+00:00         lolsmileyface   Trying to take &
 2018-05-08 02:41:30.530000+00:00         lolsmileyface   @lmao
 2018-05-08 02:41:36.673000+00:00         lolsmileyface   Att has a cox email as alt
 2018-05-08 02:41:47.658000+00:00         jo              Oh

 2018-05-08 02:42:03.287000+00:00         lolsmileyface
                                                          I had the cox account awhile back and never even realized it
 2018-05-08   02 :53 :55.814000+00:00     lolsmileyface   Can I use your weleak
 2018-05-08   02:53 :57 .602000+00:00     lolsmileyface   Loi
 2018-05-08   02:54:14.307000+00:00       jo              owengomm :xkj(*X(8j
 2018-05-08   03:11:35 .915000+00:00      lolsmileyface   Whata€™s the att text site
 2018-05-08 03:11:42.809000+00:00         jo              ??
 2018-05-08 03:12:55.375000+00:00         lolsmileyface   Messages.att.com
 2018-05-08   03:12:59.405000+00:00       lolsmileyface   Or some shit
 2018-05-08   03:13:05.316000+00:00       jo              idk lol
 2018-05-08   03:13:09.055000+00:00       jo              dotnt h'nk they have one
 2018-05-08   03:13:09.658000+00:00       jo              tbh
 2018-05-08   03: 13 :41.45 7 000+00:00   lolsmileyface   Buy this mans social for me lol
 2018-05-08   03:38:16.545000+00:00       lolsmileyface   la€'"'m in the att
 2018-05-08   03:38:19.617000+00:00       lolsmileyface   Do you have a sim
 2018-05-08   03:39:08.218000+00:00       lolsmileyface   Doc said ask you
 2018-05-08   03:39:12.300000+00:00       lolsmileyface   Api for L4
 2018-05-08   03 :39:15.542000+00:00      lolsmileyface   When signed into att
 2018-05-08   03:39:26.963000+00:00       lolsmileyface   View type= zippy
 2018-05-08   03:39:31.030000+00:00       lolsmileyface   Or some shit at the endv
 2018-05-08   03:39:32.961000+00:00       lolsmileyface   ?
 2018-05-08   12:10:02.541000+00:00       lolsmileyface   ov~ -ov~ -
 2018-05-08   12:10:05.585000+00:00       lolsmileyface   Jo dead
 2018-05-08   12:34:21.602000+00:00       jo              lol
 2018-05-08   12:34:23.976000+00:00       jo              im alive
 2018-05-08 12:34:26.968000+00:00         jo              just woke up
 2018-05-08 12:36:38.953000+00:00         lolsmileyface   LOL
 2018-05-08 12:37:05.396000+00:00         jo              buying a 30k jeep for my fam lol
 2018-05-08 12:37:11.629000+00:00         jo              u think im insane
 2018-05-08 12:37:12.838000+00:00         jo              ov~,
 2018-05-08 12:37:20.463000+00:00         lolsmileyface   What kind
 2018-05-08 12:37:23.579000+00:00 . lolsmileyface         I know keeps good
 2018-05-08 12:37:37.119000+00:00 lolsmileyface           I was buying my girl one till she wanted the Beamer
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 2018-05-08 12:37:51.149000+00:00      jo              https://www. cha m bersm oto rca rsofn atick .com/ used/Jee p/2015-
                                                       Jee p-G ra nd+Ch ero kee-ld9c9e430a0e0a 17289b 71c720d16881.htm
 2018-05-08   12:38:01.239000+00:00    jo              haha
 2018-05-08   12:40:44.953000+00:00    lolsmileyface   Oh a Cherokee
 2018-05-08   12:40:48.953000+00:00    lolsmileyface   They are nice
 2018-05-08   12:40:52.380000+00:00    jo              hahah
 2018-05-08   12:40:53 .582000+00:00   jo              ye
 2018-05-08   13:01:55.407000+00:00    lolsmileyface   Who are you going to buy that for
 2018-05-08   13:02:03 .348000+00:00   jo              my aunt Joi
 2018-05-08   13:02:09.608000+00:00    jo              she needs a new car
 2018-05-08   13:02:16.679000+00:00    lolsmileyface   LOL
 2018-05-08   13:02:24.523000+00:00    lolsmileyface   thata€™s dope
 2018-05-08 13:02:27.534000+00:00      jo              ye
 2018-05-08 13:02:33.013000+00:00      jo              might buy my uncle a truck too
 2018-05-08 13:02:33.602000+00:00      jo              lol
 2018-05-08 13:02:35.406000+00:00      lolsmileyface . Do you live with her
 2018-05-08   13:02 :38.182000+00:00   jo
 2018-05-08   13:02:45.990000+00:00    jo
 2018-05-08   13:02:46.447000+00:00    jo              av-,,
 2018-05-08   13:02:55.986000+00:00    lolsmileyface   LOL thata€™s dope
 2018-05-08   13:03:01.210000+00:00    jo              theyre in florida rn
 2018-05-08   13:03:02.716000+00:00    jo              in tampa
 2018-05-08 13:03:11.109000+00:00      jo              my mom/ aunt
 2018-05-08 13:03:11.696000+00:00      jo              lol
 2018-05-08 13:03:12.480000+00:00      lolsmileyface   Go visit them
 2.018-05-08 13:03:18.729000+00:00     jo              lmaoo
 2018-05-08 13:03 :23.400000+00:00     jo              only there for 4 weeks
 2018-05-08 13:03:23.515000+00:00      lolsmileyface   Why tf you in mass
 2018-05-08 13:03:25.596000+00:00      jo              they went to cuba
 2018-05-08 13:03:30.073000+00:00      lolsmileyface   Ohh
 2018-05-08 13:03:31.052000+00:00      jo              idk Joi
 2018-05-08 13:03:34.136000+00:00      lolsmileyface   I thought you meant they live here
 2018-05-08 13:03:37.324000+00:00      jo              na
 2018-05-08 13:03:37.960000+00:00      jo              lol
 2018-05-08 13:03:39.315000+00:00      jo              visiting
 2018-05-08 13:03:54.199000+00:00      lolsmileyface   Go with them la€™11 meet up
 2018-05-08 13:03:58.476000+00:00      lolsmileyface   Tampa close
 2018-05-08 13:04:00.062000+00:00      jo              lmfaooo
 2018-05-08 13:04:08.423000+00:00      lolsmileyface   30min Miami 5hr LOL
 2018-05-08 13:04:12.014000+00:00      lolsmileyface   Tooo far
 2018-05-08 13:04:14.113000+00:00      jo              dude
 2018-05-08 13:04:14.986000+00:00      jo              miami
 2018-05-08 13:04:16.129000+00:00      jo              is better
 2018-05-08 13:04:16.922000+00:00      jo              cmon
 2018-05-08 13:04:18.538000+00:00      jo              cant lie
 2018-05-08 13:04:19.101000+00:00      jo              lol
                                                       lta€™s way better but that means I have to stay there and take off
 2018-05-08 13:04:29.491000+00:00      lolsmileyface
                                                       of work and shit
 2018-05-08 13:04:35.676000+00:00      jo              lmao
 2018-05-08 13:04:39.501000+00:00      jo              quit ur job yolo
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 2018-05-08    13:04:43.638000+00:00   jo               become a uber driver
 2018-05-08    13:04:45.493000+00:00   jo               on a lambo
 2018-05-08    13:04:46.242000+00:00   jo               LOL
 2018-05-08    13:04:50.717000+00:00   lolsmileyface    Maybe if I make a little more la€™11 quit
 2018-05-08    13:04:57.519000+00:00   jo               imaigne
 2018-05-08    13:04:59.057000+00:00   jo               a uber driver
 2018-05-08    13:05:00.327000+00:00   jo               lol
 2018-05-08 13:05:02.958000+00:00      jo              · av·,av·,
                                                        I dona€™t think they will let you know la€™m not allowed to do it
 2018-05-08 13:05:19.764000+00:00      lolsmileyface
                                                        with my truck
 2018-05-08 13:05:25.154000+00:00      lolsmileyface    Lmao They told me know
 2018-05-08 13:05:26.366000+00:00      lolsmileyface    No
  2018-05-08   13:05:31.527000+00:00   jo               why
  2018-05-08   13:05:34.261000+00:00   jo               its a fucking tuck
  2018-05-08   13:05:35.214000+00:00   jo               LOL
  2018-05-08   13:05:36.407000+00:00   jo               truck
  2018-05-08   13:05:39.267000+00:00   lolsmileyface    lta€™s modified I guess
  2018-05-08   13:05:42.217000+00:00   jo               LMAO
  2018-05-08   13:05:45.153000+00:00   lolsmileyface    ldk weird fucks
· 2018-05-08   13:05:46.170000+00:00   jo               dude i never seen a uber
  2018-05-08   13:05:47.799000+00:00   jo               using a truck
  2018-05-08   13:05:48.830000+00:00   jo               tbh
  2018-05-08   13:05:55.771000+00:00   lolsmileyface    I would do it I dona€™t care
  2018-05-08   13:06:13.391000+00:00   jo               theyll do lambos tho
  2018-05-08   13:06:16.006000+00:00   jo               LMAO

 2018-05-08 13:07:44.545000+00:00      lolsmileyface
                                                        la€™m probably going to buy a car soon if we make a little more
 2018-05-08    13:07:56.313000+00:00   jo               y lol
 2018-05-08    13:11:48.083000+00:00   lolsmileyface    What kind of car do you want
 2018-05-08    13:11:54.026000+00:00   jo               a MCCl'.AREN
 2018-05-08    13:11:55.027000+00:00   jo               av·,,
 2018-05-08 13:12:11.491000+00:00      jo               570
 2018-05-08 13:13:50.178000+00:00      lolsmileyface    Get 650
                                                        lta€'"'s in the middle lol And you can find them for a good deal
 2018-05-08 13:14:02.077000+00:00      lolsmileyface
                                                        sometimes
 2018-05-08    13:14:32.848000+00:00   lolsmileyface    $150k to $180k
 2018-05-08    13:14:39.103000+00:00   lolsmileyface    570 like $120
 2018-05-08    13:14:41.326000+00:00   lolsmileyface    K
 2018-05-08    13:14:56.190000+00:00   lolsmileyface    Do you know what the differences?
 2018-05-08    13:16:29.126000+00:00   lolsmileyface    Whata€"'s a MP4-12c
 2018-05-08    13:16:34.956000+00:00   lolsmileyface    I See them for sale all the time
 2018-05-08    13:18:27.166000+00:00   jo               Really lol
 2018-05-08    13:18:46.294000+00:00   jo               I havena€™t seen those before
 2018-05-08 13:23:37.480000+00:00      lolsmileyface
 2018-05-08 13:23:44.452000+00:00      lolsmileyface
 2018-05-08 13:23:46.406000+00:00      lolsmileyface
 2018-05-08 13:24:08.036000+00:00      lolsmileyface    650 is the yellow one. Bitch bad and thata€™s a good deal
 2018-05-08 13:24:34.986000+00:00      jo               Oh
 2018-05-08 13:24:38. 791000+00:00     jo               Not bad lol
 2018-05-08 13:25:25.437000+00:00      lolsmileyface    After the next good you know la€™11 buy something lol
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                                                              How the fuck does nobody have any super good lnstagrama€™s for
        2018-05-08 13:42:01.850000+00:00      lolsmileyface
                                                              sale
        2018-05-08 13:43:23.824000+00:00      jo              ldk lol
        2018-05-08 13:43:32.172000+00:00      jo              Maybe all sold now for cheap prices
          2018-05-08 13:47:27.305000+00:00    lolsmileyface   I remember meiggs Had a bunch of them
          2018-05-08 14:23:04.844000+00:00    lolsmileyface   Tell Xzayver HMU asap
    >     2018-05-08 15:37:54.723000+00:00    lolsmileyface   Att and sprint both work today
                                                              av-,,
          2018-05-08 16:49:25.324000+00:00    jo
          2018-05-08 16:49:28.800000+00:00    jo              Coner got someone he said
          2018-05-08 17:07:35.314000+00:00    lolsmileyface   Huh
          2018-05-08 17:11: 14.835000+00:00   lolsmileyface   When are you home
          2018-05-08 17:19:13.920000+00:00    lolsmileyface   Do you have sim on you   av-,
          2018-05-08 17:39:25. 742000+00:00   lolsmileyface   av--
          2018-05-08 18:05:40.176000+00:00    lolsmileyface   JO BMW SHOPPING
          2018-05-08 18:20:31.297000+00:00    lolsmileyface
          2018-05-08 18:52:51.202000+00:00    jo              im home lol
          2018-05-08 18:52:52.470000+00:00    jo              whats good
          2018-05-08 18:56:54.072000+00:00    lolsmileyface   I need sim lmao
          2018-05-08 18:57:17.211000+00:00    lolsmileyface
          2018-05-08 19:31:43.043000+00:00    lolsmileyface   How was bank
          2018-05-08 19:31:47.261000+00:00    lolsmileyface   Did you yell at them
          2018-05-08 19:31:49.933000+00:00    jo              annopying lol
          2018-05-08 19:31:56.562000+00:00    jo              i did a 25k check
          2018-05-08 19:31:56.785000+00:00    lolsmileyface   What did they mess up lol
        · 2018-05-08 19:32:04.418000+00:00    jo              and they stopped 5k online transfer
          2018-05-08 19:32:09.883000+00:00    jo              cuz it was "above 10k limit"
          2018-05-08 19:32: 10.997000+00:00   jo              like what
          2018-05-08 19:32: 11.595000+00:00   jo              lol
          2018-05-08 19:32:12.664000+00:00    lolsmileyface   LOL
          2018-05-08 19:32:20.287000+00:00    lolsmileyface
          2018-05-08 20:43:40.229000+00:00    lolsmileyface   DUDE WE READY
          2018-05-08 20:44:14.005000+00:00    lolsmileyface   lta€™s active lol googogo
          2018-05-08 20:45:37.979000-fO0:00   lolsmileyface
          2018-05-08 20:47:29.056000+00:00    lols ileyface   fbdishvshds
          2018-05-08 20:47:30.604000+00:00    lolsmileyface   S did dcddc
         2018-05-08 20:47:32.113000+00:00     lolsmileyface   Sibsusbdf
          2018-05-08 20:47:33.047000+00:00    lolsmileyface   Bshdjdbdf
          2018-05-08 20:48:49. 765000+00:00   lolsmileyface
          2018-05-08 20:51:03.274000+00;00    lolsmileyface
          2018-05-08 20:54:38.969000+00:00    lolsmileyface   JO LMAO
          2018-05-08 20:54:41.042000+00:00    lolsmileyface   JOHOJO
          2018-05-08 20:54:43.002000+00:00    lolsmileyface   DBDHODNDDSBDVSKNDD
          2018-05-08 20:59:10.472000+00:00    lolsmileyface
        2018-05-08 21:06:51.305000+00:00      lolsmileyface
        2018-05-08 21:10:20.510000+00:00      lolsmileyface   Jooooo
        2018-05-08 21: 12:02.417000+00:00     lolsmileyface
        2018-05-08 21:21:02.452000+00:00      lolsmileyface
        2018-05-08 22:09:21.353000+00:00      lolsmileyface   You here still




I
        2018-05-08 22:09:42.753000+00:00      lolsmileyface   Can you help me do this ig now pJease lol
        2018-05-08 22:09:46.828000+00:00      lolsmileyface   I just need sim
        2018-05-08 22:10:06.315000+00:00      lolsmileyface   After this
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         2018-05-08 22:12:53.416000+00:00        lolsmileyface   That cool please
         2018-05-08 22:15:58.430000+00:00        lolsmileyface   Pmsim
         2018-05-08 22:15:59.115000+00:00        jo              https://privnote.com/eHvyZLZi#nY0VxbhAR
         2018-05-08 22:16:51.784000+00:00        lolsmileyface   Got it
         2018-05-08 22: 16:59.271000+00:00       lolsmileyface
         2018-05-08 22:20:06.188000+00:00        lolsmileyface   Homieholmes200l@yahoo.com
         2018-05-08 22:22:43 .163000+00:00       lolsmileyface   4023
         201s-os-os 22:33:3 3 . • • • • o        lolsmileyface   Hey get ready he just opened it
         2018-05-08 22:33 :36.262000+00:00       jo              kk
         2018-05-08 22:39:25 .305000+00:00       lolsmileyface   Hey
         2018-05-08 22:39:28.745000+00:00        jo              yo
         2018-05-08 22:42:45.050000+00:00        lolsmileyface   Should be any minute
         2018-05-08 22:51:35.287000+00:00        lolsmileyface   Googogogogo
         2018-05-08 22:51:35.962000+00:00        lolsmileyface   Loi
         2018-05-08 22:51:38.612000+00:00        lolsmileyface   GOGOOGOGGOOGO
         2018-05-08 22:51:41.589000+00:00        lolsmileyface   av-,av-,
         2018-05-08 22:51:47.141000+00:00        lolsmileyface
         2018-05-08 22:56:36. 784000+00:00       jo              Random123!
         2018-05-08 23:02 :12.818000+00:00       lolsmileyface   Homiericky@outlook.com
         2018-05-08 23:08:00.227000+00:00        lolsmileyface   How do I check for a fb
         2018-05-08 23:08:01.937000+00:00        lolsmileyface   Loi
         2018-05-08 23:08:05.756000+00:00        lolsmileyface   She might have that added
         2018-05-09 00:22:15.377000+00:00        jo              ldk
         2018-05-09 00:22:18.577000+00:00        jo              Go on ig app
         2018-05-09 00:22:21.622000+00:00        jo              See fb linked
         2018-05-09 00:22:34.054000+00:00        lolsmileyface   I dona€™t think it says
         2018-05-09 00:22:51.660000+00:00        lolsmileyface   It tells me to connect with Facebook
         2018-05-09 00:22:56.443000+00:00        lolsmileyface   Connect a fb
         2018-05-09 00:23:02.507000+00:00        jo              Dona€™t need to
         2018-05-09 00:23:03.225000+00:00        jo              Loi
         2018-05-09 00:23:09.022000+00:00        jo              lta€'"' s good
         2018-05-09 00:23:09.779000+00:00        jo              Then
         2018-05-09 00:26:47.937000+00:00        lolsmileyface   Yayyy
         2018-05-09 01:55:21.035000+00:00        lolsmileyface   Shout please. Loi
         2018-05-09   01:55:28.859000+00:00      lolsmileyface   av--
         2018-05-09   01:55:34 .743000+00 :00    jo              Looo1
         2018-05-09   01 :55 :41. 772000+00:00   lolsmileyface   Need my people on here
         2018-05-09   01 :55 :46 .251000+00:00   lolsmileyface   To many freaks
         2018-05-09   11:42:15.605000+00 :00     lolsmileyface   Hi lol
         2018-05-09   13:09:57.401000+00:00      jo              yo
         2018-05-09   13:30:34.140000+00:00      lolsmileyface   What up
         2018-05-09   13:30:47.159000+00:00      jo              nm u
         2018-05-09   13:56:43.94 7000+00:00     lolsmileyface   Fuckin working lol
         2018-05-09 14:00:59.651000+00:00        jo              Loi
         2018-05-09 16:08:24.209000+00:00        jo              give me some of that Shish kebabs
         2018-05-09 16:08:36.998000+00:00        lolsmileyface   Loi dude they were very good
         2018-05-09 16:08 :42.371000+00:00       jo              ofc dude
         2018-05-09 16:08 :47.934000+00:00       jo              looks cheesy
         2018-05-09 16:08:48 .254000+00:00       jo              af
         2018-05-09 16:08:49.366000+00:00        jo              av-,,
         2018-05-09 16:08:53.312000+00:00        lolsmileyface   That with a little Smirnoff hit the spot last night
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 2018-05-09 16: 12:22.449000+00:00     lolsmileyface   Si
 2018-05-09 16:12:25.714000+00:00      jo              iight
 2018-05-09   16:12:29.629000+00:00    jo              u got telegram?
 2018-05-09   16:12:35.743000+00:00    jo              telling maj to sign up there
 201~-05-09   16:12:36.323000+00:00    jo              lol
 2018-05-09   16:12:42.105000+00:00    jo              since u aint used to xmpp
 2018-05-09   16: 12:46.243000+00:00   lolsmileyface   Tele yeah
 2018-05-09   16: 12:51.810000+00:00   jo              #?
 2018-05-09   16:13:12.890000+00:00    jo              or username
 2018-05-09   16:20:36.357000+00:00    jo              u made on yet?
 2018-05-09   16:20:37.677000+00:00    jo              one
 2018-05-09   16:20:38.868000+00:00    jo              "'
 2018-05-09   16:21:58.046000+00:00    lolsmileyface   Coinmission




                                                                                              ~
 2018-05-09   18:07:21.711000+00:00    lolsmileyface   Where the fuck are you guys at
 2018-05-09   19:29:34.311000+00:00    lolsmileyface   Wtf lol
 2018-05-09   21:13:58.784000+00:00    lolsmileyface   Dude
 2018-05-09   21:41:42.649000+00:00    jo              Whata€™s good
 2018-05-09   21:41:46.590000+00:00    jo              I was gone
 2018-05-09   21:41:48.349000+00:00    jo              lol
 2018-05-09   21:41:53.422000+00:00    jo              Had to do stuff
 2018-05-09   21:57:25.938000+00:00    lolsmileyface   Well sprint guy left for the day lol
 2018-05~09   22:06:49.653000+00:00    jo              Well so tomorrow
 2018-05-09   22:06:50.487000+00:00    jo              Di
 2018-05-09   22:06:52.097000+00:00    jo              do                       ~
 2018-05-09   22:06:56.303000+00:00    jo              Since maj is off anyways lo
 2018-05-10   00: 12:00.075000+00:00   lolsmileyface   Do we got atts?
 2018-05-10 00:19:38.049000+00:00      jo              No
 2018-05-10 13:08:24.157000+00:00      lolsmileyface   Cryjng
 2018-05-10 13:08:36:102000+00:00      jo              What happened lol
 2018-05-10 13:09:09.627000+00:00      lolsmileyface   ldk I just want nore
 2018-05-10 13:09:11.957000+00:00      lolsmileyface   More lol
 2018-05-10 13:10:35.993000+00:00      jo              oh
 2018-05-10 13:10:36. 729000+00:00     jo              lol
 2018-05-10 19:57:44.824000+00:00      lolsmileyface   NEEDVZW sim
 2018-05-10 20:15:25.914000+00:00      jo              Where Conor at
 2018-05-10 20:15:28.219000+00:00      jo              I sent him one
 2018-05-1114:17:04.455000+00:00       lolsmileyface   Who has 8 you or doc lol
 2018-05-1114:22:07.192000+00:00       jo              We both do lol
 2018-05-1114:22:17.753000+00:00       jo              Wona€™t be for sale
 2018-0S-1114:38:56.159000+00:00       lolsmileyface   Oh cause it has his bio on it lol
 2018-05-1114:39:00.400000+00:00       lolsmileyface   Wasna€"'t sure.
 2018-05-1114:39:03.260000+00:00       lolsmileyface   I dona€™t want it jw
 2018-05-11 23:55:25. 729000+00:00     lolsmileyface   JOJO!
 2018-05-11 23:55:40.295000+00:00      lolsmileyface   Howa€'"'s it looking la€™m almost done with dinner lol
 2018-05-11 23:55:54.343000+00:00      jo              nopthing much yet
 2018-05-11 23:55:59.471000+00:00      jo              av~:
 2018-05-11 23 :56:09.304000+00:00     lolsmileyface   1.3
 2018-05-11 23 :56:13.843000+00:00     lolsmileyface   We fuckin BOOLIN
 2018-05-11 23 :56:17.984000+00:00     lolsmileyface   Wym     av~,
 2018-05-11 23:56:23.383000+00:00      jo              1.3?
 2018-05-11 23:56:24.976000+00:00      jo              Loi
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 2018-05-11 23:56:27.353000+00:00      jo              theyre joking
 2018-05-11 23:57:10.848000+00:00      lolsmileyface   Oh tf
 2018-05-11   23:57:18.250000+00:00    lolsmileyface   Loi he has so many paseses and shit
 2018-05-11   23:57:20.673000+00:00    lolsmileyface   Passes*
 2018-05-11   23:57:21.729000+00:00    jo              lol
 2018-05-11   23:57:28.433000+00:00    jo              on a trezor
 2018-05-11   23:57:52.246000+00:00    lolsmileyface   Thata(™s shit. Check drop docs for backup seed?
 2018-05-11   23:57:55.801000+00:00    lolsmileyface Check authy?
 2018-05-11   23:57 :59.647000+00:00   jo              they did
 2018-05-11   23 :58:19.384000+00:00   lolsmileyface _ This guys rich
 2018-05-12   00:22:11.232000+00:00    jo              nice car eh
 2018-05-12   00:22:12.581000+00:00    jo              Kik
 2018-05-12   00:22:13.867000+00:00    jo              Loi
 2018-05-12   00:22:55.957000+00:00    lolsmileyface   You bought it lol
 2018-05-12   00:23:02.501000+00:00 · jo               yeah for my aunt
 2018-05-12   00:23:03.192000+00:00 jo                 haha
 2018-05-12   00:23:08.369000+00:00 jo                 my cousin sent that
 2018-05-12   00:23:12.254000+00:00 lolsmileyface      I remember lol. Dude I want a car bad
 2018-05-12 00:23:19.386000+00:00      jo              eh
 2018-05-12 00:23:25.996000+00:00      jo              go into delaers
 2018-05-12 00:23:28.747000+00:00      jo              start looking haha
 2018-05-12 00:33:02.947000+00:00      lolsmileyface   When shit goes up laf™II do it
                                                       Maybe like $10k laf™II start looking for car just want a little more
 2018-05-12 00:33:24.910000+00:00      lolsmileyface
                                                       to be safe lol
 2018-05-12 01:04:55.765000+00:00      jo              https://privnote.com/lezFGsUT#j Unu8Ld5 U
 2018-05-12 19:45:19.073000+00:00      jo              Never use Rey
 2018-05-12 19:45:22.310000+00:00      jo              As a. Sim swaQ
 2018-05-12 19:45:25.222000+00:00      jo              Hea(™s irresponsible
 2018-05-12 19:45:29.893000+00:00      jo              To dea tivate the verizon
 2018-05-12 19:45:40.424000+00:00      jo              this is the droid phone I used for 15 Verizonaf™s +
 2018-05-12 19:45:47.148000+00:00      jo              STJLL NOT blacklisted
 2018-05-12 19:46:01.619000+00:00      jo              And then Rey who used it 2 TIMES for Verizon is blacklisted
 2018-05-12 19:46:05.179000+00:00      lolsmileyface   I hate them lol
 2018-05-12 19:46:09.813000+00:00      jo              I do to
 2018-05-12 19:46:11.669000+00:00      lolsmileyface   I never fucj with rey
 2018-05-12 19:46:23.419000+00:00      jo              Dude I wasted money buying new phones
 2018-05-12 19:46:35.213000+00:00      jo              Just to realized this was all Reya(r"'s fault
 2018-05-12 19:46:39.596000+00 :00     jo              With the Ss
                                                       But yeah I hope this fuckers like ur plug understands how valuable
 2018-05-12 19:47:15.078000+00:00      jo
                                                       it is to deActivTe the sim
 2018-05-12 20:50:53+00:00             jo              Yo sudsy got a vzw we wanna do
 2018-05-12 20:50:56.363000+00:00      jo              Lmk lol
 2018-05-12 20:52:05.555000+00:00      jo              And a att too
 2018-05-12 21:00:39.232000+00:00      lolsmileyface   You got simd got that
 2018-05-12 21:04:24.386000+00:00      lolsmileyface   Sims for that
 2018-05-12 21:04:41.298000+00:00      jo              Yes
 2018-05-12 21 :05 :33.298000+00:00    lolsmileyface   Kk just asked
 2018-05-12 21:22:41.732000+00:00      lolsmileyface   We can do att
 2018-05-12 21:26:19.789000+00:00      jo              Say In they chat rlll
 2018-05-12 21:26:20.712000+00:00      jo              Loi
 2018-05-12 21:26:21.613000+00:00      jo              The
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      2018-05-12 21:26:25.215000+00:00    jo              Group chat
      2018-05-12 21:27:49.642000+00:00    lolsmileyface   Kk
      2018-05-13 01:59:37.723000+00:00    jo
      2018-05-13 02:00:36.047000+00:00    jo              +l (318) 423-1799
      2018-05-13 12:56:29.342000+00:00    lolsmileyface   WhoaC'"s it for
      2018-05-13 13:51:22.707000+00:00    jo              Glubz
      2018-05-13 13:51:47.172000+00:00    lolsmileyface   Is it a targ?
      2018-05-13 13:51:50.081000+00:00    jo              Yeah
      2018-05-13 13:51:56.817000+00:00    jo              Wait. No
      2018-05-13 13:51:58.500000+00:00    jo              lta("'s not
      2018-05-13 13:52:01.978000+00:00    jo              lta("'s a scammer lol
      2018-05-13 13:52:05.103000+00:00    lolsmileyface   Tf
      2018-05-13 13:52:10.629000+00:00    lolsmileyface   What he scam for
      2018-05-13 13:56:09.266000+00:00    jo              Just need his dox lol
      2018-05-13 13:56:11.392000+00:00    jo              Nonsimming
      2018-05-13 13:59:48.241000+00:00    jo
      2018-05-13 21:01:33.•••a:io         lolsmileyface   We need att sim brother
      2018-05-13 23:58:59.793000+00:00    jo              verizon?
      2018-05-13 23:59:00.592000+00:00    jo              lol
      2018-05-14 00:05 :28.066000+00:00   lolsmileyface   Att
      2018-05-14 00:05:33.071000+00:00    jo              VERIZON!
      2018-05-14 00:05:34.614000+00:00    jo              av-:
      2018-05-14 00:05:44.695000+00:00    lolsmileyface   Whoa(™s targ
      2018-05-14 00:05:50.891000+00:00    jo              minessssssssss
      2018-05-14 00:06:35.697000+00:00    lolsmileyface   Tomorr:ow he goes in
      2018-05-14 00:06:44.604000+00:00    jo              8(
      2018-05-14 00:06:45.577000+00:00    jo              av-:
      2018-05-15 01:56:12.773000+00:00    jo              We doing sprint or no?
      2018-05-15 02:51:29.685000+00:00    lolsmileyface   Phones are fucked
      2018-05-15 02:51:39.423000+00:00    jo              Tomorrow then lol
      2018-05-15 02:51:42.693000+00:00    lolsmileyface   Your sprint phone fucked. Billy sprint phone fucked
      2018-05-15 02:51:44.676000+00:00    jo              I got 3 new iPhones
      2018-05-15 02:51:58.ll00Q0+00:00    jo              3 new iPhones tomorrow lol
      2018-05-15 02:51:59.834000+00:00    lolsmileyface   We have the pin to a vzw and a sprint
      2018-05-15 02:52:09.114000+00:00    lolsmileyface   Sudsy has a vzw?
      2018-05-15 02:52:10.581000+00:00    jo              Yeah we gottta deactivate and put it back
      2018-05-15 02:52:13.515000+00:00    jo .            On the phone
      2018-05-15 02:52:14.891000+00:00    jo              Yes he does
      2018-05-15 02:52:24.472000+00:00    lolsmileyface   Okay tomorrow wea('MII do them all
      2018-05-15 02:52:39.177000+00:00    lolsmileyface   My sprint plug legit though
      2018-05-15 02:52:45.272000+00:00    lolsmileyface   He just gives me the pin lol
      2018-05-15 02:53:01.082000+00:00    jo              I hate sprint and eversiA3n
      2018-05-15 02:53:02.476000+00:00    jo              Befause
      2018-05-15 02:53:08.190000+00:00    jo              They fucking are shit
      2018-05-15 02:53:13.695000+00:00    jo              Activate and deactivate
      2018-05-15 02:53:17.639000+00:00    jo              Thata(™s the whole purpose
      2018-05-15 02:53:20.665000+00:00    jo              For and cdma phone
      2018-05-15 12:03:04.310000+00:00    lolsmileyface   What phone you get today
      2018-05-15 12:08:20.348000+00:00    lolsmileyface   Sprint?
      2018-05-15 12:08:23.147000+00:00    jo              Yes
      2018-05-15 12:08:25.293000+00:00    lolsmileyface   Ayyy
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 2018-05-15 12:08:27.885000+00:00       jo               Works with Verizon and all
 2018-05-15 14:28:48.180000+00:00       jo               Phones delivered but taking test today lol
 2018-05-15 14:28:54.818000+00:00       jo               So hopefully 3-4pm
 2018-05-15 15:06:34.980000+00:00       lolsmileyface    A TEST!
 2018-05-15 15:06:47.275000+00:00       jo               other words
 2018-05-15 15:06:50. 754000+00:00      jo               last day of school nigga
 2018-05-15 15:29:03.272000+00:00       lolsmileyface    Loi god damn it
 2018-05-15 17:51 :15.285000+00:00      jo               ready
 2018-05-15 17:51:16.475000+00:00       jo               got phones
 2018-05-15 17 :51 :39.170000+00:00     lolsmileyface    Ayyy
 2018-05-17 16:46:21.281000+00:00       lolsmileyface    Bby
 2018-05-17 16:58:22.709000+00:00       jo               yes sir
 2018-05-17 17:04:07.422000+00:00       lolsmileyface    When do sprint come
 2018-05-17 17:04:08.905000+00:00       lolsmileyface    Sims
 2018-05-17 17:08:03.255000+00:00       jo               Just noa
 2018-05-17 17:08:05.498000+00:00       jo               Got them




                                                                                     '*"
 2018-05-17 17:08:07 .644000+00:00      jo               Loi
 2018-05-17 17:29:07.687000+00:00       lolsmileyface    Loo good timing eh
 2018-05-17 21:10:20.928000+00:00       lolsmileyface    WhereaC™s conor
 2018-05-17 21:12:33.067000+00:00       jo               ldk lol
 2018-05-17 21:12:58.395000+00:00       lolsmileyface    Those sprints are good
 2018-05-17 23:11:47.962000+00:00       lolsmileyface    Where tf he at lol
 2018-05-17 23:16:01.532000+00:00       jo               ldk
 2018-05-17 23:33:26.421000+00:00       lolsmileyface    av-,
 2018-05-17 23:49:56.909000+00:00       jo               i can get sprint pins now
 2018-05-17 23:49:58.174000+00:00       jo               with a method
 2018-05-17 23 :50:17.155000+00:00      lolsmileyface    Really? Loi
 2018-05-17 23:50:22.287000+00:00       jo               yeah
 2018-05-17 23 :50:23.              0   jo               av-,,
 2018-05-17 23:50: 2..;4.831000+00:00   lolsmileyfa,ce   Me and conor got two to do.
 2018-05-17 23:50:27.226000+00:00       jo               employee portal
 2018-05-17 23:50:30.873000+00:00       jo               yeahik
 2018-05-17 23:50:31.356000+00:00       jo               im calling rn
 2018-05-17 23:50:35.005000+00:00       lolsmileyface    Okay dope.
 2018-05-17 23:50:39. 733000+00:00      lolsmileyface    We gotta be careful man
 2018-05-17 23:50:43.102000+00:00       lolsmileyface    Really careful
 2018-05-17 23 :50:47.650000+00:00      jo               y
 2018-05-17 23 :50:54. 746000+00:00     lolsmileyface    I B best friend
 2018-05-17 23:51 :06.312000+00:00      lolsmileyface    Initials are ib
 2018-05-17 23:51:08.140000+00:00       lolsmileyface    You know
 2018-05-17 23:52:13.527000+00:00       jo               UGo
 2018-05al7 23:52:15.351000+00:00       jo               is friends?
 2018-05-17 23:52:16.738000+00:00       jo               with 18
 2018-05-17 23:52:44.911000+00:00       lolsmileyface    Yes
 2018-05-17 23:52:48.823000+00:00       lolsmileyface    Best friend
 2018-05-17 23:52:55.302000+00:00       jo               ok not doing
 2018-05-17 23 :52:56.333000+00:00      jo               fuck him
 2018-05-17 23 :53 :03.418000+00:00     lolsmileyface    Wait which one is it
 2018-05-17 23:53 :07.104000+00:00      jo               UGO
 2018-05-17 23:53:11.547000+00:00       lolsmileyface    Which#
 2018-05-17 23:53:13.508000+00:00       jo               im not doing ians friend
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     2018-05-17 23:54:06.222000+00:00    lolsmileyface   The other one is good
     2018-05-17 23:55:20.876000+00:00    lolsmileyface   Which number were you doing
     2018-05-17 23:59:35.089000+00:00    jo              7204025832
     2018-05-17 23:59:43.604000+00:00    lolsmileyface · Hea€™s food
     2018-05-17 23:59:46.329000+00:00    lolsmileyface Good to do
     2018-05-17 23:59:58.390000+00:00    lolsmileyface ib friend is like 621 or 612 some shit
     2018-05-18 00:43:55.641000+00:00    lolsmileyface    How tf do we fix it
     2018-05-18 00:52:26.121000+00:00    jo               Wea€™re trying
     2018-05-18 00:52:38.958000+00:00    lolsmileyface    What are they saying
     2018-05-18 00:54:13.489000+00:00    lolsmileyface    I dona€™t get how imei is wrong
     2018-05-19 02:01:11.276000+00:00    lolsmileyface    Who you in Vegas with
     2018-05-23 03:41:45.            0   jo               Wherea€™s voku lol
     2018-05-23 03:47:01.544000+00:00    lolsmileyface    Grounded
     2018-05-23 03:47:02.485000+00:00    lolsmileyface    Why
     2018-05-23 03:50:03.083000+00:00    jo               Grounded wtf lool
     2018-05-23 03:50:11.220000+00:00    jo               His mom a bitch dude I swear
     2018-05-23 11:42:46.520000+00:00    lolsmileyface    Imagine 17 black and .being grounded
     2018-05-23 11:42:47.547000+00:00    lolsmileyface    LOL
     2018-05-23 17:06:02.542000+00:00    jo               Loi
     2018-05-23 23:19:40.494000+00:00    lolsmileyface    We got any att?
     2018-05-23 23:20:22.893000+00:00    jo               i got sims lol
     2018-05-23 23:28:18.262000+00:00    lolsmileyface    Conor has all the targs and hea€™s afk
     2018-05-23 23:32:27 .830000+00:00   jo
     2018-05-24 01:23:12.537000+00:00    lolsmileyface    New one
     2018-05-24 04:09:51.315000+00:00    jo               tmo conenct yes?
     2018-05-24 04:09:53.352000+00:00    jo               connect*
     2018-05-24 04:09:56.033000+00:00    jo               i got a target to do
     2018-05-24 11:48:05.234000+00:00    lolsmileyface    l'think
     2018-05-24 16:23:58.325000+00~00    jo               Loi
     2018-05-24 16:24:02.943000+00:00    jo               Leta€™s do it
     2018-05-30 01:14:27.826000+00:00    jo               Yo howa€™s life been
     2018-05-30 01:14:30.073000+00:00    jo               Loi
     2018-05-30 01:20:23.519000+00:00    lolsmileyface    lta€™s life lol.
     2018-05-30 01:20:27. 701000+00:00   lolsmileyface    I need new plugs man
     2018-05-30 01:37:10.817000+00:00    jo               Ahh fuck plugs tbh lol
     2018-05-30 01:37:14.307000+00:00    jo               la€™m happy where la€™m at
     2018-05-30 01:37:21.533000+00:00    jo               Just cana€™t risk anymore
)    2018-05-30 01:37:33.202000+00:00    lolsmileyface    Same but I just bought a $100k truck lol
     2018-05-30 01:37:41.916000+00:00    jo               I hope voku didnt gets raided
     2018-05-30 01:37:49.745000+00:00    lolsmileyface    ldk where he been man. Weird
     2018-05-30 01:37:50.112000+00:00    jo               Hope ita€™s just his parents lol
     2018-05-30 01:37:55.133000+00:00    lolsmileyface    I hope so to lol
     2018-05-31 00:23:01.004000+00:00    lolsmileyface    Need att sim
     2018-05-31 00:26:52.039000+00:00    jo              . Yo
     2018-05-3100:27:04.187000+00:00     lolsmileyface    Att sim
➔    2018-05-31 00:27:08.438000+00:00    lolsmileyface    Got a new plug I think
     2018-05-3100:28:26.759000+00:00     jo               Waiting for router to reboot lol
     2018-05-31 00:28:33.611000+00:00    jo               But yeah la€™11@msg xonor
     2018-05-31 00:28:38.527000+00:00    lolsmileyface    Loi okay no prob
     2018-06-0117:11:20.296000+00:00     lolsmileyface    What you doing lol
     2018-06-03 03:50:24.674000+00:00    jo               Yo
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       . 2018-06-03 03:50:30.003000+00:00   jo               U there
         2018-06-03 14:37:36.883000+00:00   lolsmileyface    Hey
        2018-06-03 14:41:03. 738000+00:00   jo               Whata€™s good
        2018-06-04 00:13:51.515000+00:00    lolsmileyface    Brother how you been
        2018-06-04 11:51:34.619000+00:00    jo               Going to la today lol
        2018-06-04 11:51:43.827000+00:00    jo              First day traveling
        2018-06-04 11:51:56.392000+00:00    jo              Howa€™s ur new truck lmao
        2018-06-04 12:01:59.663000+00:00    lolsmileyface · What you doing there lol.
---)-+ 201~-06-04   12:02:02.403000+00:00   lolsmileyface My trucks badass
       2018-06-04   12:02:17.513000+00:00   jo              touring around lol
       2018-06-04   12:02:22.609000+00:00   jo              and xzavyers bday
       2018-06-04   12:02:27.559000+00:00   jo              damn
       2018-06-04   12:02:32.907000+00:00   jo              100k truck insane   av~,
       2018-06-04   12:02:37.041000+00:00   jo               do u got the same horn
       2018-06-04   12:02:38.330000+00:00   jo               av-,
       2018-06-04   12:02:55.302000+00:00   lolsmileyface    Yeah I have to put my horns in it lol
       2018-06-04   12:03:oo.ogsooo+oo:oo   jo               hahahahaha
       2018-06-04   12:03:07.413000+00:00   lolsmileyface    Xzayver bday wtf I didna€™t get a invite lol
       2018-06-04   12:03:12.600000+00:00   lolsmileyface    How long you going there for
       2018-06-04   12:03:19.004000+00:00   jo               idk tbh lol
       2018-06-04   12:03:20.355000+00:00 jo                 his bday
       2018-06-04   12:03:23.325000+00:00 . jo               the 15th
       2018-06-04   12:03:36.752000+00:00 jo                 he got a ~:lub and sick airbnb
       2018-06-04   12:03:40.861000+00:00 jo                 gonna be lit lmao
       2018-06-04   12:03:54.569000+00:00 jo                 would've been nice ·tu came in the weekend

        2018-06-04 12:06:29.323000+00:00    lolsmileyface
                                                             I didna€™t know about it and I ainacn•t gonna come un invited lol
        2018-06-04 12:06:31.467000+00:00    lolsmileyface    Thata€™s weird
        2018-06-04 12:06:44.783000+00:00    jo               i think he just started
        2018-06-04 12:06:48. 756000+00:00   jo               its not yet confirmed
        2018-06-04 12:06:58.042000+00:00    jo               i had to help him with some shit
        2018-06-04 12:07:16.334000+00:00    lolsmile'iface   Whoa€'"'s all going
        2018-06-04 12:07:30.853000+00:00    jo               me i got 4 homies with me and theyre all coming too lol
        2018-06-04 12:07:35.002000+00:00    jo               declan kolin healur
        2018-06-04 12:07:37.519000+00:00    jo               and sudsy
        2018-06-04 12:07:57. 715000+00:00   lolsmileyface    Hmmmm
        2018-06-04 12:08:21. 770000+00:00   jo               imma talk to xzavyer and see if u can come
        2018-06-04 12:08:43.482000+00:00    jo               oh yeah ajay coming too
        2018-06-04 12:34:18.946000+00:00    lolsmileyface    Oh god lmao
        2018-06-05 03:02:45.463000+00:00    lolsmileyface    You really in LA
        2018-06-05 03:02:46.541000+00:00    lolsmileyface    Lmao
        2018-06-13 03:31:55.089000+00:00    lolsmileyface    TRAVEL GOD JO!
        2018-06-15 16:07:33.627000+00:00    lolsmileyface    Rip Jo
        2018-07-02 21:25:17.064000+00:00    jo               yo
        2018-07-02 21:25:19.171000+00:00    jo               U there bro
        2018-07-02 21:25:27.336000+00:00    jo               I need dox info on a sprint
        2018-07-02 21:25:30.033000+00:00    jo               Like everything
        2018-07-02 21:25:34.932000+00:00    lolsmileyface    Hello
        2018-07-02 21:25 :36.030000+00:00   jo               Name address dob
        2018-07-02 21:25:37.344000+00:00    lolsmileyface    Whata€'"'s up
        2018-07-02 21:25:45.974000+00:00    jo               nm bro
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 2018-07-02 21:25:46.213000+00:00       lolsm ileyface   Whata€™s up man what happen
 2018-07-02 21:25:53.320000+00:00       jo               I gotta do backgroun~ checks
 2018-07-02 21:25:54.136000+00:00       jo               On girls
 2018-07-02 21:25:59.630000+00:00       jo               Like I want to Make sure theya€™re 18
 2018-07-02 21:25:59.938000+00:00       lolsmileyface    LOL tf
 2018-07-02 21:26:02.688000+00:00       lolsmileyface    What
 2018-07-02 21:26:06.782000+00:00       jo               Like idk man
 2018-07-02 21:26:13.226000+00:00       jo               These bitches dona€™t bring their ida
 2018 -07-02 21:26:14.497000+00:00      jo               lss
 2018-07-02 21:26:16.467000+00:00       jo               Ids
 2018-07-02 21:26:22.280000+00:00       jo               So I kick them out and shit
 2018-07-02 21:26:34.443000+00:00       lolsmileyface    Look on fb lol
 2018-07-02 21:26:38.712000+00:00       jo               But there 1 I gotta do a bg check
 2018-07-02 21:26:43.261000+00:00       jo               Na this girl is hard af to dox
 2018-07-02 21:26:45 .206000+00:00      jo               Shea€"'s a russian
 2018-07-02 21:26:51.444000+00:00       jo               I tried everything dude isk
 2018-07-02    21:26:52.637000+00:00    jo               ldk
 2018-07-02    21:27:12.290000+00:00    lolsmileyface    How many girls you hook up with so far
 2018-07-02    21:27:20.111000+00:00    jo               dude therea€™s so many girls
 2018-07-02    21:27:22.835000+00:00    jo               I dona€™t fuck them tho
 2018-07-02    21:27:28.305000+00:00    jo               I never fucked any yet honestly
 2018-07-02    21:27:32. 793000+00:00   jo               I gotta watch out for my friends
 2018-07-02    21:27 :43.243000+00:00   jo               Kolin fucked a 15 y/o a few weeks ago
 2018-07-02    21:27:46.956000+00:00    lolsmileyface    LOL
 2018-07-02    21:27:50.040000+00:00    jo               Yeah dude
 2018-07-02    21:27:50.362000+00:00    lolsmileyface    tf
 2018-0.7-02 21:27:55 .293000+00:00     jo               And xzavyer kissed her too
 2018-07-02 21:27:57.192000+00:00       jo               And shit
  2018-07-02   21:28:01.246000+00:00    jo               Like idk man
  2018-07-02   21:28:08.383000+00:00    jo               I dona€'"'t want any stupid underage girls
  2018-07-02   21:28:13.702000+00:00    jo               At tonight party
· 2018-07-02   21:28:14.371000+00:00    lolsmileyface    How long you gonna be there foe
  2018-07-02   21:28:19.502000+00:00    jo               Like 15
  2018-07-02   21:28:21.501000+00:00    jo               15-Jul
  2018-07-02   21:28:24.813000+00:00    lolsmileyface    Damnit
  2018-07-02   21:28:28.038000+00:00    jo               Loool
  2018-07-02   21:28:41.986000+00:00    lolsmileyface    I have .vacation the 19th idk where to go
  2018-07-02   21:28:50.649000+00:00    lolsmileyface    For a week
 2018-07-02    21:28:55.896000+00:00    jo               ahhh
 2018-07-02    21:28:58.433000+00:00    jo               Doc man
 2018-07-02    21:29:00.306000+00:00    jo               ov-, ov-, ov-,
 2018-07-02    21:29:01.065000+00:00    lolsmileyface    Rip
 2018-07-02    21:29:04.615000+00:00    jo               U seen that tweet
 2018-07-02 21:29:06.977000+00:00       jo               Ian ba
 2018-07-02 21:29:08.294000+00:00       jo               Bs
 2018-07-02 21:29:12.884000+00:00       lolsmileyface    We know who did it
 2018-07-02 21:29:22.743000+00:00       jo               Yeah
 2018-07-02 21:29:25 .105000+00:00      jo               Stupid lmao
 2018-07-02 21:29:35 .959000+00:00      lolsmileyface    Ohwell I hope hea€™s okay
 2018-07-02 21:29:49.014000+00:00       jo               Yeah so funny he just tweets out names
 2018-07-02 21:29:56.169000+00:00       lolsmileyface    Hea€™s dumb af
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      2018-07-02 21:29:58.471000+00:00   jo              Nd says lizard squad lmao
      2018-07-02 21:30:00.199000+00:00   jo              Like wtf
      2018-07-02 21:30:01.739000+00:00   jo              Loi
      2018-07-02 21:30:14.155000+00:00   lolsmileyface   LOL black idiot
      2018-07-02 21:30:21.366000+00:00   lolsmileyface   Dude I heard some shit went down
      2018-07-02 21:30:22.724000+00:00   lolsmileyface   WithAj
      2018-07-02 21:30:23.921000+00:00   lolsmileyface   Lmfao
    · 2018-07-02 21:31:00.690000+00:00   jo              wymlmao
      2018-07-02 21:31:09.571000+00:00   jo              Ajay got evicted from his apt
      2018-07-02 21:31:11.637000+00:00   jo              Funny af
      2018-07-02 21:31:22.691000+00:00   lolsmileyface   ldk I heard he tried stealing or some shit
      2018-07-02 21:31:32.644000+00:00   lolsmileyface   Why he get evicted lol
                                                         He didna€™t steal anything from me but I heard xzavyer shit got
     2018-07-02 21:32:34.531000+00:00    .jo
                                                         stolen by andreya
     2018-07-02 21:32:38.263000+00:00 jo                 And idk honestly@lol
     2018-07-02 21:33:03.899000+00:00 lolsmileyface      What did she take LMAO
     2018-07-02 21:33:29.327000+00:00 jo                 ldk dude
     2018-07-02 21:33:31.134000+00:00 jo                 Alot@of shot
     2018-07-02 21:33:32.391000+00:00 jo                 Shit
     2018-07-02 21:33:33.889000+00:00 jo                 Like shoes
     2018-07-02 21:33:36.608000+00:00 jo                 Trezor
     2018-07-02 21:33:37.656000+00:00 jo                 Loi
     2018-07-02 21:33:44.228000+00:00 lolsmileyface      Trez! LMAO
     2018-07-02 21:33:46.881000+00:00 lols ileyface      NOWAY
     2018-07-02 21:33:57.523000+00:00 lolsmileyface      a€ceFuck too Xzayver ita€™s MY money nowa€ HAH
     2018-07-02 21:34:05.952000+00:00 jo                 Lolol
     2018-07-02 21:34:09.229000+00:00 jo                 Bitch a hoe an
     2018-07-02 21:34:15.888000+00:00 jo                 ldk why xzavyer gave her keys
     2018-07-02 21:34:19.393000+00:00 jo                 Which she'>bas still
     2018-07-02 21:34:21.058000+00:00 jo                 Lmdao
     2018-07-02 21:34:22.645000+00:00 lolsmileyface      Was the girl he cheated with hit
     2018-07-02 21:34:25.341000+00:00 lolsmileyface      Hot
     2018-07-02 21:34:28.726000+00:00 jo                 ldk man
     2018-07-02 21:34:30.282000+00:00 jo                 Shea€™s 17
     2018-07-02 21:34:31.805000+00:00 jo                 Actually
     2018-07-02 21:34:32.801000+00:00 jo                 LOL
     2018-07-02 21:34:41.839000+00:00 jo                 idk if ita€™s legal here but yeah
     2018-07-02 21:34:42.501000+00:00 . lolsmileyface    Is she hot though lol
     2018-07-02 21:34:45.896000+00:00 jo                 Na
     2018-07-02 21:34:47.291000+00:00 jo                 Shea€™s ufly
     2018-07-02 21:34:50.188000+00:00 jo                 Asian bitch
     2018-07-02 21:34:52.675000+00:00 lolsmileyface      Dumb lol
     2018-07-02 21:34:54. 733000+00:00 jo                Lolol
     2018-07-02 21:34:58.558000+00:00 lolsmileyface      Not drea
     2018-07-02 21:35:05.607000+00:00 lolsmileyface      The other girl he cheated on her with
     2018-07-02 21:35:13.926000+00:00 lolsmileyface      Was the girl he cheated with hot
     2018-07-02 21:35:45.455000+00:00 jo                 Oh
     2018-07-02 21:35:46.537000+00:00 jo                 ldk
     2018-07-02 21:35:47.388000+00:00 jo                 Loi
     2018-07-02 21:35:50.498000+00:00 jo                 He got lots of bitxhes
     2018-07-02 21:36:03.425000+00:00 lolsmileyface      Loi thata€™s funny man.
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             2018-07-02 21:36:07 .567000+00:00     lolsmileyface   I should of came
             2018-07-02 21:36:29.283000+00:00      jo              Yeah lmao
             2018-07-02   21:36:36.265000+00:00    jo              Shit insane
             2018-07-02   21:36:38.750000+00:00    jo              Parties all say
             2018-07-02   21:36:40.139000+00:00    jo              Day
             2018-07-02   21:36:44.409000+00:00    lolsmileyface   I know smh lol
             2018-07-02   21:36:52.727000+00:00    lolsmileyface   Next time maybe
...---   -   2018-07-02   21:37:58.137000+00:00    lolsmileyface   Just donaf™t blow all your money lol
             2018-07-02   21:38:34.557000+00:00    jo              yeah I still got 7 figs lmao
             2018-07-02   21:38:39.823000+00:00    jo              ldk how
             2018-07-02   21:38:52 .945000+00:00   lolsmileyface   I dona€™t lol
             2018-07-02   21:39:04.966000+00:00    lolsmileyface   High 6s idk how
             2018-07-02   21:39:10.667000+00:00    jo              Lolol
             2018-07-02   21:39:14.022000+00:00    lolsmileyface   I thought I had 7figs lmao
             2018-07-02 21:39:40.755000+00:00      jo              dude cuz crypto went down af
             2018-07-02 21:39:54.813000+00:00      jo .            I got like l.lm atm
             2018-07-03 14:16:40.333000+00:00      lolsmileyface   Any idea where phobia is
             2018-07-04 04:29:51.012000+00:00      jo              I was talking to him yesterday why Ill
             2018-07-04 12:48:28.324000+00:00      lolsmileyface   ldk how to contact him
             2018-07-05 12:28:57.197000+00:00      lolsmileyface   Bruhhh lol
             2018-07-05 20:05:14.095000+00:00      jo              Yo what sup bro
             2018-07-05 20:05:16.906000+00:00      jo              Howa€™s everything going
             2018-07-05 20:05:19.667000+00:00      jo              I miss u so mucb
             2018-07-05 20:05:20.692000+00:00      jo              Hahaha
             2018-07-05 2D_:0S:42.656000+00:00     lolsmileyface   Dude you havena€™t heard me say GOGOGOGO in awhile
             2018-07-05 20:05:49.394000+00:00      jo              GOGOGOGOGOGOGOGOG
             2018-07-05   20:05:52 .140000+00:00   jo              hahahahaha
             2018-07-05   20:05:55.795000+00:00    jo              I miss the days ·
             2018-07-05   20:06:01.418000+00:00    jo              Doc shady me u
             2018-07-05   20:06:10.502000+00:00    lolsmileyface   I did two the other day lol
             2018-07-05   20:06:16.787000+00:00    jo              U got any hood
             2018-07-05   20:06:17.965000+00:00    jo              Good
             2018-07-05   20:06:18.796000+00:00    jo              Ones
             2018-07-05   20:06:24.437000+00:00    jo              Or just bad luck lol
             2018-07-05   20:06:26.359000+00:00    lolsmileyface   I been slacking tbh
             2018-07-05   20:06:29.636000+00:00    lolsmileyface   Bad luck.
             2018-07-05   20:06:41.623000+00:00    jo              I honestly just dona€™t want to do that stuff anymore
             2018-07-05   20:06:42.197000+00:00    lolsmileyface   He had SO much. Like 600btc and a lot of alts
             2018-07-05   20:06:44.906000+00:00    jo              It scares me a lot lmao
             2018-07-05   20:06:48.201000+00:00    jo              Damn really
             2018-07-05   20:06:59.389000+00:00    jo              Like I threw away all@my soms
             2018-07-05   20:07:01.171000+00:00    jo              And phones .
             2018-07-05   20:07:08.180000+00:00    jo              ldk if I want to ever go back now
                                                                   Couldna€™t get it. And we were downloading this shit coin wallet
             2018-07-05 20:07:13.524000+00:00      lolsmileyface   that he had $20k in and he took the coins before our wallet
                                                                   downloaded lol
             2018-07-05 20:07:19.864000+00:00      lolsmileyface   We got like $3k each av-,
             2018-07-05 20:07:22.551000+00:00      jo              Damn lmfao
             2018-07-05 20:07:25.731000+00:00      jo              Bad luck dude
             2018-07-05 20:07:37.666000+00:00      lolsmileyface   la€™m only gonna do till lm then la€™m done
             2018-07-05 20:07:51.188000+00:00      lolsmileyface   Coins down so gottta reup a bit
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. t .
                     /
  2018-07-05 20:07·5                                  Yeah man after th
  2018-07-05 20:07:5 1.945000+00:00   jo              I just dona€™t    at Ian tweet
                                                      Lmao       .   want to be involved u k now
  2018-07-05 20:07:5 8.962000+00:00   jo
  2018-07-05 20:08:19.918000+00:00    jo
                                      lolsmileyface   I know and th ey both keep hitt·mgmeu
  2018-07-05 20 . 5.128000+00·00                      LMFAO                                 p to do sh;t
               :08·19           .     lolsmileyface
  2018-07-05 20· . .460000+00:00
               .12:59.340000+00:00    lolsmileyface
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                                           SEARCH WARRANT




     STATE OF FLORIDA
     COUNTY OF PASCO




                            TO THE SHERIFF AND/OR DEPUTY SHERIFF
                                     OF PASCO COUNTY FLORIDA




     The attached Affidavit of Search Warrant coming on to be heard and the Court having examined
    · the Affiant under oath and having been satisfied that the facts as alleged do exist and that the law
     is being violated as alleged and/or property which constitutes evidence relevant to proving that
     said crime has been committed is located therein, a Search Warrant is hereby allowed and issued
     to search the premises described in the attached Affidavit for Search Warrant, to wit: that in
     certain dwelling located at 9733 Lake G:hrise Ln. Pol Richey, FL, Pasco County, Florida; legal
     description of REGENCY PARK UNIT 6-A PB 14 PG 61 LOT 1680 OR 4025 PGS 1062-1065;
     said residence being more particularly described as a single story concrete and stucco dwelling;
     said residence is tan in color with white trim; said residence has brown colored asphalt shingled
     roof; said residence has an attached single-car garage with a concrete driveway leading to the
     garage door; said residence has a white colored screen type door which is facing East, which
     opens outward and a dark colored frontdoor, which opens inward; said residence has.one double
     window south of the front door on the front of the house and one single window north of the
     front door on the front of the house; the laws of Florida, Chapters 777.04, 812.014(2)(a),
     896.101(3)(a)(2a), and 815.06(3)(b)2 are being violated and/or property which constitutes
     evidence relevant to proving that said crime(s) has been committed is located therein as
     described in the attacl}ed Affidavit for Search Warrant sworn to by Affiant, Detective D. Stewart
     of the Pasco County Sheriffs Office.


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                 THESE PRESENTS THEREFORE are to command you with the necessary and
   proper assistance as the exigencies of the occasion may demand or require, either in the daytime
   or nighttime and on any day of the week including Sunday and holidays, in or on said premises
   and the curti_lage thereof, and any persons or vehicles thereon reasonably suspected of being
   involved in the illegal activity which is the subject of this warrant, to diligently search for the
   herein described property, to wit:
           1. Computer hardware to include any and all computer equipment used to collect,
          analyze, create, display, convert, store, conceal, or transmit electronic, magnetic, optical,
          or similar computer impulses or data. Hardware includes (but is not limited to) any data-
          processing devices (such as central processing units, cellular devices, personal
          computers to include "laptop" or "notebook" or "pocket" computers); tablets, deactivated
          cell phones, internal and peripheral storage devices (such as fixed disks, external hard
          disks, Floppy disk drives and diskettes, tape drives and tapes, optical storage devices,
                                           -
          and other electronic media devices);


          2. Computer input and output devices to include but not limited to keyboards, mice,
          scanners, printers, monitors, network communication devices, modems and external or
          connected devices used for accessing computer storage media;


          3. Computer storage media and the digital content to include but not limited to Floppy
          disks,- hard drives, VHS tapes, tapes, DVD disks, CD-ROM disks, USS disks, external
          hard drives, or other magnetic, optical or mechanical storage which can be accessed by
          computers to store or retrieve data, cryptocurrency wallets, personal identifying
          information, SIM card data, and documenting conversations and/or financial transactions;


          4. Computer software and application software installation and       operation media;


          5. Computer software, hardware or digital contents related to the sharing of Internet
          access over wired or wireless networks allowing multiple persons to appear on the ·
          Internet from the same IP address;


          6. Manuals and other documents (whether digital or written) which describe operation of
          items or software seized;



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           7. Items containing or displaying passwords, access codes, usernames or other
           identifiers necessary to examine or operate items, software or information seized;


           8. Correspondence or other documents (whether digital or written) pertaining to Bitcoin;
           cryptocurrency;   internet activity;   internet payment;    banking    information; financial
           transactions; wallet IDs; cryptocurrency exchanges; any information related to Discord,
           Skype, Telegram, or any other chat programs; any items or files containing QR codes or
           barcodes; buying and/or selling of cryptocurrencies;


           9. Items and/or documents that would tend to establish ownership or use of ·
           computers/electronic devices and ownership or use of any Internet service accounts
           accessed to perpetuate a fraud scheme; to include credit card bills, telephone bills,
           correspondence and other identification documents containing addresses, names, phone
           numbers, dates of birth, and/or social security numbers;


           10. Items and/or documents that would tend to show dominion and control of the property
           searched, to include utility bills, telephone bills, correspondence, rental agreements and
           other identification documents ad resses, names, and/or phone numbers;


           11. Electronic data maintained on the seized computer(s), electronic devices, or
           computer related storage devices such as Floppy diskettes, tape backups, computer
           printouts, and "zip" drive diskettes, in particular, data in the form of images and/or videos
           and any accompanying text associated with those images, and/or log files recording the
           transmission, of images as they relate to violations of Florida law cited herein;


           12. All 'electronic files and data on any computers, electronic devices, cell phones, and
           tablets that show an individual's ownership, possession and control at time of the offense;


           13. Any and all software that may be utilized to create, receive, distrib~te, store, or modify
           the evidence sought and all software that may be used to communicate or store online
           communications;


           14. Encrypted, deleted and unallocated files on electronic media that contain any of the
           information listed in previous paragraphs;


           15. Notations, files or documentation containing passwords or codes ne~essary to unlock


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          computer files or to access the computer or storage media;


          16. Any and all equipment used to store offline (ie: "cold store") cryptocurrencies. These
          include, but are not limited to, TREZOR devices;


          17. Any and all cell phones, SIM cards, or other means of communication devices;


          18. Any and all items regarding the shipment of SIM cards, cell phones, and currencies in
          all forms;


          19. Any and all items, documents, and/or electronic data regarding the documenting of
          financial transactions, including but not limited to, curr,ency, cryptocurr-ency, and
          vehicle/asset purchases;


          20. Any and all written and/or electronic documentation detailing currency and
          cryptocurrency exchanges;


                                                                                  '
          21. Any ar\d all written or electronic documents or files containing decipher keys,
          encryption keys, passcodes, passwords, passphrases, cryptocurrency wallet ID's,
          transaction keys, QR codes, barcodes, and/or transaction ID's;


          22. Currency in all forms, including digital currencies and cryptocurrency;


          23. Any and all tax forms, paycheck stubs, receipts, and other items showing reported
          income to the government or the source or application of legitimate and illegitimate funds;


          24. Any and all written, printed, typed, or electronically stored conversations pertaining to
          the violation of Florida state statutes,


   contrary to Florida Statute Chapters 777.04, 812.014(2)(a), 896.101(3)(a)(2a), and
   815.06(3)(b)2, as described in the attached Affidavit for Search Warrant, and if the same shall be
   found, to seize same and return to a Court having jurisdiction a complete inventory of the
   evidence seized. The tangible evidence seized shall be maintained at the law enforcement
   agency as evidence within the constructive custody of the Court until further Order of a Court of
   competent jurisdiction.

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                YOU ARE FURTHER ORDERED to bring any person arrested in connection with said
          property before a Court having jurisdiction of the offense.


                YOU ARE FURTHER ORDERED, ifno person is found in custody or control of said
          premises, to leave at said premises, a copy of this Search Warrant and a complete inventory of
          property seized.
                DONE AND ORDERED in Pasco County, Florida this 17th day of July, 2018.




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